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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          AMARILLO DIVISION

 State of Missouri; State of             )
 Kansas; State of Idaho,                 )
                                         )
            Intervenor Plaintiffs,       )
                                         )
       v.                                )
                                         )        Case No. 2:22-cv-00223-Z
 U.S. Food and Drug                      )
 Administration; Robert M. Califf,       )
 in his official capacity as             )
 Commissioner of Food and Drugs,         )
 U.S. Food and Drug Administration;      )
 Patrizia Cavazzoni, M.D., in her        )
 official capacity as Director, Center   )
 for Drug Evaluation and Research,       )
 U.S. Food and Drug Administration;      )
 U.S. Department of Health and           )
 Human Services; and Xavier              )
 Becerra, in his official capacity as    )
 Secretary, U.S. Department of           )
 Health and Human Services,              )
                                         )
             Defendants.                 )
                                         )
                                         )
                                         )
                                         )

                            AMENDED COMPLAINT

      1.     Women face severe, even life-threatening, harm because the federal

government has disregarded their health and safety.

      2.     Defendant U.S. Food and Drug Administration (FDA) has the statutory

responsibility to protect the health, safety, and welfare of all Americans by putting

commonsense safeguards on high-risk drugs.




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        3.   But the FDA has failed in this responsibility by removing many of the

safety standards it once provided to women using abortion drugs.

        4.   Abortion drugs are dangerous—the FDA’s own label says that an

estimated roughly one in 25 women who take abortion drugs will visit the emergency

room.

        5.   But the FDA has enabled online abortion providers to mail FDA-

approved abortion drugs to women in states that regulate abortion—dispensing

abortion drugs with no doctor care, no exam, and no in-person follow-up care. These

dangerous drugs are now flooding states like Missouri and Idaho and sending women

in these States to the emergency room.




Women prepare in-home abortion kits at a ‘pill-packing party’ at the MAP’s offices;
Patient packages include two abortion medications, instructions and additional
information. 1
        6.   Women face severe bleeding, ruptured ectopic pregnancies, and life-

threatening infections because the FDA recklessly removed in-person safety

standards that it once provided.

        7.   Women should have the in-person care of a doctor when taking high-risk

drugs. The States of Missouri, Kansas, and Idaho thus challenge the FDA’s actions



1 Ex. 1, Scott Calvert, The Parties Where Volunteers Pack Abortion Pills for Red-State

Women, Wall Street Journal (Aug. 12, 2024), https://www.wsj.com/us-news/abortion-
pill-parties-shipping-148e3c15.


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to remove commonsense safety measures for abortion drugs and ask that the Court

hold these actions unlawful, stay their effective date, set them aside, and vacate

them.

        8.    In rolling back safeguard after safeguard, the FDA has turned a blind

eye to the known harms of abortion drugs to the detriment of women and girls.

        9.    The FDA has taken the following agency actions that harm women and

girls: (1) the 2016 rollback of most of the safety precautions that the FDA had put in

place when it approved mifepristone in 2000, including three in-person doctor visits

and limits to ensure these drugs were not taken later in pregnancy; (2) the 2019

approval of a single, shared system Risk Evaluation and Mitigation Strategy (REMS)

for the brand and generic versions of mifepristone; and (3) the 2021 and 2023

decisions to allow these drugs to be sent by mail and dispensed online or at

pharmacies.

        10.   In March 2016, the FDA made “interrelated,” “major changes” to the

abortion drug regimen but failed to explain why it was unnecessary to consider any

study that evaluated the cumulative effects of the changes as a whole.

        11.   Major changes that occurred in 2016 included (1) extending the
permissible gestational age of the baby from seven weeks to ten weeks; (2) reducing

the number of required in-person office visits from three to one; and (3) expanding

who could prescribe and administer abortion drugs beyond medical doctors.

        12.   Each of these regimen changes carries its own risks. And combining

them only increases those risks. For example, numerous studies show that there are

increased risks from abortion drugs to pregnant women as the baby’s age advances

from seven to ten weeks, due in part to significant growth of the placenta and the

baby during that period. The risks of harm to women are also exacerbated without

follow-up visits, during which a doctor can assess whether a mother is suffering

complications from the older gestational age of her baby.


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      13.    But    despite   the   FDA   itself   characterizing   these   changes   as

“interrelated,” the FDA made them without any studies that evaluated the impact of

removing all of these interrelated safeguards at once.

      14.    On top of removing these safeguards, the FDA also eliminated the

safeguard under which abortion providers must report non-fatal complications. But

this elimination was based on past data collected under the originally approved safety

standards, not the new deregulated regime. This was unreasonable.

      15.    In 2016, the agency also ignored the potential impacts that the removal

of commonsense safeguards would have on adolescent girls, a violation of the

Pediatric Research and Equity Act (PREA). It improperly relied on extrapolation in

lieu of any safety assessment of the new regimen’s safety and effectiveness on

pediatric populations. And the FDA needed to classify pregnancy as a “disease” to

avoid such a safety assessment. But pregnancy is not a disease.

      16.    In addition, the studies on which the FDA did rely included safety

measures like ultrasound screenings and follow-up visits that were stripped from the

new regimen.

      17.    The FDA’s major changes failed to satisfy the rigorous scientific
standards of the Federal Food, Drug, and Cosmetic Act (FDCA) and violated PREA’s

requirement for a specific safety assessment of these changes on pregnant girls who

undergo the revised regime.

      18.    In 2019, several organizations filed a citizen petition challenging the

2016 changes and asserting that the agency violated the law by ignoring the growing

and substantial evidence that these high-risk drugs harm women. All. for Hippocratic

Med. v. U.S. Food & Drug Admin., 78 F.4th 210, 226 (5th Cir. 2023), rev’d, 602 U.S.

367 (2024) (AHM).

      19.    One month later, the FDA approved a generic version of Mifeprex based

on the flawed and unlawful 2016 Major Changes.


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      20.    When the FDA approved generic mifepristone, it also approved a single,

shared system risk evaluation and mitigation strategy (REMS) for mifepristone

products for “the medical termination of intrauterine pregnancy” through 70 days

(known as the “Mifepristone REMS Program”).

      21.    In April 2021, the FDA, under new management installed by the Biden-

Harris Administration, issued a “Non-Enforcement Decision” under which the agency

would not enforce the in-person dispensing protection but instead would temporarily

allow abortion drugs to be shipped by mail during the COVID-19 public health

emergency despite a statute expressly disallowing that conduct. 18 U.S.C. § 1461.

      22.    In December 2021, the FDA rejected almost all the relief sought in the

citizen petition and, on the same day, the Biden-Harris FDA announced that it would

permanently allow abortion providers to send abortion drugs through the mail, in

blatant violation of statutory law. 18 U.S.C. § 1461.

      23.    And in 2023, the FDA formalized its 2021 removal of the in-person

dispensing protection and expanded the program to allow mifepristone to be

dispensed by retail pharmacies. The agency relied on the same basis for its 2021

decision, adding only that it had not observed a significant difference in adverse event
reporting during the COVID-19 public health emergency.

      24.    The FDA’s decision to eliminate the in-person dispensing protection

failed to account for or address the federal laws that prohibit the distribution of

abortion drugs by postal mail, express company, or common carrier and by interactive

computer service. See 18 U.S.C. §§ 1461, 1462. Instead, through its words and actions

FDA permitted and sometimes even encouraged these illegal activities. But a federal

agency cannot authorize unlawful actions. FCC v. Next Wave Pers. Commc’ns Inc.,

537 U.S. 293, 300 (2003) (“The Administrative Procedure Act requires federal courts

to set aside federal agency action that is ‘not in accordance with law,’ 5 U.S.C.




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§ 706(2)(A)—which means, of course, any law, and not merely those laws that the

agency itself is charged with administering.”) (citation omitted).

         25.   The FDA has consistently identified emergency medical care—including

State emergency medical care—as the backstop for abortion drug complications. Its

current label directs women to emergency rooms if one of many adverse complications

arise.

         26.   The FDA has acted unlawfully. Now, the State Plaintiffs ask the Court

to protect women by holding unlawful, staying the effective date of, setting aside, and

vacating the FDA’s actions to eviscerate crucial safeguards for those who undergo

this dangerous drug regimen.

                           JURISDICTION AND VENUE

         27.   This Court has subject-matter jurisdiction under 28 U.S.C. § 1331

because this action raises federal questions under the Administrative Procedure Act

(APA), 5 U.S.C. §§ 553, 701-06, and the FDCA, 21 U.S.C. § 301 et seq.

         28.   This Court has jurisdiction under 28 U.S.C. § 1346(a) because this is a

civil action against the United States.

         29.   This Court has jurisdiction under 28 U.S.C. § 1361 because this lawsuit

is an action to compel an officer of the United States or any federal agency to perform

his or her duty.

         30.   This Court has jurisdiction to review Defendants’ unlawful actions and

enter appropriate relief under the APA, 5 U.S.C. §§ 553, 701–06.

         31.   This Court has jurisdiction to issue equitable relief necessary and

appropriate to enjoin ultra vires agency action under an equitable cause of action.

Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 689–91 (1949).




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       32.    This lawsuit seeks declaratory, injunctive, and other appropriate relief

under the Declaratory Judgment Act, 28 U.S.C. §§ 2201–02, 5 U.S.C. §§ 705–06,

Federal Rule of Civil Procedure 57, and this Court’s inherent equitable powers.

       33.    This Court may award costs and attorneys’ fees to Plaintiffs under the

Equal Access to Justice Act, 28 U.S.C. § 2412.

       34.    Venue properly lies in this Court pursuant to 28 U.S.C. § 1391 because

a substantial part of the facts, events or omissions giving rise to the claims occurred

in this district.

       35.    Plaintiff States brought this intervention action in the same district and

division in which an action involving the same subject matter is already pending.

       36.    Defendants are United States officers or agencies sued in their official

capacities.

       37.    Therefore, this Court has personal jurisdiction over Defendants for

purposes of this action because their immunity has been abrogated by 5 U.S.C. § 702,

and they have “submit[ted]” to such jurisdiction “through contact with and”

regulatory “activity directed at” Plaintiff States and their respective medical

providers and health plans. J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 881
(2011).

                                       PARTIES
Intervenor Plaintiffs

       38.    Plaintiff the State of Missouri is a sovereign state of the United States

of America. Missouri sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests, including its interests in protecting its citizens.

       39.    Andrew Bailey, the Attorney General of Missouri, is authorized to

“institute, in the name and on the behalf of the state, all civil suits and other




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proceedings at law or in equity requisite or necessary to protect the rights and

interests of the state.” Mo. Rev. Stat. § 27.060.

       40.    Plaintiff the State of Kansas is a sovereign state of the United States of

America. Kansas sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests, including its interests in protecting its citizens.

       41.    Kansas brings this suit through its attorney general, Kris W. Kobach.

He is the chief legal officer of the State of Kansas and has the authority to represent

Kansas in federal court. Kan. Stat. Ann. 75-702(a).

       42.    Plaintiff the State of Idaho is a sovereign state of the United States of

America. Idaho sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests, including its interests in protecting its citizens.

Defendants

       43.    Defendant the FDA is an agency of the federal government within the

United States Department of Health and Human Services (HHS). The Secretary of

HHS has delegated to the FDA the authority to administer the provisions of the

FDCA for approving new drug applications and authorizing REMS for dangerous

drugs. FDA’s headquarters is located at 10903 New Hampshire Avenue, Silver

Spring, Maryland 20993.
       44.    Defendant Robert Califf, M.D., named in his official capacity, is the

Commissioner of Food and Drugs at the FDA. Dr. Califf is responsible for supervising

the activities of the FDA, including the approval of new drug applications and the

issuance, waiver, suspension, or removal of a REMS. Dr. Califf’s official address is

10903 New Hampshire Avenue, Silver Spring, Maryland 20993.

       45.    Defendant Patrizia Cavazzoni, M.D., named in her official capacity, is

the Director of the FDA’s Center for Drug Evaluation and Research. Dr. Cavazzoni is

responsible for the regulation of drugs throughout their lifecycle, the regulation of



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the development of new and generic drugs, the evaluation of applications to

determine whether drugs should be approved, the monitoring of the safety of drugs

after they are marketed, and the taking of enforcement actions necessary to protect

the public from harmful drugs. Dr. Cavazzoni’s official address is 10903 New

Hampshire Avenue, Silver Springs, Maryland 20993.

        46.     Defendant HHS is a federal agency under the executive branch of the

U.S. government, including under 5 U.S.C. § 551 and 701(b)(1). Its address is 200

Independence Avenue SW, Washington, D.C. 20201.

        47.     Defendant Xavier Becerra is the Secretary of HHS and is named in his

official capacity. Defendant Becerra is responsible for the overall operations of HHS,

including the operations of the FDA. His official address is 200 Independence Avenue

SW, Washington, D.C. 20201.

        48.     Collectively when applicable, all aforementioned defendants are

referred to herein as the “FDA” or “Defendants.” Plaintiffs’ claims against Defendants

includes all employees, agents, or successors in office of Defendants.

        49.     All federal officials named as Defendants in this action are subject to the

APA. 5 U.S.C. § 701(b); 5 U.S.C. § 551(1).

                               FACTUAL ALLEGATIONS

   I.         Background

        50.     This action challenges the FDA’s failure to abide by its legal obligations

to protect the health, safety, and welfare of women and girls and comply with

statutory law when eliminating necessary safeguards for pregnant women who

undergo the high-risk abortion drug regimen of mifepristone and misoprostol.

        51.     The FDA no longer even requires an in-person visit to protect women’s

health and well-being when taking abortion drugs.




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       52.   Abortion drugs are high-risk. Endocrine disrupters such as mifepristone

could have significant impacts on an adolescent girl’s developing body and

reproductive system. Despite this fact, the FDA failed to require an assessment that

evaluated the safety of the 2016 Major Changes on pregnant girls under 18 years of

age.

       53.   The FDA has also eliminated the few safeguards it initially established

to protect women who receive mifepristone.

       54.   In 2016, the FDA made changes (1) allowing pregnant women and girls

to take the drug at up to 70 days’ gestation rather than only 49 days’ gestation; (2)

allowing non-doctors to prescribe and administer chemical abortions; and (3)

eliminating crucial in-person follow-up office visits to check women for life-

threatening complications after taking high-risk abortion drugs.

       55.   The agency also eliminated the safeguard under which prescribers must

report nonfatal adverse events from chemical abortion based on past data collected

when original standards were still in place. This last change meant that the FDA and

the public would never learn how many more happened due to the removal of the

prior safeguards.
       56.   These changes were not only “major” but “interrelated.” 2 Yet the FDA

never explained why no study it relied on to make the changes assessed their

collective impact on the safety and effectiveness of the drug.

       57.   Then, in 2021, the FDA announced that abortion providers could

dispense abortion drugs by mail or mail-order pharmacy, despite longstanding

federal law prohibiting mailing abortion drugs.




2Ex. 2, FDA, Center for Drug Evaluation and Research, Summary Review of
Application Number: 020687Orig1s020 (Mar. 29, 2016) (2016 Summary Review).


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        58.   In 2023, the FDA formalized its decision to remove any in-person

dispensing protection and to permit abortion providers to prescribe abortion drugs

without an initial office visit or confirming that a woman does not have a life-

threatening complication, such as an ectopic pregnancy, that would preclude her from

taking abortion drugs.

        59.   The FDA relied on the same basis for its 2023 decision as its 2021

decision but added that “[t]he number of adverse events reported to FDA during the

COVID-19 PHE with mifepristone use for medical termination of pregnancy is small,

and the data provide no indication that any program deviation or noncompliance with

the Mifepristone REMS Program contributed to these reported adverse events.” 3 It
also noted that the format of the REMS document would not be changed “[t]o avoid

the misperception that this REMS modification is making major changes to the

REMS document that go beyond our December 16, 2021, determination that the

REMS must be modified to remove the in-person dispensing protection and add

pharmacy certification,” and that the “[c]hanges are in line with the REMS

Modification Notification letters sent December 16, 2021.” 4

II. The Harms of Abortion Drugs

        60.   A chemical abortion requires administering two drugs: (1) mifepristone
(also called “Mifeprex” and “RU-486”) and (2) misoprostol.

        61.   Mifepristone is a synthetic steroid and endocrine disruptor that blocks

progesterone receptors in the uterus. Progesterone is necessary for the healthy

growth of a baby in utero and the maintenance of a pregnancy. When a woman ingests

mifepristone, it blocks her natural progesterone, chemically destroys the baby’s


3 Ex.3, FDA, Center for Drug Evaluation and Research, Mifepristone Summary
Review, dated Jan. 3, 2023 at 21 (FDA 2023 Summary Review).
4 Id. at 8–9, 16.




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uterine environment, prevents the baby from receiving nutrition, and ultimately

starves the baby to death in the womb.

       62.    The second drug, misoprostol, induces cramping and contractions to

expel the baby from the mother’s womb.

       63.    Women who take abortion drugs experience many intense side effects,

including cramping and heavy bleeding. 5

       64.    The use of these two drugs can cause significant injuries and harms to

pregnant women, and studies of the real-world use of mifepristone concluded that

significant morbidity and mortality have occurred following the use of mifepristone

as an abortifacient. 6
       65.    For example, the FDA’s own label states that roughly one in 25 women

who take abortion drugs will end up in the emergency room, with up to 7 percent

requiring a “surgical procedure because the pregnancy did not completely pass from

the uterus or to stop bleeding.” 7

       66.    Of those women who end up in the emergency room after taking abortion

drugs, many suffer severe injuries. A recent study testing the severity of emergency

department visits for Medicaid-eligible women following various pregnancy outcomes

found that “an [emergency department] visit following a chemical abortion was

significantly more likely to have a severe or critical acuity rating than a visit following

surgical abortion, live birth, or an ED visit at any time by a woman who was never




5 Ex. 4, Harrison Compl. Decl. ¶ 23.

6 Id. ¶ 16.

7 Ex. 5, FDA-Approved Label for Mifepristone (Mifeprex) (Jan. 2023),

https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/020687Orig1s025Lbl.pdf
(Mifeprex 2023 Label).



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pregnant.” 8 The study also found that ED visits coded severe or critical for women

who underwent a chemical abortion increased by 4,041.1% between 2004 and 2015,

compared to a 450.6% increase for surgical abortion subjects and 20.9% for live birth

subjects. 9

       67.    Many women also do not understand the nature of chemical abortion or

the risks associated with taking abortion drugs, resulting in an increase in the

frequency of women seeking emergency medical care for side effects such as

cramping, heavy bleeding, and severe pain even if they are not suffering an adverse

event. 10
       68.    The complications of abortion drugs increase as the baby’s gestational

age increases. One study found that, after nine weeks’ gestation, almost four times

as many women and girls experience an incomplete abortion, nearly twice as many

suffer an infection, and over six times as many women and girls require surgical

abortion after consuming the abortion drugs than at before nine weeks gestation. 11

The FDA’s own label notes that the percentage of surgical interventions for ongoing

pregnancy is just over ten times higher for women at 64–70 days gestation than for

women at less than or equal to 49 days gestation. 12




8 James Studnicki et al., Comparative Acuity of Emergency Department Visits
Following Pregnancy Outcomes Among Medicaid Eligible Women, 2004-2015, Int’l J.
Epidemiology & Pub. Health Rsch., Apr. 2024.
9 Id. at 2.

10 Ex. 4, Harrison Compl. Decl. ¶ 31.

11 Ex. 6, Maarit Niinimaki et al., Comparison of rates of adverse events in adolescent

and adult women undergoing medical abortion: population register based study, BJM,
April 20, 2011, at 5.
12 Supra note 7, Mifeprex 2023 Label at Table 4.




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      69.   At seven weeks, the embryo has already developed significantly, as

shown in this image:

7½-Week Embryo 13




      70.   By ten weeks, the fetus is even more developed, as the following image

shows.




13   Endowment      for    Human    Development, 7    ½    week           embryo,
https://www.ehd.org/gallery/477U/7%C2%BD-Week-Embryo#content.


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Ten-Week Fetus 14




      71.    Abortion drugs present heightened risks for women with an Rh-negative

blood type. If these women are not administered Rhogam at the time of their chemical

abortion, they may experience isoimmunization, which threatens their ability to have

future successful pregnancies. If an Rh-negative woman is left untreated, her future

baby will have a fourteen percent (14%) chance of being stillborn and a fifty percent

(50%) chance of suffering neonatal death or a brain injury. Around fifteen percent

(15%) of the U.S. population has this blood type. 15


14     Endowment      for     Human       Development,        I    am      Pointing,
https://www.ehd.org/gallery/424/I-am-Pointing%21.
15 See Ex. 9, Am. Coll. of Obstetricians and Gynecologists Practice Bulletin No. 181:

Prevention of Rh D Alloimmunization, 130 Obstetrics & Gynecology 481 (Aug. 2017).


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       72.   Without any in-person examination, abortion providers can misdate the

gestational age of a baby or fail to detect an ectopic pregnancy, with serious

consequences. It is undisputed that an ultrasound is the most accurate method to

determine gestational age and identify ectopic pregnancy. 16

       73.   Some abortion activists encourage women to lie to emergency room staff

by saying they are having a miscarriage if they suffer complications requiring urgent

care. 17

       74.   The risk of chemical abortions is not only physical: women have

described that their chemical abortion experiences harmed their mental health and

left them feeling unprepared, silenced, regretful, or left with no other choice. 18
       75.   Some abortion providers exacerbate this mental health harm by failing

to inform a woman what she will see when she self-administers abortion drugs at

home. For example, one woman was surprised and saddened to see that her aborted




16 Ex. 10, Am. Coll. of Obstetricians & Gynecologists Practice Bulletin No. 193: Tubal

Ectopic Pregnancy, 131 Obstetrics & Gynecology 91, 92 (Mar. 2018),
https://perma.cc/3AA3-CNQX (“The minimum diagnostic evaluation of a suspected
ectopic pregnancy is a transvaginal ultrasound evaluation and confirmation of
pregnancy.”); see also Ex. 4, Harrison Compl. Decl. ¶ 16 (recommending pre-abortion
ultrasound to rule out ectopic pregnancy and confirm gestational age).
17 See, e.g., Ex. 11, Will a doctor be able to tell if you’ve taken abortion pills?, Women

Help Women (Sept. 23, 2019), https://womenhelp.org/en/page/1093/will-a-doctor-be-
able-to-tell-if-you-ve-taken-abortion-pills; Ex. 12, How do you know if you have
complications         and      what        should      you    do?,      AidAccess,
https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-
what-should-you-do (last visited Aug. 28, 2024).
18 Ex. 13, Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case

Study to Understand the Communicative Tensions in Women’s Medication Abortion
Narratives, 36 Health Commc’n 1485 (2021).



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baby “had a head, hands, and legs” with “[d]efined fingers and toes.” 19 Indeed, due to

“seeing [the] aborted child once it passes,” women who chemically abort their child

especially “experience shame, regret, anxiety, depression, drug abuse, and suicidal

thoughts because of the abortion.” All. for Hippocratic Medicine v. U.S. Food and

Drug Admin., 668 F.Supp.3d 507, 527 (N.D. Tex. 2023), rev’d, 2024 WL 4196546 (5th

Cir. Sept. 16, 2024).

III. The FDA’s Authority to Review, Approve, or Deny New Drug
     Applications

       76.    The FDA’s modification of a drug approval must comply with the FDCA,

PREA, and the agency’s regulations. When taking regulatory action on new and

existing drugs, the FDA must also meet the requirements of other federal laws

restricting distribution. 20

       A.     New Drug Applications Under the Food, Drug, and Cosmetic
              Act.

       77.    Under the FDCA, anyone seeking to introduce into commerce and

distribute a new drug in the United States must first obtain the FDA’s approval by

filing a new drug application (NDA). 21 U.S.C. § 355(a).

       78.    The NDA must contain extensive scientific data showing the safety and

effectiveness of the drug. 21 U.S.C. § 355(d); 21 C.F.R. § 314.125.

       79.    The FDA must reject an application if the clinical investigations “do not

include adequate tests by all methods reasonably applicable to show whether or not




19 Ex. 14, Caroline Kitchener, Covert network provides pills for thousands of abortions

in U.S. post Roe, Wash. Post: Politics (Oct. 18, 2022, 6:00 am),
https://www.washingtonpost.com/politics/2022/10/18/illegal-abortion-pill-network/.
20 For a general overview of the FDA’s drug approval process, see How FDA Approves

Drugs and Regulates Their Safety and Effectiveness, Congressional Research Service
(May 8, 2018), https://crsreports.congress.gov/product/pdf/R/R41983.


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such drug is safe for use under the conditions prescribed, recommended, or suggested

in the proposed labeling thereof.” 21 U.S.C. § 355(d); 21 C.F.R. § 314.125(b)(2).

      80.    The FDA must also reject an application if “the results of such tests show

that such drug is unsafe for use under such conditions or do not show that such drug

is safe for use under such conditions.” 21 U.S.C. § 355(d); 21 C.F.R. § 314.125(b)(3).

      81.    The FDA must refuse an application if the FDA “has insufficient

information to determine whether such drug is safe for use under such conditions.”

21 U.S.C. § 355(d); 21 C.F.R. § 314.125(b)(4).

      82.    Finally, the FDA must deny an application if “there is a lack of

substantial evidence that the [new] drug will have the effect it purports or is

represented to have under the conditions of use prescribed, recommended, or

suggested in the proposed labeling thereof.” 21 U.S.C. § 355(d); 21 C.F.R.

§ 314.125(b)(5).

      83.    “Substantial evidence” is “evidence consisting of adequate and well-

controlled investigations, including clinical investigations, by experts qualified by

scientific training and experience to evaluate the effectiveness of the drug involved,

on the basis of which it could fairly and responsibly be concluded by such experts that
the drug will have the effect it purports or is represented to have under the conditions

of use prescribed, recommended, or suggested in the labeling or proposed labeling

thereof.” 21 U.S.C. § 355(d).

      84.    If a sponsor of an approved drug subsequently seeks to change the

labeling, market a new dosage or strength of the drug, or change the way it

manufactures a drug, the company must submit a supplemental new drug application

(sNDA) seeking the FDA’s approval of such changes. 21 U.S.C. § 355(b); 21 C.F.R.

§§ 314.54, 314.70.

      85.    “All procedures and actions that apply to an application under [21

C.F.R.] § 314.50 also apply to supplements, except that the information required in


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the supplement is limited to that needed to support the change.” 21 C.F.R.§ 314.71(b);

see also 21 C.F.R. § 314.54(a) (“application need contain only that information needed

to support the modification(s) of the listed drug”).

      86.    The sNDA must also show that the drug is safe and effective for “the

conditions of use prescribed, recommended, or suggested in the proposed labeling.”

21 U.S.C. § 355(d).

      87.    A generic drug manufacturer may submit an abbreviated new drug

application (ANDA) to introduce into commerce and to distribute a generic version of

an approved drug. 21 U.S.C. § 355(j).

      88.    In the ANDA, the generic drug manufacturer must show, among other

things, that (a) the conditions of use prescribed, recommended, or suggested in the

labeling proposed for the new drug have been previously approved for a drug listed

and (b) the drug product is chemically identical to the approved drug, allowing it to

rely on the FDA’s previous finding of safety and effectiveness. The route of

administration, dosage form, and strength for the generic also identical to the

approved drug. 21 U.S.C. § 355(j); 21 C.F.R. § 314.94.

      B.     Assessments on Pediatric Populations.

      89.    PREA was enacted in 2003 to require studies on the safety and

effectiveness of drugs intended for pediatric populations, unless certain exceptions

apply. The FDA may require an assessment on the drug’s safety and effectiveness,

extrapolate findings from studies on adult populations, or waive the assessment for

pediatric populations. 21 U.S.C. § 355c.

      90.    In general, PREA requires a drug application or supplement to an

application to include a safety and effectiveness assessment for the claimed

indications in all relevant pediatric subpopulations. 21 U.S.C. § 355c(a)(2)(A)(i). This




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assessment must also support dosing and administration for each pediatric

subpopulation for which the drug is safe and effective. 21 U.S.C. § 355c(a)(2)(A)(ii).

      91.    Under limited circumstances, PREA allows the FDA to avoid this

assessment and, instead, extrapolate the safety and effectiveness of a drug for

pediatric populations: “If the course of the disease and the effects of the drug are

sufficiently similar in adults and pediatric patients, the [FDA] may conclude that

pediatric effectiveness can be extrapolated from adequate and well-controlled studies

in adults, usually supplemented with other information obtained in pediatric

patients.” 21 U.S.C. § 355c(a)(2)(B)(i) (emphasis added).

      92.    But to support this extrapolation, the FDA must include “brief

documentation of the scientific data supporting the conclusion” that the course of the

“disease” and the effects of the drug are sufficiently similar in adults and pediatric

patients. 21 U.S.C. § 355c(a)(2)(B)(iii) (emphasis added).

      C.     Subpart H Regulations for Accelerated Approval of Certain New
             Drugs for Serious and Life-Threatening Illnesses.

      93.    Originally, abortion drugs were subject to a safety regimen commonly

referred to as Subpart H. Subpart H allowed the FDA to accelerate approval of drugs

for serious and life-threatening illnesses and authorized the FDA to require post-

approval studies and distribution limitations.

      D.     Drugs Approved with Previous Subpart H Restrictions Deemed
             to have REMS.

      94.    In 2007, Congress codified Subpart H. 21 U.S.C. § 355-1. The Food and

Drug Administration Amendments Act of 2007 (FDAAA) authorized the FDA to
require persons submitting certain new drug applications to submit and implement

a risk evaluation and mitigation strategy (REMS) if the FDA determines that a

REMS is “necessary to ensure that the benefits of a drug outweigh the risks of the

drug.” 21 U.S.C. § 355-1(a).


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      95.    Section 909(b)(1) of the FDAAA specified that a “drug that was approved

before the effective date of this Act is . . . deemed to have in effect an approved [REMS]

. . . if there are in effect on the effective date of this Act elements to assure safe use

[pursuant to Subpart H, 21 C.F.R. § 514.520].” H.R. 3580, 110th Cong. (2007). Thus,

if the FDA previously attached postmarketing restrictions on a drug approved under

Subpart H, the FDAAA converted those restrictions into a REMS.

      96.    For example, drugs like mifepristone previously approved with added

safeguards were temporarily “deemed to have in effect an approved [REMS].” Pub. L.

No. 110-85 at § 909(b)(1). And in 2011, the FDA approved a REMS for mifepristone

that “incorporated the restrictions under which the drug was originally approved.” 21
      97.    The FDA may require that the REMS “include such elements as are

necessary to assure safe use of the drug, because of its inherent toxicity or potential

harmfulness” if the agency determines that the drug “is associated with a serious

adverse drug experience.” 21 U.S.C. § 355-1(f)(1).

      98.    These “Elements to Assure Safe Use” (ETASU) may require

(1) prescribers of the drug “have particular training or experience” or be “specially

certified,” (2) practitioners or health care settings that dispense the drug be “specially

certified,” (3) doctors dispense the drug to patients “only in certain health care

settings, such as hospitals,” (4) doctors dispense the drug to patients “with evidence

or other documentation of safe-use conditions, such as laboratory test results,”

(5) each patient be subject to “certain monitoring,” and (6) each patient be enrolled in

a “registry.” 21 U.S.C. § 355-1(f)(3).

      99.    The FDA may require an applicant to monitor and evaluate

implementation of the REMS, in addition to working to improve those elements. 21

U.S.C. § 355-1(g).


21 Ex. 2, 2016 Summary Review at 4.




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       100.   The FDA may also include a communication plan to health care

providers to disseminate certain information about the drug and its risks. 21 U.S.C.

§ 355-1(e)(3).

       101.   An applicant “may propose the addition, modification, or removal of [the

ink REMS] . . . and shall include an adequate rationale to support such proposed

addition, modification, or removal.” 21 U.S.C. § 355-1(g)(4)(A).

       E.     Federal Laws Restrict Distribution of Abortion Drugs to Women.

       102.   Two federal laws restrict the distribution of abortion-inducing drugs. 18

U.S.C. §§ 1461–62.

       103.   First, 18 U.S.C. § 1461 prohibits the use of postal “mails” to convey or

deliver abortion drugs to women. Specifically, it prohibits the mailing or delivery by

any letter carrier of “[e]very article or thing designed, adapted, or intended for

producing abortion” and “[e]very … drug…advertised or described in a manner

calculated to lead to another to use or apply it for producing abortion.”

       104.   Second, 18 U.S.C. § 1462 broadly prohibits the use of “any express

company or other common carrier” or “interactive computer service” to transport

abortion drugs in interstate or foreign commerce to women. Specifically, it prohibits

the use of any express company, common carrier, or interactive computer service to

distribute “any drug, medicine, article, or thing designed, adapted, or intended for

producing abortion.”

IV. The FDA’s Review and Approval of the Population Council’s Application
    to Market Abortion Drugs in the United States.

       105.   The French pharmaceutical company Roussel Uclaf S.A. first developed

and tested mifepristone under the name RU-486. By April 1990, the drug had become

fully available in France. 22

22 Ex. 15, 2002 Citizen Petition of AAPLOG to FDA at 7–8 (Aug. 8, 2002).




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         106.   After obtaining the American patent rights to mifepristone, the

Population Council, a not-for-profit organization, conducted clinical trials in the

United States. 23

         107.   The Population Council then filed a new drug application for

“mifepristone 200 mg tablets” on March 18, 1996. 24 It received priority review. 25

         108.   The FDA approved mifepristone in 2000. The FDA said it had considered

the drug under Subpart H because “restrictions ... on the distribution and use of

mifepristone are needed to assure safe use of this product.” 26

         109.   The FDA told the Population Council that the agency would proceed

under Subpart H because the FDA “concluded that adequate information has not

been presented to demonstrate that the drug, when marketed in accordance with the

terms of distribution proposed, is safe and effective for use as recommended.” 27
         110.   Given the known dangers of abortion drugs, the FDA approved the

Population Council’s application under Subpart H because this was the only means

“to assure safe use.” 21 C.F.R. § 314.520.

         111.   On September 28, 2000, the FDA approved abortion drugs under

Subpart H “for the medical termination of intrauterine pregnancies through 49 days’

pregnancy.” 28




23 Id. at 9.

24 Id. at 10.

25 Id.

26 Ex. 16, FDA Letter to Population Council re: NDA (Feb. 18, 2000) at 5.

27 Id.

28 Ex. 17, 2000 FDA Approval Letter for Mifeprex (mifepristone) Tablets at 1 (Sept.

28, 2000).



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         112.   The FDA informed the Population Council that Subpart H “applies when

FDA concludes that a drug product shown to be effective can be safely used only if

distribution or use is restricted, such as to certain physicians with certain skills or

experience.” 29

         113.   The FDA could not approve mifepristone without invoking Subpart H,

as it was the only authority under which it could apply postmarketing restrictions on

abortion drugs. 30

         114.   The FDA stated that mifepristone “labeling is now part of a total risk

management program.” In particular, “[t]he professional labeling, Medication Guide,

Patient Agreement, and Prescriber’s Agreement will together constitute the approved

product labeling to ensure any future generic drug manufacturers will have the same

risk management program.” 31
         115.   The 2000 approval required the Population Council to include on the

drugs’ label a “black box warning for special problems, particularly those that may

lead to death or serious injury.” 32

         116.   It also contained measures to assure safe use, including requiring at

least three office visits: (1) the Day 1 in-person dispensing and administration of

mifepristone; (2) the Day 3 in-person dispensing and administration of misoprostol;




29 Ex. 18, 2000 FDA Approval Memo. to Population Council re: NDA 20-687 Mifeprex

(mifepristone) at 6 (Sept. 28, 2000) (2000 FDA Approval Memo).
30 Ex. 19, 2003 Citizen Petitioners’ Response to Opposition Comments filed by The

Population Council, Inc. and Danco Laboratories, LLC to Comments at 2–4 (Oct. 10,
2003),    https://www.aaplog.org/wp-content/uploads/2002/08/ResponseToDanco10-
03reRU-486.pdf (2003 Response).
31 Supra note 29, 2000 FDA Approval Memo at 2.

32 Id.




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and (3) the Day 14 return to the doctor’s office to confirm no fetal parts or tissue

remain. 33

         117.    The FDA explained that “[r]eturning to the health care provider on Day

3 for misoprostol . . . assures that the misoprostol is correctly administered,” and it

“has the additional advantage of contact between the patient and health care provider

to provide ongoing care, and to reinforce the need to return on Day 14 to confirm that

expulsion has occurred.” 34

         118.    The FDA’s Subpart H restrictions included the safeguard under which

any hospitalization, transfusion, or other serious events must be reported. 35
         119.    The FDA’s restrictions on the distribution of mifepristone included:

                 •   In-person dispensing;

                 •   Secure shipping procedures;

                 •   Tracking system ability;

                 •   Use of authorized distributors and agents; and

                 •   Provision of the drug through a direct, confidential physician

                     distribution system that ensures only qualified physicians will

                     receive the drug for patient dispensing. 36


         120.    The Population Council granted Danco Laboratories, LLC (“Danco”)—

incorporated in the Cayman Islands in 1995—an exclusive license to manufacture,

market, and distribute Mifeprex in the United States. 37



33 Id. at 2–3.

34 Id. at 3.

35 Id. at 6.

36 Id.

37 Ex. 15, 2002 Citizen Petition at 9.




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V. 2002 Citizen Petition

         121.   In August 2002, the American Association of Pro-Life OBGYNs

(AAPLOG) and Christian Medical & Dental Associations (CMDA), along with the

Concerned Women for America, submitted a citizen petition with the FDA pursuant

to 21 C.F.R. §§ 10.30 and 10.35; 21 C.F.R. Part 314, Subpart H (§§ 314.500–314.560);

and Section 505 of the FDCA (21 U.S.C. § 355). 38

         122.   Before litigants may seek court intervention, the FDA’s regulations

require them to submit a “citizen petition” requesting the agency take or refrain from

taking any form of administration action before filing a lawsuit. 21 C.F.R. §§ 10.30,

10.45(b). These regulations allow the FDA to indefinitely delay a final response to a

citizen petition. 21 C.F.R. § 10.30(e)(2)(iv). The FDA’s eventual decision on a citizen

petition constitutes a final agency action for the underlying FDA action and the

related citizen petition, and both are reviewable in the courts under the APA. 21

C.F.R. § 10.45(c).

         123.   Following the procedure outlined in 21 C.F.R. § 10.45(b), the 2002

Petitioners requested that the FDA impose an immediate stay of the approval of

mifepristone and ultimately revoke the approval, in addition to requesting a full FDA

audit of the underlying clinical studies. 39

         124.   The 2002 Petitioners challenged the FDA’s 2000 Approval because

Danco’s studies included safeguards not included in the approved label. 40




38 Id. at 1.

39 Id.

40 Id. at 76.




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VI. Implementation of a REMS for Mifepristone.

       125.    After receiving the 2002 Citizen Petition, the FDA followed Congress’s

mandate under the FDAAA to convert Subpart H postmarketing restrictions for

previously approved drugs into a REMS under Section 909(b)(1).

       126.    In a March 27, 2008 Federal Register notice, the FDA identified

mifepristone as one of “those drugs that FDA has determined will be deemed to have

in effect an approved REMS.” 41

       127.    In 2011, the FDA then approved a REMS for mifepristone. 42

       128.    The FDA “determined that a REMS is necessary for MIFEPREX

(mifepristone) to ensure the benefits of the drug outweigh the risks of serious

complications.” 43

       129.    The REMS incorporated the previous Subpart H restrictions (including

a black-box warning on the label for special problems, in-person dispensing, post-

abortion office visits, the ability to assess gestational age and diagnose ectopic

pregnancies, adverse event reporting, and the ability to provide surgical intervention

or ensure patient access to other qualified physicians or medical facilities). The new

REMS consisted of a Medication Guide, elements to assure safe use, an

implementation system, and a timetable for submission of assessments of the

REMS. 44



41 Identification of Drug and Biological Products Deemed to Have Risk Evaluation

and Mitigation Strategies for Purposes of the Food and Drug Administration
Amendments Act of 2007, 73 Fed. Reg. 16,313, 16,314 (Mar. 27, 2008).
42 Ex. 20, 2011 FDA Supplemental Approval Letter to Danco Laboratories, LLC at 1

(June 6, 2011) (2011 Approval Letter).
43 Id. at 1.

44 Id. at 1; Ex. 21, 2011 REMS for NDA 20-687 Mifeprex (mifepristone) Tablets,

200mg (June 8, 2011) (2011 REMS).



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         130.   The REMS required “prescribers to certify that they are qualified to

prescribe MIFEPREX (mifepristone) and are able to assure patient access to

appropriate medical facilities to manage any complications.” 45

         131.   The FDA also instructed Danco that, “[a]s part of the approval under

Subpart H, as required by 21 CFR § 314.550, you must submit all promotional

materials, including promotional labeling as well as advertisements, at least 30 days

before the intended time of initial distribution of the labeling or initial publication of

the advertisement.” 46

VII. The FDA’s Denial of the 2002 Citizen Petition.

         132.   Almost fourteen years after receiving the 2002 Citizen Petition—on

March 29, 2016—the FDA denied the 2002 Citizen Petition (“2016 Denial”). 47

VIII. The FDA’s 2016 Major Changes to the Mifepristone Regimen.

         133.   On the same day that the FDA denied the 2002 Citizen Petition, it also

approved “major changes” to the mifepristone regimen (2016 Major Changes) in

response to an sNDA that Danco had submitted to the FDA on May 28, 2015. 48

         134.   The FDA acknowledged that “these major changes are interrelated,”

demonstrating the agency’s awareness that each change impacted the others. 49




45 Ex. 20, 2011 Approval Letter at 1; Ex. 21, 2011 REMS.

46 Ex. 20, 2011 Approval Letter at 2–3.

47 Ex. 22, 2016 FDA Letter to AAPLOG, Christian Medical & Dental Associations,

and Concerned Women for America denying 2002 Citizen Petition, Docket No. FDA-
2002-P-0364 (Mar. 29, 2016) (2016 Petition Denial).
48 Ex. 23, 2016 FDA Letter to Danco Laboratories re: NDA 020687, Supp 20 (Mar. 29,

2016).
49 Ex. 2, 2016 Summary Review at 6.




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       135.     Among other things, the 2016 Major Changes included the following

revisions:


       A.       extending the maximum gestational age at which a woman or a girl can

                abort her baby from 49 days to 70 days;

       B.       removing the requirement for any in-person follow-up examination after

                an abortion (including follow-up examinations on Days 3 and 14);

       C.       allowing “healthcare providers” other than physicians to dispense and

                administer the abortion drugs. 50

       136.     Despite these three major changes to the regimen, the FDA eliminated

the safeguard under which prescribers must report all nonfatal serious adverse

events from mifepristone. Rather than require future adverse-event reports from

abortion providers, the FDA simply asserted that “after 15 years of reporting serious

adverse events, the safety profile for Mifeprex is essentially unchanged.” The FDA

conceded that “[i]t is important that the Agency be informed of any deaths with

Mifeprex to monitor new safety signals or trends.” 51

       137.     The 2016 Major Changes also included changes to dosing, route of

administration, and timing of administration, which are not challenged here.

       F.       The FDA’s Evidence for the Safety and Effectiveness of the 2016
                Major Changes.

       138.     Despite acknowledging that the 2016 changes were interrelated, the

FDA’s review and approval did not include a single study that evaluated the safety

and effectiveness of mifepristone and misoprostol under the conditions prescribed,

recommended, or suggested in the proposed labeling. In particular, it did not assess


50 Id. at 6–10.

51 Id. at 27.




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the cumulative effects of increasing the gestational age from 7 to 10 weeks,

eliminating follow-up visits to check for complications, and requiring the supervision

of a physician capable of treating complications.

      139.   Instead, the FDA relied on studies that evaluated only one or some of

the changes. And many studies included additional safeguards not required under

the new REMS, such as an ultrasound to confirm gestational age and pregnancy

location.

      140.   The FDA never explained why it could rely on studies assessing only

some of the interrelated changes.

      141.   For example, the FDA relied on three studies that “closely mirrored” the

2016 changes, 52 but all of them included in-person, post-abortion follow-up visits—
one of the safeguards the agency removed despite previously calling it “very

important.” 53 Yet the FDA provided no explanation for why it could rely on this study

for amending the gestational age, physician requirement, and follow-up visits.

      142.   Additionally, increasing the maximum gestational age by three full

weeks indisputably increases rates of abortion failures, surgical interventions, and

complications. 54 Simultaneously removing the two in-person follow-up visits that

afford the opportunity to diagnose and treat complications before they result in an




52 See Brief for the Federal Petitioners at 38–39, FDA v. Alliance for Hippocratic

Medicine, 602 U.S. 367 (2024) (No. 23-235).
53 Ex. 24, 2000 Mifeprex Label 15, https://perma.cc/3V7C-SU6Q.

54 Ex. 25, Mifeprex (mifepristone) Prescribing and Label information (Jan. 2023); Ex.

26, Melissa J. Chen & Mitchell D. Creinin, Mifepristone with Buccal Misoprostol for
Medical Abortion: A Systematic Review, 126 Obstetrics & Gynecology 12 (Jul. 2015);
Ex. 27, Am. Coll. of Obstetrics & Gynecology Practice Bulletin No. 225: Medication
Abortion up to 70 days of Gestation, 136 Obstetrics & Gynecology 31 (Oct. 2020),
https://perma.cc/52KQ-HYF9 (ACOG Gestation Bulletin).



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emergency only compounds these risks. But the FDA did not assess the impacts of

doing both in any study. 55

       143.   As the Fifth Circuit noted, such variations between the study conditions

and the approved labeling and the collective impact of all the 2016 changes as a whole

are “unquestionably an important aspect of the problem” that the FDA had a

statutory duty to address. AHM, 78 F.4th at 246. It therefore held: “[t]he problem is

not that [the] FDA failed to conduct a clinical trial that included each of the proposed

changes as a control,” but that the “FDA failed to address the cumulative effect at

all.” Id.

       G.     The FDA’s Lack of Research on Pediatric Populations for the
              2016 Major Changes.

       144.   The FDA’s 2016 Major Changes continued to allow pregnant girls of any

age to use mifepristone—despite not studying whether these dangerous drugs could

have an adverse impact on the health, safety, and welfare of developing girls.

       145.   The FDA did not require Danco to submit an assessment on the safety

and effectiveness of the drug for the claimed indications in relevant pediatric

subpopulations, nor did the FDA require Danco to submit an assessment that

supported the dosing and administration for each pediatric subpopulation for which

the drug is safe and effective. 56

       146.   Under PREA, “[i]f the course of the disease and the effects of the drug

are sufficiently similar in adults and pediatric patients, the [FDA] may conclude that

pediatric effectiveness can be extrapolated from adequate and well-controlled studies

in adults, usually supplemented with other information obtained in pediatric




55 See Ex. 2, Harrison Reply. Decl. ¶ 16.

56 Ex. 2, 2016 Summary Review at 18–20.




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patients, such as pharmacokinetic studies.” 21 U.S.C. § 355c(a)(2)(B)(i) (emphasis

added).

       147.   PREA also requires the drug sponsor to include “[a] brief documentation

of the scientific data supporting the conclusion” that extrapolation is warranted “in

any pertinent review for the application under section 355 of this title[.]” 21 U.S.C.

§ 355c(a)(2)(B)(iii).

       148.   Pregnancy is not a disease. 57 The FDA therefore lacked authority under

§ 355c(a)(2)(B)(i) to extrapolate pediatric effectiveness.

       149.   The FDA then concluded that Danco fulfilled its PREA obligations “by

submitting     published   studies   of   Mifeprex   for     pregnancy   termination   in

postmenarcheal females less than 17 years old.” The FDA cited three published

studies in support of this conclusion. 58 None of them satisfied the PREA requirement
for a specific assessment of safety for pediatric populations.

       150.   The FDA must also consider “data, gathered using appropriate

formulations for each age group for which the assessment is required, that are

adequate—(1) to assess the safety and effectiveness of the drug or the biological

product for the claimed indications in all relevant pediatric subpopulations; and (2) to

support dosing and administration for each pediatric subpopulation for which the

drug or the biological product is safe and effective.” 21 U.S.C. § 355c(a)(2)(A). The

studies relied upon by the FDA did not do either of these two things.

       151.   The primary study on which the FDA relied, Efficacy and safety of

medical abortion using mifepristone and buccal misoprostol through 63 days, by Mary



57 California by & through Becerra v. Azar, 950 F.3d 1067, 1090 n.20 (9th Cir. 2020)

(en banc) (“Pregnancy is not a disease, and a nontherapeutic abortion is not a
treatment option.”).
58 Ex. 2, 2016 Summary Review at 18–19.




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Gatter and Deborah Nucatola of Planned Parenthood of Los Angeles and Kelly

Cleland of Princeton University’s Office of Population Research, evaluated the

proposed dosing regimen followed by home administration of misoprostol through 63

days’ gestation. The study also included postmenarcheal girls in the study population,

from which the FDA extrapolated its conclusion. 59

       152.     A second study that the FDA cited in support of its PREA conclusion

was based on a nationwide registry of induced abortions and hospital-register data in

Finland. 60 For the adolescent cohort who had chemical abortions, the study found

that 12.8% experienced hemorrhaging, 7.0% had incomplete abortions, and 11.0%

needed surgical evacuation of “retained products of conception.” 61 Because these
statistics were similar to those of the adult cohort, the FDA found these statistics

“reassuring” to support the safety profile of chemical-abortion drugs for a pediatric

population. 62

       153.     The third and final study that the FDA discussed was a study of 28

adolescents, ages 14 to 17 years old, with pregnancies under 57 days’ gestation. 63 The

authors of this study cautioned that a larger study was needed to make any

generalizable conclusions for pediatric populations.

       154.     The FDA did not require any studies on the long-term effects of

mifepristone in pediatric populations with developing reproductive systems.




59 Id. at 19 (citing Ex. 28, Mary Gatter et al., Efficacy and safety of medical abortion

using mifepristone and buccal misoprostol through 63 days, 91 Contraception 269
(2015)).
60 Ex. 2, 2016 Summary Review at 19–20 (citing Ex. 6, Niinimaki, supra note 11).

61 Ex. 6, Niinimaki, supra note 11 at 3–4.

62 Ex. 2, 2016 Summary Review at 20.

63 Id. at 19.




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       155.   Given the limitations with the three cited studies, FDA needed to

extrapolate the safety of the 2016 Major Changes for adolescent girls. But the agency

could not avail itself of the extrapolation exception because pregnancy is not a

“disease.”

IX. 2019 Citizen Petition

       156.   In response to the 2016 Major Changes, on March 29, 2019, AAPLOG

and American College of Pediatricians (ACPeds) (collectively, the 2019 Petitioners)

submitted to the FDA a citizen petition (2019 Citizen Petition) pursuant to 21 C.F.R.

§§ 10.30 and 10.35; 21 C.F.R. Part 314, Subpart H (§§ 314.500–314.560); and Section

505 of the FDCA (21 U.S.C. § 355).

       157.   The 2019 Petitioners asked the FDA to (1) “restore and strengthen

elements of the Mifeprex regimen and prescriber requirements approved in 2000”

and, in the event that the FDA denied that request, (2) “retain the Mifeprex Risk

Evaluation and Mitigation Strategy (REMS), and continue limiting the dispensing of

Mifeprex to patients in clinics, medical offices, and hospitals, by or under the

supervision of a certified prescriber.” 64

       158.   The 2019 Citizen Petition asked the FDA to take the following actions

to restore and strengthen elements of the chemical-abortion-drug regimen and

prescriber requirements approved in 2000 to protect the health, safety, and welfare

of women:


       A.     Reducing the maximum gestational age from 70 days to 49 days;

       B.     Limiting the ability to prescribe and dispense abortion drugs to

              qualified, licensed physicians—not other “healthcare providers”;




64 Ex. 29, 2019 Citizen Petition of AAPLOG to FDA (Mar. 29, 2019).




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         C.     Mandating certified abortion providers be physically present when

                dispensing abortion drugs;

         D.     Requiring that the prescriber perform an ultrasound to assess

                gestational age, identify ectopic pregnancies, ensure compliance with

                FDA restrictions, and adequately inform the woman of gestational age-

                specific risks, which rise with increasing gestational age;

         E.     Restoring the requirement for in-person administration of misoprostol;

         F.     Restoring the requirement for an in-person follow-up visit to confirm

                abortion and rule out life-threatening infection through clinical

                examination or ultrasonographic scan;

         G.     Restoring the 2000 label language that stated that abortion drugs are

                contraindicated if a woman lacks adequate access to emergency medical

                care; and

         H.     Restoring the prescriber reporting requirements for all serious adverse

                events, including any deaths, hospitalizations, blood transfusions,

                emergency room visits, failures requiring surgical completion, ongoing
                pregnancy, or other major complications following the chemical abortion

                regimen. 65

         159.   The 2019 Petitioners also asked the FDA to require a formal study of

outcomes for at-risk populations, including the pediatric female population, patients

with repeat chemical abortions, patients who have limited access to emergency room

services, and patients who self-administer misoprostol. 66



65 Id.

66 Id. at 13–14.




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         160.   The 2019 Citizen Petition explained that “[t]he developmental stage of

puberty involves a complex interplay of both progesterone and estrogen effects on the

developing female reproductive system.” Therefore, “[t]he use, and especially the

potential multiple use, of Mifeprex, which is a powerful progesterone blocker, is likely

to significantly impact the developing reproductive system of the adolescent

female.” 67

         161.   At a minimum, the 2019 Citizen Petition requested that the FDA retain

the mifepristone REMS and continue limiting the dispensing of mifepristone to

clinics, medical offices, and hospitals, by or under the supervision of a certified

prescriber. In other words, it requested the FDA do no further harm to the few

remaining safeguards for women who undergo the abortion drug regimen. 68
         162.   In particular, the 2019 Petitioners explained that eliminating or

relaxing the REMS to facilitate internet or telephone prescriptions would be

dangerous to women. 69 The 2019 Citizen Petition also raised concerns about

dispensing from a pharmacy instead of a clinical facility. 70

         163.   The 2019 Citizen Petition provided the FDA with detailed analysis and

data to support these requests.




67 Id.

68 Id. at 14–25.

69 Id. at 18–20.

70 Id. at 20–23.




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X. The FDA’s Approval of a Generic Version of Mifeprex and a Single, Shared
   System REMS.

         164.   On April 11, 2019, the FDA approved GenBioPro, Inc.’s 71 generic version
of Mifeprex, “Mifepristone Tablets, 200 mg” (2019 ANDA Approval) since the agency

“concluded that adequate information has been presented to demonstrate that the

drug is safe and effective for use as recommended in the submitted labeling.” 72 The

FDA determined GenBioPro’s Mifepristone Tablets, 200 mg, “to be bioequivalent and,

therefore, therapeutically equivalent to the reference listed drug (RLD), Mifeprex

Tablets, 200 mg, of Danco Laboratories, LLC.” GenBioPro’s generic version of

mifepristone has the same labeling and REMS as does Danco’s Mifeprex. 73 GenBioPro

sells the only generic mifepristone and misoprostol, and these sales are the company’s

only product and sole source of revenue. 74

         165.   On the same day, the FDA approved modifications to the existing

REMS for mifepristone to establish a single, shared system REMS for mifepristone

products for the “medical termination of intrauterine pregnancy,” thus allowing the

FDA to have a uniform REMS for the abortion drugs that two companies were now




71 GenBioPro, Inc. is located at 3651 Lindell Road, Suite D1041, Las Vegas, Nevada.

https://dailymed.nlm.nih.gov/dailymed/fda/fdaDrugXsl.cfm?setid=4179736a-1cb2-
4661-8c50-3d68ec7f4025&type=display.
72 Ex. 30, 2019 FDA ANDA Approval Letter to GenBioPro, Inc. (Apr. 11, 2019),
https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2019/091178Orig1s000ltr
.pdf.
73 Id.

74 Am. Compl. at ¶ 23, GenBioPro, Inc. v. Raynes, No. 3:23-cv-0058 (S.D.W. Va. Oct.

19, 2023), ECF No. 75.



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marketing. The FDA did not make any substantive modifications to the REMS

approved in 2016. 75

XI. 2020 ACOG-SMFM Letter to the FDA.

      166.     On April 20, 2020, the American College of Obstetricians and

Gynecologists (ACOG) and the Society for Maternal-Fetal Medicine (SMFM) sent a

joint letter (2020 ACOG-SMFM Letter), rather than a citizen petition, to the FDA

asking the agency to remove the in-person dispensing protection for mifepristone

during the COVID-19 pandemic and instead allow dispensing by mail or mail-order

pharmacy. 76

      167.     One month later, ACOG and others filed suit to enjoin the FDA’s in-

person dispensing protection for mifepristone during the pandemic. Am. Coll. of

Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183 (D. Md. 2020).

      168.     The district court granted a nationwide preliminary injunction and

lifted the in-person dispensing protection for the pandemic. Id. at 233, order clarified,

2020 WL 8167535 (D. Md. Aug. 19, 2020). The Fourth Circuit denied a stay. Court

Order Denying Motion for Stay Pending Appeal, Am. Coll. of Obstetricians &

Gynecologists v. FDA, No. 20-1824 (4th Cir. Aug. 13, 2020), ECF No. 30.

      169.     The FDA then filed for an emergency stay of the injunction with the

U.S. Supreme Court. Appl. for Stay, FDA v. Am. Coll. of Obstetricians &

Gynecologists, No. 20A34 (U.S. Aug. 26, 2020) (“2020 FDA Stay Appl.”). In that filing,

the agency affirmed that the initial and only remaining in-person office visit was both

“minimally burdensome” and “necessary” to preserve the safety of the women who


75 Ex. 30, 2019 FDA Supplemental Approval Letter to Danco Laboratories, LLC (Apr.

11, 2019), Supplement Approval, https://www.accessdata.fda.gov/drugsatfda_
docs/appletter/2019/020687Orig1s022ltr.pdf
76 Ex. 31, 2020 Letter from ACOG and SMFM, to FDA about Mifepristone REMS

(Apr. 20, 2020) (2020 ACOG-SMFM Letter).


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take abortion drugs. Id. at 4, 13. The FDA also explained that it had reviewed

“thousands of adverse events resulting from the use of Mifeprex,” determined that

abortion drugs continue to cause “serious risks for up to seven percent of patients,”

and concluded that an in-office visit was “necessary to mitigate [those] serious risks.”

Id. at 4, 7, 21. The U.S. Supreme Court granted the requested stay. FDA v. Am. Coll.

of Obstetricians & Gynecologists, 141 S. Ct. 578 (2021).

XII.     2021 FDA Letter in Response to 2020 ACOG-SMFM Letter.

         170.   Just three months after the Supreme Court granted FDA’s request for a

stay, on April 12, 2021, the FDA stated that it “intends to exercise enforcement

discretion” of the in-person dispensing protection during the COVID pandemic (2021

Non-Enforcement Decision). 77

         171.   The FDA’s 2021 Non-Enforcement Decision relied, in part, on a

supposed lack of reported adverse events occurring between January 2020 and

January 2021—despite the agency’s elimination of non-fatal reporting requirements

for abortion providers in 2016. Nevertheless, in 2021, the FDA still “found that the

small number of adverse events reported to FDA during the COVID-19 public health

emergency (PHE) provided no indication that any program deviation or

noncompliance with the Mifepristone REMS Program contributed to the reported

adverse events.” 78 But given the limitations of the FDA’s adverse-event reporting, the

agency could not—and did not—conclude that these reported events showed that

removing the in-person dispensing protection was safe for women’s health. 79



77 Ex. 32, 2021 FDA Letter to ACOG and SMFM About Mifepristone REMS, at 2 (Apr.

12, 2021).
78 Id.

79 Id.




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         172.   The FDA’s 2021 Non-Enforcement Decision neither acknowledged nor

addressed the federal laws expressly prohibiting the distribution of mifepristone by

mail, express company, common carrier, or interactive computer service—despite

explicitly recognizing that this action would allow “dispensing of mifepristone

through the mail . . . or through a mail-order pharmacy.” 80

XIII. The FDA’s December 2021 Decision to Permanently Remove the In-
      Person Dispensing Protections.

         173.   In a December 16, 2021 letter, the FDA “determined that the

Mifepristone REMS Program continues to be necessary to ensure that the benefits of

the drug outweigh the risks,” but that “it must be modified to minimize the burden

on the health care delivery system of complying with the REMS and to ensure that

the benefits of the drug outweigh the risks.” 81
         174.   The letter identified specific new modifications to the REMS:

“(1) removing the requirement that mifepristone be dispensed only in certain

healthcare settings, specifically clinics, medical offices, and hospitals (i.e., the ‘in-

person dispensing requirement’); and (2) adding a requirement that pharmacies that

dispense the drug be specially certified,” signaling that the FDA would soon allow

pharmacies to dispense abortion drugs. 82

         175.   The Letter acknowledged that the FDA had answered the “related” 2019

Citizen Petition and would post the agency’s response in the public docket. 83




80 Id.

81Ex. 33, 2021 FDA Center for Drug Evaluation & Research Director Patrizia
Cavazzoni Letter to Dr. Graham Chelius (Dec. 16, 2021).
82 Id.

83 Id.




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XIV. The FDA’s Denial and Grant of the 2019 Citizen Petition.

       176.     That same day—and over 2.5 years after receiving the 2019 Citizen

Petition—the FDA denied in part and granted in part the 2019 Citizen Petition (2021

FDA Response). 84

       177.     The FDA granted the 2019 Citizen Petition only to the extent that the

agency agreed that a REMS is necessary to ensure that the “benefits of mifepristone

in a regimen with misoprostol outweigh the risks.” But the FDA retained only the

Prescriber Agreement Form and the Patient Agreement Form as the remaining

elements of the REMS. 85

       178.     The FDA otherwise denied the 2019 Citizen Petition’s requests (1) to

restore and strengthen the mifepristone and prescriber requirements approved in

2000 and (2) to continue limiting the dispensing of mifepristone to women in clinics,

medical offices, and hospitals, by or under the supervision of a certified prescriber. 86

       179.     The FDA defended its decision to remove safeguards in the 2016 Major

Changes and repeated its previous justifications not to require studies in the

pertinent pediatric population in the 2016 Major Changes. The agency again asserted

that “the safety and efficacy were expected to be the same for postpubertal (i.e., post-

menarchal) adolescents.” 87

       180.     The FDA further stated that the REMS for mifepristone “must be

modified to remove the requirement that mifepristone be dispensed only in certain

healthcare settings, specifically clinics, medical offices, and hospitals, because this


84 Ex. 34, 2021 FDA Letter to AAPLOG and Am. Coll. of Pediatricians denying in part

and granting in part 2016 Citizen Petition, Docket No. FDA-2019-P-1534 (Dec. 16,
2021) (2021 FDA Response).
85 Id. at 21–23.

86 Ex. 34, 2021 FDA Response.

87 Id. at 38.




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requirement is no longer necessary to ensure that the benefits of the drug outweigh

the risks.” 88

       181.      In support of its claim that in-person dispensing is unnecessary, the

FDA relied on the “small” number of adverse events voluntarily reported in the FDA

Adverse Event Reporting System (FAERS) database to justify the elimination of this

safeguard, even though the FDA had years before removed the requirement for

abortion providers to report nonfatal adverse events. 89

       182.      The FDA relied on the FAERS database despite conceding these facts:

“FAERS data does have limitations”; the “FDA does not receive reports for every

adverse event”; and thus “FAERS data cannot be used to calculate the incidence of

an adverse event . . . in the U.S.” 90
       183.      The FAERS “is woefully inadequate to determine the post-marketing

safety of mifepristone due to its inability to adequately assess the frequency or

severity of adverse events” and the adverse events reported to the FDA “represent a

fraction of the actual adverse events occurring in American women.” 91 Reporting

“discrepancies [that] render the FAERS inadequate to evaluate the safety of

mifepristone abortions.” 92


88 Id. at 25.

89 Id. at 25–36.

90Ex. 35, Questions and Answers on FDA’s Adverse Event Reporting System
(FAERS),        https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-
adverse-event-reporting-system-faers.
91 Ex. 36, Kathi A. Aultman et al., Deaths and Severe Adverse Events after the Use of

Mifepristone as an Abortifacient from September 2000 to February 2019, 26 Law &
Medicine 3, 25–26 (2021).
92Ex. 37, Christiana A. Cirucci et al., Mifepristone Adverse Events Identified by
Planned Parenthood in 2009 and 2010 Compared to Those in the FDA Adverse Event
Reporting System and Those Obtained Through the Freedom of Information Act, 8
Health Servs. Rsch & Managerial Epidemiology 1 (2021).



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      184.   The complicated FAERS electronic submission process further hinders

the reporting of adverse events and exacerbates the unreliability of the number of

adverse event reports. 93 Doctors or other interested individuals seeking to submit an

adverse event report must navigate a confusing, complicated, acronym-laden

webpage. 94 Recognizing this difficulty in submitting adverse event reports, the FDA

provides a 48-page manual as guidance on the technical specifications for submitting

an adverse event form. 95

      185.   In addition to FAERS data, the FDA evaluated “assessment data”

concerning healthcare provider certification, program utilization, and non-

compliance. It noted that the eight reported cases of adverse events from these data

were also identified in the FAERS database. 96
      186.   The FDA also claimed support from published literature evaluating

mail-order dispensing by pharmacies and clinics. 97 Yet the agency conceded that it

was unable to “generalize” the results to the United States population, and that “the

usefulness of the studies is limited in some instances by small sample sizes and lack

of follow-up information on outcomes.” 98 The FDA thus acknowledged that “the

studies [it] reviewed are not adequate on their own to establish the safety of the model



93 Ex. 4, Harrison Compl. Decl. ¶¶33–34.

94 Ex. 38, FDA, FDA Adverse Event Reporting

 System (FAERS) Electronic Submissions, https://www.fda.gov/drugs/questions-and-
answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-
system-faers-electronic-submissions.
95 Ex. 39, Specifications for Preparing and Submitting Electronic ICSRs and ICSR

Attachments (April 2021), https://www.fda.gov/media/132096/download.
96 Ex. 34, 2021 FDA Response at 25.

97 Id.; Ex. 32, 2021 FDA Letter to ACOG and SMFM about Mifepristone REMS at 2.

98 Ex. 34, 2021 FDA Response at 28.




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of dispensing mifepristone by mail.” 99 Instead, the studies were merely “not

inconsistent with” FDA’s conclusion that removing the initial in-person visit would

be safe. 100

          187.   The   FDA   reviewed   three    studies   for   “mail   order   pharmacy

dispensing.” 101

          188.   One (Hyland) reported that 3 percent of the participants needed to be

hospitalized—a 330 percent increase over the rate on the approved label. 102 The FDA

disregarded this dramatic increase, saying it could not make any “conclusions on

[that study’s] safety findings.” 103
          189.   Another study (Upadhyay) had certain “deviations” from abortion

practices in the United States, “limited follow-up information, and small sample

size”—all of which “limit[ed] [its] usefulness.” 104

          190.   The third study, an “interim analysis” (Grossman), was largely

inapplicable because it evaluated outcomes for “dispens[ing] by mail-order pharmacy

after in-person clinical assessment.” 105

          191.   The FDA also cited five studies that “evaluated clinic dispensing by

mail.” 106




99 Id. at 35 (emphasis added).

100 Id. at 28.

101 Id. at 30.

102 Id. at 31. (The FDA-approved mifepristone labeling includes a baseline
hospitalization rate of less than one percent.)
103 Id.

104 Id. at 30–31.

105 Id. at 30.

106 Id. at 31.




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          192.   In one (Raymond), “7 percent of participants had clinical encounters in

[emergency department (ED)]/urgent care centers.” 107

          193.   In another (Chong), “6 percent of participants had unplanned clinical

encounters in ED/urgent care,” and “[s]urgical interventions were required in 4.1

percent to complete abortion.” 108

          194.   A third study (Anger) revealed that “12.5 percent had an unplanned

clinical encounter.” 109

          195.   In the fourth study (Kerestes), 5.8 percent in the “telemedicine plus mail

group” had “ED visits,” a rate exceeding the range on the label (2.9 to 4.6 percent)

and almost three times higher than its 2.1 percent comparator figure for women who

had an “in-person” visit. 110
          196.   The   final   study   (Aiken) had “significant     limitations”   because

“investigators were unable to verify the outcomes” and “the study’s design did not

capture all serious safety outcomes.” 111

          197.   After reviewing these studies, the FDA conceded that “the literature

suggests there may be more frequent ED/urgent care visits related to the use of

mifepristone when dispensed by mail from the clinic.” 112 The agency similarly

acknowledged that the Anger study “suggests a pre-abortion examination may




107 Id. at 32.

108 Id.

109 Id. at 32–33.

110 Id. at 33.

111 Id. at 34.

112 Id. at 35; accord id. at 33–34.




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decrease the occurrence of procedural intervention and decrease the number of

unplanned visits for postabortion care.” 113

       198.      Nevertheless, the FDA concluded that “these studies overall support

that dispensing by mail from the clinic is safe,” 114 and that mifepristone would

“remain safe and efficacy [would] be maintained” if it removed the in-person

dispensing protection from the REMS program. 115

       199.      The FDA’s 2021 Petition Response neither acknowledged nor addressed

the federal laws expressly prohibiting the distribution of mifepristone by mail,

express company, common carrier, or interactive computer service.

       200.      In January 2023, the FDA rejected a similar petition submitted on

December 13, 2022, by Students for Life of America and other signatories (SFLA

Petition).

       201.      The SFLA Petition requested that the FDA reverse its 2021 and 2016

modifications and restore the 2011 mifepristone REMS. The FDA noted that the relief

requested by SFLA was “the same or substantially the same as” the 2019 Citizen

Petition and directed SFLA to its “December 16, 2021 response to that petition.” 116




113 Id. at 33.

114 Id. at 34.

115 Id. at 28.

116 Ex. 40, 2023 FDA Letter to Students for Life of Am. denying 2022 SFLA Petition,

Docket No. FDA-2022-P-3209, at 2 (Jan. 3, 2023), https://www.regulations.gov/docu
ment/FDA-2022-P-3209-0003.


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      202.   In summary, the following chart illustrates the changes to the

mifepristone regimen over the years:

    Regulation          2000 Approval         2016 Major            2021/2023
                                               Changes              Decision

 Maximum                   49 days              70 days              70 days
 Gestational Age
 Dispensed only by           Yes                   No                   No
 or under the
 supervision of a
 physician
 In-person                   Yes                   No                   No
 administration of
 drug regimen
 In-person                   Yes                  Yes                   No
 dispensing of drug
 regimen
 In-person                   Yes                   No                   No
 administration of
 misoprostol
 Follow-up in-               Yes                   No                   No
 person evaluation
 post-abortion
 Requiring                   Yes                   No                   No
 prescribers to
 report all non-fatal
 serious adverse
 events

   XV.    The FDA’s 2021/2023 Removal of the In-Person Dispensing
          Protection.

      203.   In April 2021, prior to the agency’s denial of almost all of the 2019

Citizen Petition, the FDA “announced that, in connection with the COVID-19

pandemic, the agency would not enforce the in-person dispensing protection.

Effectively, this allowed mifepristone to be prescribed remotely and sent via mail.”

AHM, 78 F.4th at 226. The FDA’s April 2021 action expressly allowed “dispensing []




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mifepristone through the mail ... or through a mail-order pharmacy” during the

applicable time period. 117

       204.      In December 2021, the FDA decided to permanently remove the in-

person dispensing protection. 118

       205.      Pursuant to its December 2021 decision, the FDA “amended

mifepristone’s REMS (which applies to Mifeprex and the generic version) in January

of 2023 to formalize the removal of the in-person dispensing requirement.” AHM, 78

F.4th at 226.

       206.      The FDA acknowledged in 2023 that it had “determined” on

“12/16/2021” that “the REMS must be modified to remove the in-person dispensing

requirement.” 119
       207.      It added in its 2023 Summary Review that, following its 2021 decision,

“[t]he number of adverse events reported to FDA during the COVID-19 PHE with

mifepristone use is small.” And that this additional data “provide[d] no indication

that any program deviation or noncompliance with the Mifepristone REMS Program

contributed to these reported adverse events.” 120

       208.      The FDA also noted that the format of the REMS document would not

be changed “[t]o avoid the misperception that this REMS modification is making

major changes to the REMS document that go beyond our December 16, 2021,

determination that the REMS must be modified to remove the in-person dispensing




117 Ex. 32, 2021 FDA Letter to ACOG and SMFM About Mifepristone REMS at 2.

118 Ex. 34, 2021 FDA Response at 6.

119 Ex. 3, FDA 2023 Summary Review at 6.

120 Id. at 38.




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requirement and add pharmacy certification,” and that the “[c]hanges are in line with

the REMS Modification Notification letters sent December 16, 2021.” 121

       209.   The FDA’s January 2023 REMS permanently “[r]emov[ed] the

requirement that mifepristone be dispensed only in certain healthcare settings,

specifically clinics, medical offices and hospitals (i.e., the ‘in-person dispensing

requirement’)” and expanded the program to allow mifepristone to be dispensed by

certified pharmacies, including retail pharmacies. 122

       210.   These actions comprise the 2021/2023 Removal of the In-Person

Dispensing Protection.

       211.   By March 2024, one year after the modified REMS took effect,

Walgreens and CVS announced they had completed certification requirements and

would begin dispensing mifepristone in their stores. 123
       212.   The current Mifeprex Prescriber Agreement Form also requires such

healthcare providers to have the “[a]bility to provide surgical intervention in cases of

incomplete abortion or severe bleeding, or have made plans to provide such care

through others, and be able to assure patient access to medical facilities equipped to

provide blood transfusions and resuscitation, if necessary.” 124

       213.   And the current Mifepristone Patient Agreement acknowledges that

“[m]y healthcare provider has told me that these symptoms listed above could require




121 Id. at 8–9, 16.

122 Ex. 41, REMS Single Shared System for Mifepristone 200 mg (Jan. 2023),
https://perma.cc/MJT5-35LF (the “2023 Mail-Order Decision”).
123 Ex.42, Pam Belluck, CVS and Walgreens Will Begin Selling Abortion Pills This

Month, New York Times (March 1, 2024),
https://www.nytimes.com/2024/03/01/health/abortion-pills-cvs-walgreens.html.
124 Ex. 43, Mifeprex Prescriber Agreement Form at 1.




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emergency care. If I cannot reach the clinic/office/provider right away, my healthcare

provider has told me who to call and what to do.” 125

      214.      Dispensing mifepristone by mail also poses potential problems for

maintaining the appropriate level of active ingredient under uncontrolled shipping

conditions. One 2018 study of mifepristone from India found that 18 mifepristone-

misoprostol combination drugs shipped over a range of three to 21 business days

contained within 8% of the labeled 200 mg amount of active mifepristone by the time

they reached their destination. 126 The study did not control for humidity, heat, or

other conditions affecting active ingredient degradation, posing concerns for

individuals receiving abortion drugs exposed to even harsher weather conditions.

Indeed, the researchers projected that the 35 percent of packages that did not arrive

within the advertised shipping time “may have been delayed because of winter

weather.” 127
      215.      FDA’s own label for mifepristone requires a storage temperature of

“25°C (77°F); excursions permitted to 15 to 30°C (59 to 86°F) [see USP Controlled

Room Temperature].” 128 These conditions cannot be guaranteed during standard

shipping transit, particularly in summer or winter weather conditions. But the FDA’s

decision to allow mail-order abortion drugs neither acknowledged nor addressed this

known issue.

      216.      What’s more, the study noted that none of the sites on which the

abortion drugs were procured “required a prescription or any medical documents.


125 Ex. 44, Mifepristone Patient Agreement at 1.

126 Chloe Murtagh et al., Exploring the Feasibility of Obtaining Mifepristone and

Misoprostol from the Internet, 97 Contraception 287 (2018).
127 Id. at 288 (emphasis added).

128 Supra note 7, Mifeprex 2023 Label at 13.




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Two required completion of an online medical history questionnaire; none of the

questions asked about gestational age or any of the specific contraindications listed

on the label for Mifeprex®, the brand of mifepristone approved for abortion by the US

Food and Drug Administration.” 129

XVI. The FDA’s Recognition that Emergency Rooms would be the Backstop
     for Abortion Drug Harm.

          217.   The FDA has consistently identified emergency rooms as the backstop

for abortion drug harms. ER visits are the predictable consequence of its removal of

safeguards. 130
          218.   Given the potential for serious adverse events, the FDA recognized that

“access to ... emergency services is critical for the safe and effective use of the drug.” 131

The FDA required and still requires doctors “to assure patient access to medical

facilities equipped to provide blood transfusions and resuscitation, if necessary.” 132

The drug was also “contraindicated” where “access to emergency services” was

“[in]adequate.” 133 And the FDA required prescribing physicians without the ability to

perform emergency services to “direct” women “to a hospital for emergency

services.” 134

          219.   Danco, in consultation with FDA, also issued a “Dear Emergency Room

Director” letter in 2004 to “assist [ER Directors] in taking care of patients who may




129 Murtagh, supra note 126 at 288.

130 See Ex. 4, Harrison Compl. Decl. ¶¶ 18–19, 26–30.

131 Ex. 18, 2000 FDA Approval Memo at 3 (emphasis added).

132 Id. at 6; see also Ex. 44, Mifepristone Patient Agreement Form at 1.

133 Ex. 18, 2000 FDA Approval Memo at 5.

134 Id.




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present in an emergency room setting” after taking abortion drugs. 135 The letter

warned that “there may be some women who present to an emergency room with

serious and sometimes fatal infections and bleeding” or ruptured ectopic

pregnancies. 136

          220.   In its 2011 REMS materials, the FDA warned that women should not

take mifepristone if they “cannot easily get emergency medical help [for] 2 weeks”

after taking the drug. 137 The REMS required prescribers “to assure patient access to

appropriate medical facilities” that were “equipped to provide blood transfusions and

resuscitation, if necessary.” 138 And the agency instructed women to take the
medication guide with them “[w]hen [they] visit an emergency room.” 139

          221.   In its 2016 denial of the 2002 Citizen Petition, the FDA said it would

continue to rely on emergency rooms as a backstop to “ensure that women have access

to medical facilities for emergency care” to manage the expected complications. 140

          222.   The agency did the same in its 2021 petition denial, noting prescribers

were required to “ensure that mifepristone is prescribed [only] to women for whom

emergency care is available.” 141 And prescribers were not themselves required to be

able to treat life-threatening complications, just “assure patient access to medical

facilities equipped to provide blood transfusions and resuscitation.” 142 Recognizing


135 Ex. 45, Letter from Danco Labs. to Emergency Room Doctors 1 (Nov. 12, 2004)

https://perma.cc/734R-LLSQ.
136 Id.

137 Ex. 21, 2011 REMS at 5.

138 Id. at 1, 7.

139 Id. at 4.

140 Ex. 22, 2016 Petition Denial at 21.

141 Ex. 34, 2021 FDA Response at 39.

142 Id. at 9.




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that this care would frequently come from emergency rooms, the FDA observed that

“[i]t is common practice for healthcare providers to provide emergency care coverage

for other healthcare providers’ patients, and in many places, hospitals employ

‘hospitalists’ to provide care to all hospitalized patients.” 143

          223.   In evaluating mail-order dispensing, the FDA relied on five studies. In

one, “7 percent of participants had clinical encounters in [emergency department

(ED)]/urgent care centers.” 144 In another, “6 percent of participants had unplanned

clinical encounters in ED/urgent care,” and “[s]urgical interventions were required in

4.1 percent to complete abortion.” 145 A third study revealed that “12.5 percent had an
unplanned clinical encounter.” 146 In the fourth study, 5.8 percent in the “telemedicine

plus mail group” had “ED visits,” which was almost three times higher than “the in-

person group.” 147 And the last study had “significant limitations” because

“investigators were unable to verify the outcomes” and “the study’s design did not

capture all serious safety concerns.” 148

          224.   Finally, the FDA’s current label for mifepristone also directs women to

emergency rooms if one of many adverse events arises. 149 It says that an estimated

2.9 to 4.6 percent of women will visit the emergency room after taking mifepristone




143 Id. at 12.

144 Ex. 34, 2021 FDA Response at 32.

145 Id.

146 Id. at 32–33.

147 Id. at 33.

148 Id. at 34.

149 Supra note 7, Mifeprex 2023 Label at 2.




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on the label. 150 That’s roughly one in 25 women who will end up in the emergency

room if they take abortion drugs as directed.

       225.     The use of emergency rooms to treat abortion harms was a predictable

consequence of removing safeguards around Mifepristone. 151 For example, the

predictable consequence of removing the requirement that physicians dispense

abortion drugs is the “explosion of Mifeprex complications including hemorrhage.” 152

XVII. Defendants’ actions seek to undermine state abortion laws and state
      law enforcement.

       226.     Defendants’ actions undermine state abortion laws and frustrate state

law enforcement.

       227.     By removing REMS restrictions, the FDA fostered the creation of out-

of-state abortion drug markets—and it facilitated the creation of abortion-drug

markets that operate by mail, common carrier, and interactive computer service.

       228.     The FDA loosened the prior safeguards that prevented mifepristone
from being mailed to any state or being dispensed other than in-person.

       229.     The FDA has done nothing to prevent mifepristone from being mailed to

any particular state, regardless of federal or state law.

       230.     Evading state abortion laws has been the FDA’s overarching regulatory

purpose for mifepristone—even at the cost of harm to women’s health and safety.

       231.     When the FDA began its approval and regulation of abortion drugs, the

agency admitted that the reason to approve mifepristone was to undermine state

abortion laws. Ruth B. Merkatz, PhD, RN, FAAN served as the Director of the Office

of Women’s Health from 1994-1996, and later became a director at the Population



150 Id. at 8.

151 Ex. 4, Harrison Compl. Decl. ¶¶ 18, 26.

152 Ex. 4, Harrison Compl. Decl. ¶ 19.




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Council. In her oral history of the approval of mifepristone, she explained the FDA’s

intent to use mifepristone to evade state abortion laws: “It was really a revolutionary

decade in the ‘90s. We knew RU-486 was going to be very important especially in

states where surgical abortions are not permitted. And if they overturn Roe v. Wade,

it’s going to be really important. What’s interesting if you look through the panels in

this program [referring to conference program], these are the topics that I thought

were important to discuss. This is in 1994. It includes a panel on RU-486.” 153

      232.   A letter to the FDA in 2016 signed by 30 pro-abortion organizations

stated, “[a]lthough the FDA may have decided 15 years ago that the balance of risk

and burden came out in favor of restricting mifepristone’s indicated use and

distribution, today both science and the current conditions surrounding patient access

to abortion care call strongly for a reevaluation of the mifepristone label and REMS

restrictions, especially its Elements to Assure Safe Use (ETASU).” 154 The letter urged
the FDA to “[c]onsider the current legal and social climate,” explaining that “[t]he

overall legal and social climate around abortion care intensifies all of the burdens

that the mifepristone REMS places on patients and makes it even more critical that

the FDA lift medically unnecessary restrictions on the drug.” 155

      233.   Early in the Biden-Harris administration, Vice President Kamala

Harris promised that the administration would “fight to protect access” to abortion 156


153 FDA, Oral History Interview with Ruth B. Merkatz at 39 (Oct. 16, 2019),
https://www.fda.gov/media/165295/download?attachment.
154 Ex. 46, Letter from Soc’y of Fam. Plan. et al., to Stephen Ostroff, Acting Comm’r

of Food & Drugs, Robert M. Califf, Deputy Comm’r for Med. Prods. & Tobacco & Janet
Woodcock, Dir., Ctr. for Drug Evaluation & Rsch., U.S. Food & Drug Admin. 2, 5 (Feb.
4, 2016) (emphasis added).
155 Id. (emphasis added).

156 White House, Statement by Vice President Harris on Texas Law SB8 (Sept. 1,

2021), https://perma.cc/6TXB-8ENU.



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and “use every lever of our Administration to defend the right to safe and legal

abortion—and to strengthen that right.” 157

       234.     The President tasked HHS and the Department of Justice (DOJ) to

explore steps to “ensure access to safe and legal abortion.” 158 Officials were to “use

every lever at their disposal to ensure … access” for “every woman … across the

country.” 159

       235.     HHS would be a key part of this “whole-of-government approach.” 160

HHS was “to look for ways to make sure we are providing access to healthcare to

women” and the FDA would make a decision about lifting the REMS on

mifepristone. 161
       236.     In Dobbs v. Jackson Women's Health Organization, on June 24, 2022,

the Supreme Court returned the regulation of abortion “to the people and their

elected representatives.” 597 U.S. 215, 259 (2022). This decision recognized that the

States may regulate and prohibit abortion drugs.




157 White House, Statement by Vice President Kamala Harris on Supreme Court

Ruling on Texas Law SB8 (Sept. 2, 2021), https://perma.cc/7VDJ-MKZB.
158 White House, Readout of White House Roundtable Meeting with Women’s Rights

and Reproductive Health Leaders (Sept. 3, 2021), https://perma.cc/CN85-AZM2.
159 White House, Press Briefing by Press Secretary Jen Psaki and Deputy National

Security Advisor for Cyber and Emerging Technologies Anne Neuberger, September
2, 2021 (Sept. 2, 2021), https://perma.cc/6CVF-3MMQ.
160 White House, Press Gaggle by Principal Deputy Press Secretary Karine Jean-

Pierre (Sept. 3, 2021), https://perma.cc/4AWK-DQQW.
161White House, Press Briefing by Press Secretary Jen Psaki, Secretary of
Agriculture Tom Vilsack, and National Economic Council Director Brian Deese,
September 8, 2021 (Sept. 8, 2021), https://perma.cc/HJ77-7KFR.



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      237.   In response, President Biden called Dobbs “an extreme decision” 162 by

“not a normal Court.” 163

      238.   Rather than wait for Congress to heed his call to codify Roe v. Wade,

President Biden “committed to doing everything in his power” to “protect access” to

abortion. 164 He noted, “Some states are saying that they’ll try to ban or severely

restrict access to these medications.” 165

      239.   So he issued multiple executive orders mandating access to abortion. 166

      240.   The day Dobbs was issued, “[i]n the face of threats from state officials

saying they will try to ban or severely restrict access to medication for reproductive

health care, the President directed the Secretary of Health and Human Services to

identify all ways to ensure that mifepristone is as widely accessible as possible in

light of the FDA’s determination that the drug is safe and effective—including when

prescribed through telehealth and sent by mail.” 167 President Biden specifically


162 White House, Remarks by President Biden Before Meeting with His Task Force

on Reproductive Healthcare Access (Jan. 22, 2024), https://perma.cc/N9KR-TKX9.
163 White House, Remarks by President Biden on the Supreme Court’s Decision on

Affirmative Action (June 29, 2023), https://perma.cc/7XU8-3KL4.
164 White House, FACT SHEET: President Biden to Sign Executive Order Protecting

Access to Reproductive Health Care Services (July 8, 2022), https://perma.cc/F5ZZ-
XGL8.
165 White House, Remarks by President Biden on the Supreme Court Decision to

Overturn Roe v. Wade (June 24, 2022), https://perma.cc/B8Y3-EWUZ.
166 Exec. Order No. 14,076, Protecting Access to Reproductive Healthcare Services,

87 Fed. Reg. 42,053 (July 8, 2022); Exec. Order No. 14,079, Securing Access to
Reproductive and Other Healthcare Services, 87 Fed. Reg. 49,505 (Aug. 3, 2022); see
also Presidential Memorandum, Further Efforts To Protect Access to Reproductive
Healthcare Services, 88 Fed. Reg. 4895 (Jan. 26, 2023) (“My Administration remains
committed to supporting safe access to mifepristone...”).
167White House, FACT SHEET: President Biden Announces Actions In Light of
Today’s Supreme Court Decision on Dobbs v. Jackson Women’s Health Organization
(June 24, 2022), https://perma.cc/66T6-BL87.



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directed HHS Secretary Becerra to ensure women have “access” to abortion drugs “no

matter where they live.” 168

          241.   The same day, Secretary Becerra accordingly announced HHS’s

“commitment to ensure every American has access to … medication abortion” and

promised, “we will double down and use every lever we have to protect access to

abortion.” 169

          242.   Secretary Becerra explained in a written statement, “At the Department

of Health and Human Services, we stand unwavering in our commitment to ensure

every American has access to health care and the ability to make decisions about

health care -- including the right to safe and legal abortion, such as medication

abortion that has been approved by the FDA for over 20 years. I have directed every

part of my Department to do any and everything we can here. As I have said before,

we will double down and use every lever we have to protect access to abortion care.”170
          243.   At a press conference the same day, Secretary Becerra repeated: “HHS

will take steps to increase access to medication abortion,” and that “We will leave no

stone unturned.” 171




168 White House, FACT SHEET: President Biden to Sign Presidential Memorandum

on Ensuring Safe Access              to   Medication    Abortion   (Jan.   22,   2023),
https://perma.cc/S6R9-AT7W.
169Press Release, HHS, HHS Secretary Becerra’s Statement on Supreme Court
Ruling in Dobbs v. Jackson Women’s Health Organization (June 24, 2022),
https://perma.cc/89AZ-RFL4.
170 Id.

171 Press Release, HHS, Remarks by Secretary Xavier Becerra at the Press
Conference in Response to President Biden’s Directive following Overturning of Roe
v. Wade (June 28, 2022), https://perma.cc/KW6H-KF7D.



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       244.      President Biden’s then issued a follow-up executive order again

directing HHS “to protect and expand access to abortion care, including medication

abortion.” 172

       245.      In due course, HHS promoted “access” to abortion drugs through the

FDA REMS process. In section 1 of its post-Dobbs “action plan,” entitled “Access to

Medication Abortion and Contraception,” HHS said that “HHS will continue its work

to protect access to FDA-regulated products for abortion that have been found to be

safe and effective.” It continued, the “FDA will continue the REMS modification

process and review the applicants’ proposed changes to the REMS related to removing

the in-person dispensing requirement.” 173
       246.      After the FDA modified the REMS for mifepristone, HHS issued a report

called Marking the 50th Anniversary of Roe: Biden-Harris Administration Efforts to

Protect Reproductive Health Care. In this report, HHS identified the January 2023

REMS change as one of the actions HHS took since Dobbs to protect access to

abortion. 174 In an accompanying press release, HHS highlighted the FDA’s




172 Exec. Order No. 14,076, Protecting Access to Reproductive Healthcare Services,

87 Fed. Reg. 42,053, 42,053 (July 8, 2022).
173 Press Release, HHS, HHS Takes Action to Strengthen Access to Reproductive

Health Care, Including Abortion Care (Aug. 26, 2022) https://perma.cc/JH79-NBEB;
Secretary’s Report, HEALTH CARE UNDER ATTACK, An Action Plan to Protect
and Strengthen Reproductive Care (Aug. 2022), https://perma.cc/2SYF-G624.
174 HHS, Marking the 50th Anniversary of Roe: Biden-Harris Administration Efforts

to Protect Reproductive Health Care (Jan. 19, 2023), https://perma.cc/8EB4-P7US
(HHS “continue[s] to activate all divisions of the Department in service to [its]
commitment to ensuring” access to abortion).



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modification of the REMS for mifepristone as one of the Department’s “six core

priorities” to “protect and expand access” to abortion post-Dobbs. 175

      247.   As Secretary Becerra explained shortly thereafter, “We’re using our

authority as well to secure reproductive health care access for every American who

needs it—wherever they are, whenever they need it.” 176

      248.   The White House likewise identified the FDA’s 2023 permanent removal

of the in-person dispensing protection as an action taken in response to President

Biden’s July 8, 2022 executive order directing HHS to “protect and expand access to

abortion care, including medication abortion.” 177
      249.   Another part of the White House’s whole-of-government response to

Dobbs included enlisting DOJ in support of HHS’s actions to undermine state laws

by creating a 50-state mail-order abortion economy.

      250.   When Dobbs was decided, Attorney General Merrick Garland, the

nation’s chief law enforcement officer and head of DOJ, promised that DOJ will “work

tirelessly to protect and advance” abortion and will “use every tool at our disposal.”




175 Press Release, HHS, HHS Releases Report Detailing Biden-Harris Administration

Efforts to Protect Reproductive Health Care Since Dobbs (Jan. 19, 2023),
https://perma.cc/6CE3-J7DD.
176 Press Release, HHS, HHS Secretary Xavier Becerra Urges Nation to Shift from

an “Illness-Care System” to a “Wellness-Care System” at National Press Club
Luncheon (Feb. 9, 2024), https://perma.cc/R9SF-3VKC.
177White House, FACT SHEET: The Biden-Harris Administration’s Record on
Protecting Access to Medication Abortion (Apr. 12, 2023), https://perma.cc/78TT-
3J2G (citing Exec. Order No. 14,076, Protecting Access to Reproductive Healthcare
Services, 87 Fed. Reg. 42,053 (July 8, 2022), and HHS, Secretary’s Report, Health
Care Under Attack: An Action Plan to Protect and Strengthen Reproductive Care
(Aug. 2022), https://perma.cc/WWV5-CSFY).



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Garland warned that “States may not ban Mifepristone based on disagreement with

the FDA’s expert judgment about its safety and efficacy.” 178

          251.   HHS soon reported that it had been working with DOJ “to help ensure

access to care and preserve [the] FDA’s role in determining what is safe and effective

for patients.” 179 HHS said that, “The Attorney General of the United States made

clear that states may not ban mifepristone based on disagreement with [the] FDA’s

expert judgment about its safety and efficacy.” 180 These announcements came in a

formal HHS report entitled Secretary’s Report Health Care Under Attack: An Action

Plan to Protect and Strengthen Reproductive Care, in a section entitled Federal

Preemption—Protecting Access to Medication Abortion

          252.   Later, the White House confirmed that this purported preemption was

another step that “the Biden-Harris Administration has taken…to protect access to

medication abortion.” 181 “[P]reserving access” to abortion drugs, the White House
reiterated, is “one of two key priorities” after Dobbs. 182

XVIII.       The FDA actions created a 50-state abortion drug mailing economy,
             undermining state abortion laws.

          253.   Defendants’ actions had their predictable and intended effect.

          254.   First, the FDA’s 2016 actions resulted in the dispensing of abortion

drugs to women from Plaintiff States later in pregnancy, without follow-up care, and

178 Press Release, DOJ, Attorney General Merrick B. Garland Statement on Supreme

Court Ruling in Dobbs v. Jackson Women’s Health Organization (June 24, 2022),
https://perma.cc/E6DY-59LK.
179 HHS, Secretary’s Report Health Care Under Attack: An Action Plan to Protect and

Strengthen Reproductive Care 8 (Aug. 2022), https://perma.cc/WWV5-CSFY.
180 Id.

181White House, FACT SHEET: The Biden-Harris Administration’s Record on
Protecting Access to Medication Abortion (Apr. 12, 2023), https://perma.cc/78TT-
3J2G.
182 Id.




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without doctor supervision—leaving harmed women to seek emergency care in

Plaintiff States.

        255.   Second, the FDA’s 2021/2023 actions removed all in-person dispensing

protections and enabled the creation of out-of-state abortion-drug distributors that

dispense FDA-approved drugs by mail, common carrier, and interactive computer

service—all to evade state abortion laws.

        256.   These actions caused a nationwide increase in chemical abortions, the

widespread taking of abortion drugs up to 10 weeks of pregnancy, and the resulting

cascading medical complications for women.

        A.     Defendants’ deregulatory actions resulted in women receiving
               abortion drugs out-of-state and returning home to Plaintiff
               States with no continuous in-person care.

        257.   The FDA’s actions enabled abortion providers to dispense abortion drugs

to residents of Plaintiff States later in pregnancy and without follow-up care—

causing women to seek emergency services in Plaintiff States for treatment of

resulting complications.

        258.   This is confirmed by another case concerning the 2016 and 2023 REMS,

Whole Woman’s Health Alliance v. FDA, in which abortion providers in Virginia,

Montana, and Kansas confirmed that they now dispense abortion drugs to residents

of Plaintiff States who travel to them outside of Plaintiff States and then leave follow-

up care to Plaintiff States’ emergency providers—all because the FDA enabled these

abortion providers not to provide continuous follow-up care or three in-person doctor

visits. 183

183 Ex. 47, Complaint, ECF No. 1, Whole Woman’s Health All. v. FDA, No. 3:23-cv-

00019-NKM, ¶1 (W.D. Va. May 8, 2023) (hereinafter Whole Woman’s Health Compl.)
This complaint is supported by sworn declarations from the plaintiff abortion
providers. See Ex. 48, Rebecca Tong Decl., ECF No. 10-1, Whole Woman’s Health All.
v. FDA, No. 3:23-cv-00019-NKM (W.D. Va. May 8, 2023) (hereinafter Tong Decl.); Ex.



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       259.   Each provider in Whole Woman’s Health Alliance v. FDA uses both

Danco’s Mifeprex and GenBioPro’s generic mifepristone. 184 One of those providers,

Trust Women, spent $20,000 on brand name mifepristone alone in early 2023. 185

       260.   These abortion providers dispense FDA-approved drugs to women from

Plaintiff States in order to evade state abortion laws. These providers have made

what they describe as “herculean efforts to provide” abortion drugs “not only for

residents of their states, but also for the thousands of patients forced to travel

hundreds of miles for basic healthcare from the 13 states and counting where abortion

is now banned, and the many others where it remains severely restricted.” 186
       261.   The FDA’s decision to remove follow-up visit protections enabled Whole

Woman’s Health (WWH), an abortion provider with locations across the country and

in Virginia, to provide abortion drugs in one state and then leave follow-up care to

emergency medical professionals in other states.

       262.   For example, WWH of Alexandria provides FDA-approved abortion

drugs up to 11 weeks to many women from Plaintiff States with no in-person follow-

up visits. 187 “Because WWH of Alexandria is close to a large airport, many of our

patients travel to us by plane from states where abortion [is] banned ... WWH of



49, Nicole Smith Decl., ECF No. 10-2, Whole Woman’s Health All. v. FDA, No. 3:23-
cv-00019-NKM (May 8, 2023) (hereinafter Smith Decl.); Ex. 50, Helen Weems Decl.,
ECF No. 10-3, Whole Woman’s Health All. v. FDA, No. 3:23-cv-00019-NKM (May 8,
2023) (hereinafter Weems Decl.); Ex. 51, Amy Hagstrom Miller Decl. ¶¶ 9, 12, 19,
ECF No. 10-4, Whole Woman’s Health All. v. FDA, No. 3:23-cv-00019-NKM (May 8,
2023) (hereinafter Miller Decl.).
184 Whole Woman’s Health Compl. ¶ 60; Smith Decl. ¶ 23; Weems Decl. ¶19; Tong

Decl. ¶¶ 27–28.
185 Tong Decl. ¶ 28.

186 Whole Woman’s Health Compl. ¶ 1.

187 Miller Decl. ¶ 16.




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Alexandria provides abortion care to approximately 2,300 patients per year, and

approximately 64% of those receive medication abortion.” 188

       263.     Another of these providers, Trust Women, operates a clinic in Wichita,

Kansas that has provided abortion drugs since it opened in 2013 and that currently

provides abortion drugs up to 11 weeks. 189 The clinic has “18 doctors, and 16 of them

fly in to Kansas to provide care.” 190 In 2021, almost half of its patients received FDA-

approved abortion drugs as their method of abortion. 191

       264.     As the provider explained, Trust Women Wichita “experienced a huge

surge in patients seeking care following” the Dobbs decision. 192 In 2022, the Kansas
clinic saw patients start coming from hundreds of miles away. 193 “Trust Women

Wichita, as one of the few remaining clinics somewhat close to Texas, Oklahoma, and

other ban states, has seen a massive increase in patients seeking care due to abortion

bans. 194 Specifically, “In 2021, Trust Women Wichita saw around 1500 patients. In

2022, we saw around 3500 patients. For the first 4 months of 2023, we have seen 2000

patients already—on pace for 6,000 for the year. Around two-thirds of our patients

are coming from out of state.” 195 Since Texas’s abortion law “S.B. 8 took effect, it is

not uncommon for us to receive tens of thousands of calls a day.” 196



188 Id. ¶ 19 (emphasis added).

189 Tong Decl. ¶¶ 1, 6.

190 Id. ¶ 30.

191 Id. ¶ 35.

192 Whole Woman’s Health Compl. ¶ 103.

193 Tong Decl. ¶ 19.

194 Id.¶ 19.

195 Id. ¶ 19.

196 Id. ¶ 21.




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       265.     Montana’s Blue Mountain Clinic likewise considers itself and Montana

to be “a critical site of access to abortion for people in the greater Northern Rockies

and Plains regions” as “access” in other states “has grown exponentially worse” since

Dobbs. 197 Each of Montana’s neighboring states—North Dakota, South Dakota,

Wyoming, and Idaho—restrict abortion. 198 And “[a]bout 25% of Blue Mountain

Clinic’s patients travel more than 50 miles” for abortions. Smith Decl. ¶10. Blue

Mountain Clinic provides FDA-approved abortion drugs up to 10 weeks of pregnancy

to patients physically present in Montana. 199 In 2022, “Blue Mountain Clinic provided

about 400 abortions. Almost 40% of those abortions were for patients who are insured

through Medicaid (which covers abortion care in Montana).” 200
       266.     All these providers send women from Plaintiff States home without

ongoing care or in-person follow-up visits for abortion drug complications.

       267.     The FDA’s lack of required in-person follow-up visits results in women

traveling across the country to pick up abortion drugs from these providers (and many

more like them) before returning home to complete the abortion regimen—leaving

women to seek emergency care in Plaintiff States for the inevitable complications.

       268.     These abortion providers—the WWH entities, Blue Mountain Clinic, All

Families, and Trust Women Wichita continue to provide abortion drugs in-person to

this day.

       269.     In another case, Washington v. FDA, abortion providers similarly

explained in sworn declarations how their use of abortion drugs under Defendants’




197 Smith Decl. ¶ 7.

198 Id. ¶ 7.

199 Id. ¶ 13.

200 Id. ¶ 15.




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actions have enabled them to evade state laws and leave follow-up care to Plaintiff

States. 201

       270.   Cedar River Clinic in Renton, Seattle, Tacoma, and Yakima,

Washington provides abortion drugs to residents and non-residents. 202 This clinic is

“only one of a small handful of full-service abortion clinics in Eastern Washington,”

near the Idaho border. 203 FDA-approved abortion drugs “make up approximately 40%

of all the abortions Cedar River Clinics perform.” Cantrell Decl. ¶10. The clinic

provides abortion drugs in clinic and via telemedicine to “those traveling from out of

state or internationally.” 204
       271.   As Cedar River Clinic explained, “Many of those patients had to travel

due to restrictive laws. Since the Dobbs v. Jackson Women's Health Organization

decision in June 2022 and subsequent abortion bans, Cedar River Clinics are

experiencing a rising tide in the volume of individuals coming to Washington from

other states to seek an abortion. It is not limited to our region; we are serving patients

from across the country especially the South and Midwest who are being impacted by

the abortion bans in their states.” 205

       272.   In this case, Washington v. FDA, Planned Parenthood of Greater

Washington and Northern Idaho (PPGWNI) likewise explained how the current FDA

REMS enables it to provide FDA-approved abortion drugs to Idaho and other out-of-




201 Washington v. FDA, No. 1:23-cv-03026 (E.D. Wash. filed Feb. 23, 2023).

202 Ex. 52, Declaration of Connie Cantrell, ECF 4-1, Ex. 2, Washington v. FDA, No.

1:23-cv-03026, at ¶¶ 4,7 (E.D. Wash. Feb. 24, 2023) (hereinafter Cantrell Decl.).
203 Cantrell Decl. ¶ 6.

204 Id. ¶¶ 7, 10.

205 Id.¶ 7 (emphasis added).




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state residents without follow-up care. 206 PPGWNI provides abortion drugs through

11 clinics throughout central and eastern Washington, with locations in Spokane,

Spokane Valley, Pullman, Walla Walla, Moses Lake, Sunnyside, Pasco, Kennewick,

Wenatchee, Yakima, and Ellensburg. 207 PPGWNI’s abortion drugs cost $700. 208

“PPGWNI sees a high percentage of patients on Medicaid.” 209

       273.     PPGWNI historically has provided abortion drugs to Idaho residents

and since 2022 has had an increase in other out-of-state residents seeking abortion

drugs. As the provider explained, “With three of our clinics (Spokane, Spokane Valley,

and Pullman) so close to the border, PPGWNI has long seen patients from Idaho. But

since Dobbs, we have seen a significant increase in out-of-state patients.” 210 “In
January 2023, PPGWNI saw an increase of 25% in total abortion patient visits

compared to January 2022. We saw a 75% increase in Idaho patients from January

2023 compared to January 2022.” 211 “This includes a 36% increase for procedural

abortion patient visits and 90% increase for medication abortion visits from Idaho.” 212

“In our Pullman clinic, we now have an outright majority of patients—53% in 2022

and likely higher in 2023—coming from Idaho.” 213 “This is up from 39% in 2021.” 214

“Further, with the closure of PPGWNI’s Boise clinic, we have started to see an influx


206 Ex. 53, Declaration of Paul Dillon, ECF 4-1, Ex. 5, Washington v. FDA, No. 1:23-

cv-03026, at ¶¶ 4, 7 (E.D. Wash. Feb. 24, 2023) (hereinafter Dillon Decl.).
207 Dillon Decl. ¶ 4.

208 Id. ¶ 21.

209 Id. ¶ 7.

210 Id. ¶ 9.

211 Id. ¶ 10.

212 Id. ¶ 10.

213 Id. ¶ 11.

214 Id. ¶ 11.




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of out-of-state patients at our Kennewick and Walla Walla clinics.” 215 “These clinics

have not historically treated many out-of-state patients, but they are now the closest

clinics for many people in southern Idaho.” 216 “Since Dobbs, We [sic] have also started

to see patients come from as far away as Texas and Florida.” 217

          274.   In the same case, Washington v. FDA, the Washington State

Department of Health confirmed that Washington abortion providers like Cedar

River Clinic and PPGWNI dispense abortions to non-Washington residents. 218 “In

2021, there were 15,968 abortions among Washington residents” and “998 abortions

were provided to non-residents who traveled from out of state.” 219 “Non-residents
seeking abortion care in Washington came from 41 states, as well as Guam and

Canada, with the majority coming from Idaho (406), Oregon (330), and Alaska

(51).” 220 Abortion sites “in the eastern and southern parts of Washington are most

likely to serve patients from Idaho and Oregon respectively based on geographic

location.” 221 “In 2021, 59% of the abortions provided in Washington were medication

abortions.” 222

          275.   Cedar River Clinic and PPGWNI continue to dispense abortion drugs in

person to this day.




215 Id. ¶ 12.

216 Id.

217 Id. ¶ 13.

218 Ex. 54, Declaration of Cynthia Harris, ECF 4-1, Ex. 10, Washington v. FDA, No.

1:23-cv-03026, at ¶¶4, 7 (E.D. Wash. Feb. 24, 2023) (hereinafter Harris Decl.).
219 Harris Decl. ¶ 4.

220 Id.

221 Id. ¶ 11.

222 Id.¶ 4.




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      276.   Other abortion providers confirm that they provide abortion drugs to

women from Plaintiff States in single appointments—without three doctor visits or

other in-person follow-up care. For example, Emily Wales, CEO and president of

Planned Parenthood Great Plains, said, “In a matter of months [after Dobbs], we

started serving patients from Texas and Arkansas and Oklahoma … Missourians had

to really compete for too few appointments” for abortion drugs. 223

      277.   The FDA’s actions removing the protection of three doctor visits enabled

these abortion providers to provide abortion drugs to so many women—and enabled

them to redirect all emergency care to Plaintiff States.

      278.   Without these prior FDA safeguards, these providers have increased

their in-person provision of abortion drugs since 2016 (surging after Dobbs) which

increases complications for women from Plaintiff States.

      B.     Defendants’ removal of any doctor safeguards also contributed
             to women receiving abortion drugs out-of-state and then
             returning home with no continuous in-person follow-up care.

      279.   The removal of the safeguard of a doctor prescriber for FDA-approved

abortion drugs was likewise a key step in allowing them to be dispensed to women in

one state while leaving follow-up care to the woman’s home state.

      280.   Three of the plaintiff providers in Whole Woman’s Health v. FDA (Whole

Woman’s Health, Blue Mountain Clinic, and All Families) employ advanced practice

clinicians (APCs) to provide chemical abortion drugs. 224




223 Ex. 55, Anna Spoerre, 2 Years After Missouri Banned Abortion, Navigating Access

Still Involves Fear, Confusion, Missouri Independent (June 24, 2024),
https://missouriindependent.com/2024/06/24/2-year-anniversary-missouri-abortion-
ban/.
224 Whole Woman’s Health Compl. ¶ 101; Miller Decl. ¶ 18; Smith Decl. ¶ 31.




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       281.       WWH of Alexandria employs a nurse practitioner to dispense abortion

drugs in-clinic, and it employed other advanced practice clinicians in the past. 225 The

clinic estimates that its “nurse practitioners have provided around 1,500 medication

abortions, which is more than 40% of the total medication abortions.” 226

       282.       WWH of Alexandria credits the FDA’s removal of the prior doctor

protections for its ability to provide more abortions. WWH of Alexandria “only has

physicians providing abortion Thursday through Saturday, so employing APCs

allows the clinic to offer abortions for the rest of the week and frees up clinic space

and resources for later abortion cases over the weekend.” 227 Reinstating the
physician-only certified prescriber requirement would complicate WWH’s operations

and recruiting of APCs...” 228

       283.       One provider in Montana, All Families (which is close to the border with

Idaho) says that this FDA deregulation is the only way that it can provide abortion

drugs. “In the case of All Families, the sole clinician prescribing and providing

abortion is an advanced practice clinician. Reinstating the REMS’ physician-only

requirement for certified prescribers will thus eliminate the sole mifepristone

provider from the northwest region of Montana.” 229 In Montana the next closest

provider, Blue Mountain Clinic, is a three-hour drive away. 230




225 Miller Decl. ¶ 18.

226 Id. ¶ 18.

227 Id. ¶ 36. “

228 Id. ¶ 37.

229 Whole Woman’s Health Compl. ¶ 102; Weems Decl. ¶¶ 1–2.

230 Weems Decl. ¶¶ 25, 28; Smith Decl. ¶ 33.




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          284.   All Families provides abortion drugs up to 11 weeks of pregnancy. 231 In

2022, it provided approximately 260 abortions, and providing abortion drugs “makes

up well over half” of these abortions. 232 The next year, abortion drugs made up

“between 65% and 90%” of total monthly abortions in 2023 at All Families. 233

          285.   For All Families, restoring the pre-2016 REMS would be “devastating”

for its operations. 234 Reinstating “the physician-only certified prescriber requirement

would mean [it] could no longer prescribe mifepristone.” 235 “Advanced practice

clinicians have been critical to maintaining or restoring access to abortion in this

region—including access to mifepristone—and this requirement would once again cut

off that access.” 236
          286.   At Blue Mountain Clinic, two physician assistants likewise dispense

abortion drugs, and Blue Mountain Clinic brought suit to maintain this status quo. 237

          287.   The other providers in Whole Woman’s Health Alliance v. FDA similarly

seek to use non-doctors to provide abortion drugs. WWH of Charlottesville does not

currently have any advanced practice clinicians providing abortion care but is

actively recruiting for such providers. 238 Trust Women in Kansas likewise “would

want to use advanced practice clinicians to mail chemical abortion drugs if they are

ultimately able to start their telehealth program.” 239


231 Weems Decl. ¶ 6.

232 Id.

233 Id.

234 Id. ¶ 24.

235 Id. ¶ 25.

236 Id. ¶ 26.

237 Smith Decl. ¶ 31.

238 Miller Decl. ¶ 11.

239 Whole Woman’s Health Compl. ¶ 101; Tong Decl. ¶ 27.




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          288.   The FDA’s actions directly led to the ability of these abortion providers

to dispense abortion drugs or to dispense more abortion drugs to women from Plaintiff

States, and the FDA’s action directly increased harm to women and girls.

          C.     The FDA’s pharmacy deregulation likewise leads to abortions
                 with no in-person follow-up care.

          289.   Defendants’ pharmacy dispensing deregulation also has major

implications for Plaintiff States. This action also enabled abortion providers in other

States to dispense abortion drugs (or dispense more abortion drugs) to women from

Plaintiff States and then send them home for follow-up care in Plaintiff States.

          290.   The FDA’s permission for pharmacies to dispense abortion drugs led

major pharmacy chains to start stocking abortion drugs in many states—without

providing in-person follow-up care.

          291.   Walgreens and CVS each swiftly announced that they “will sell the

prescription abortion pill mifepristone after the Food and Drug Administration this

week dropped a long-standing rule that prevented drug stores from doing so.” 240 As
one article explained, “This means patients in many parts of the U.S. will effectively

be able to obtain mifepristone like other prescription medications, either in-person at

a retail pharmacy or through the mail.” 241 In early 2024, both “major pharmacy

chains CVS and Walgreens announced they had been certified to begin dispensing

mifepristone at select locations in states where abortion is legal.” 242



240 Ex.56, Spencer Kimball & Bertha Coombs, CVS and Walgreens Plan to Sell
Abortion Pill Mifepristone at Pharmacies after FDA Rule Change, CNBC (Jan. 5
2023),        https://www.cnbc.com/2023/01/05/abortion-cvs-and-walgreens-will-sell-
mifepristone-in-pharmacies.html.
241 Id.

242 Ex. 57, Patrick Adams, In Washington State, Pharmacists are Poised to Start

Prescribing          Abortion        Drugs,        NPR       (March        1,      2024),



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          292.   In March 2024, Walgreens announced that “it will begin dispensing

mifepristone pills within a week — consistent with state laws — in select locations in

California, Illinois, Massachusetts, New York and Pennsylvania.” 243

          293.   GenBioPro’s website reports that CVS Pharmacy now likewise provides

abortion drugs in California, Colorado, Connecticut, DC, Delaware, Hawai’i, Illinois,

Massachusetts, Maryland, Maine, Michigan, Minnesota, New Hampshire, New

Jersey, Nevada, New Mexico, New York, Oregon, Pennsylvania, Rhode Island,

Virginia, Vermont, and Washington. 244

          294.   Another national pharmacy dispensing abortion drugs is Honeybee

Health, which GenBioPro reports provides abortion drugs by mail “in multiple

states.” 245
          295.   Smaller pharmacies are now dispensing abortion drugs, too. GenBioPro

identifies smaller or regional pharmacies that dispense its abortion drugs in Arizona,

California, Connecticut, Maryland, Nevada, New York, Rhode Island, South

Carolina, Texas, Washington, and Wisconsin. 246

          296.   As NPR has reported, “Over the past several months, a handful of

community pharmacies in states where abortion remains legal have begun to take

advantage of a new rule that allows them to fill prescriptions for the abortion pill

mifepristone. Prior to the rule change, which was finalized last January by the Food



https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-
prescribe-dispense-abortion-pill-mifepristone.
243Ex. 58, Chloe Atkins, CVS and Walgreens to Start Dispensing the Abortion Pill
Mifepristone, NBC (Mar. 1, 2024), https://www.nbcnews.com/health/health-news/cvs-
walgreens-dispense-abortion-pill-mifepristone-rcna141396.
244 Ex. 59, GenBioPro, Pharmacy Directory, https://genbiopro.com/roster.

245 Id.

246 Id.




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and Drug Administration, pregnant people had to get the drug directly from their

doctor or by mail if using telemedicine, depending on the laws in their state.” 247 The

lack of a prescriber dispensing protection now means, for example, that anyone could

travel to Washington to pick up a mifepristone prescription filled by a pharmacy in

Washington for a woman in Idaho—with no in-person care. This will likely increase

further the number of women with no follow-up care who seek emergency services in

Plaintiff States.

          297.   In fact, in Washington, pharmacists “go a step further than that” and

“pharmacists themselves [now] prescribe the abortion medication, without a

physician.” 248 In Washington, “efforts are underway to open up access to medication
abortion in a radical new way: by training pharmacists not only to dispense abortion

pills but also to prescribe them to their walk-in patients.” 249 NPR reports that “[t]here

are 10 pharmacists in the first cohort,” expected to start prescribing in early 2024. 250

          298.   Without the FDA’s in-person dispensing protection or without any

doctor safeguards, a pharmacist in Washington can now conduct a telehealth

appointment with an Idaho resident in Washington and prescribe mifepristone. As

NPR concludes, “Pharmacist prescribing of mifepristone puts the drug a step closer

to over-the-counter.” 251




247 Id.

248 Ex. 57, Patrick Adams, In Washington State, Pharmacists are Poised to Start

Prescribing      Abortion        Drugs,        NPR     (March      1,      2024),
https://www.npr.org/sections/health-shots/2024/01/22/1225703970/pharmacists-
prescribe-dispense-abortion-pill-mifepristone.
249 Id.

250 Id.

251 Id.




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      299.   The new ability of pharmacists to prescribe and dispense abortion drugs

shows how women from Plaintiff States will be harmed by the FDA’s actions and seek

follow-up care from providers at home.

      D.     Defendants’ actions resulted in the creation of a 50-state mail-
             order abortion-drug economy.

      300.   Lifting any in-person dispensing protections —no matter the risk to

women’s health and safety—was the final step in the FDA’s plan to limit any effect

from Dobbs and undermine state abortion laws.

      301.   Removing the in-person dispensing protections enabled a 50-state mail-

order abortion drug economy—a world where countless women in Plaintiff States

receive abortion drugs by mail later in pregnancy with no in-person care and go the

emergency room in Plaintiffs’ States.

      302.   According to one report, in less than a month after Dobbs was decided,

seven U.S.-based providers mailed approximately 3,500 doses of mifepristone and its

generic equivalent to states that prohibit the use of abortion drugs. 252
      303.   Eight States have embraced Defendants’ actions and passed “shield”

laws expressly seeking to facilitate these providers conducting out-of-state mail-order

abortions and to prevent Plaintiff States from enforcing their own laws. 253




252 Ex. 60, Rachel Roubein, ‘Shield’ Laws Make it Easier to Send Abortion Pills to

Banned         States,       Wash.        Post.       (July      20,        2023)
https://www.washingtonpost.com/politics/2023/07/20/shield-laws-make-it-easier-
send-abortion-pills-banned-states/.
253 Id.; Ex. 61, Rachel Roubein, How Blue States are Responding to the Post-Roe

World,           Wash.         Post            (June           21,               2023)
https://www.washingtonpost.com/politics/2023/06/21/how-blue-states-are-
responding-post-roe-world/.



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          304.   These shield laws often explicitly name mifepristone and the proponents

of those laws openly proclaim that they seek to abrogate the sovereignty of Plaintiff

States. 254

                 1.    Aid Access

          305.   Many abortion providers, like Aid Access, have explained to the press

how Defendants’ actions have enabled them to frustrate state abortion restrictions

and mail FDA-approved abortion drugs “to people in all 50 states, even those [like

Missouri] that have banned it.” 255

          306.   Mailing FDA-approved abortion drugs is new for Aid Access. In the past,

Aid Access did not mail FDA-approved abortion drugs.

          307.   When Aid Access was started in 2018, it operated as a black-market

provider of abortion drugs from India. “FDA regulations prevented licensed US

providers from mailing mifepristone, one of the two drugs in the medication abortion

regimen, so Aid Access was structured like … telemedicine service.” 256

          308.   But then in 2021 the “in-person dispensing requirement for

mifepristone” was removed. 257 Aid Access responded to the FDA’s 2021 change by

entering the U.S. market as a provider of FDA-approved abortion drugs by mail in

certain states. “For the first time, legally prescribed medication abortion could be put

in the mail. Aid Access used this opportunity to implement a hybrid model: in states



254 Id.

255 Ex. 62, Rebecca Grant, Group Using ‘Shield Laws’ to Provide Abortion Care in

States      That   Ban     It,    The       Guardian      (July     23,     2023),
https://www.theguardian.com/world/2023/jul/23/shield-laws-provide-abortion-care-
aid-access.
256 Id.

257 Id.




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where telemedicine abortion was legal, US clinicians handled the prescriptions, while

in states where it wasn’t, the pills continued to be mailed from India.” 258

          309.   Later, after the FDA’s 2023 permanent removal of in-person dispensing

safeguards, Aid Access expanded its scope and began providing FDA-approved

abortion drugs by mail to all states.

          310.   Once some States like New York adopted shield-laws, Aid Access began

mailing FDA-approved abortion drugs directly from the United States instead of

black-market abortion drugs from India.

          311.   This change transformed the process from “needing to wait three or four

weeks to get it to happen, and not even be sure if those pills are ever going to come”

to receiving abortion drugs in the mail in “two-five days.” 259
          312.   The FDA’s decision not to require in-person distribution directly

contributed to the decisions of out-of-state companies to mail abortion drugs to people

in Plaintiff States. People “feel more secure knowing that the pills are coming from

licensed clinicians through an FDA-approved pipeline” rather than from India. 260

          313.   In an NBC news story, Dr. Linda Prine, a New York City-based shield

law provider for Aid Access explained the scale of its new FDA-enabled mailing

operations by mid-2024. “Before we had the shield law, we were mailing pills to the

blue states, and only [pills from] overseas could be sent to the restricted states.” After

New York’s shield law passed, Aid Access began sending FDA-approved abortion




258 Id.

259 Id.

260 Id.




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drugs to every state: “the first month we sent about 4,000 pills into restricted states,

and now we’re up to around 10,000 pills a month.” 261

          314.   Another Aid Access provider, located in “a basement in upstate New

York” also “underscored the importance of sending these pills from the U.S., rather

than overseas. ‘Sometimes they got stuck in customs,’ the provider explained as more

than 100 prescriptions were being packaged around them, preparing to be shipped

into states with bans.” 262

          315.   Aid Access moreover benefits from Defendants’ removal of the safeguard

that women receive a doctor’s care when receiving FDA-approved abortion drugs.

Alongside doctors, Lauren Jacobson, a nurse practitioner, prescribes abortion

medication through Aid Access—helping make Aid Access the largest of the current

shield law abortion drug providers. 263
          316.   The NBC story provided images of New York’s Aid Access providers

mailing GenBioPro’s generic mifepristone to women in Plaintiff States—the images

show that next to pill bottles and mailing envelopes, these abortion providers have

stacks of white boxes of mifepristone with GenBioPro’s distinctive purple and pink

circular logo. 264




261Ex. 63, Abigail Brooks and Dasha Burns, How A Network of Abortion Pill
Providers Works Together in the Wake of New Threats, NBC News (April 7, 2024),
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-
works-together-wake-new-threats-rcna146678.
262 Id.

263 Ex. 64, Elissa Nadworny, Inside a Medical Practice Sending    Abortion Pills to
States     Where      They’re      Banned,     NPR         (Aug.     7,     2024),
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-
mifepristone-misoprostol.
264 Ex. 63, Abigail Brooks and Dasha Burns, How a Network of Abortion Pill Providers

Works Together in the Wake of New Threats, NBC News (April 7, 2024),



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A shield law provider packs abortion pills into envelopes to be sent from New York to
states with bans. Callan Griffiths / NBC News




https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-
works-together-wake-new-threats-rcna146678.


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Boxes of pills will be packed into envelopes to ship around the country. Callan Griffiths
/ NBC News




Envelopes filled with abortion pills. Callan Griffiths / NBC News




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Empty pill bottles in the basement of a shield law provider in New York will be filled
with abortion medication. Abigail Brooks / NBC News




       317.   Aid Access and Ms. Jacobson interviewed with the Washington Post in

June 2023 when they first began their “new pipeline of legally prescribed abortion

pills flowing into states with abortion bans.” This “small group” mailed 3,500 doses
of FDA-approved abortion drugs in the first month and aimed to “facilitate at least
42,000 abortions” in its first year. 265

       318.   The article described one Hudson Valley doctor whose “family’s ping-

pong table [was] covered with abortion pills bound for the South and Midwest, where

abortion has been largely illegal since the Supreme Court overturned Roe v. Wade in




265 Ex. 65, Caroline Kitchener, Blue-State Doctors Launch Abortion Pill Pipeline Into

States With Bans, Wash. Post (July 19, 2023), wapo.st/3M29JUq.



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June 2022.” This doctor “arrives at the post office with dozens of new packages every

afternoon.” 266

          319.   In another interview with the Washington Post, Dr. Prine said that

“[a]nxiety and uncertainty are common even among patients who receive the

medication at an abortion clinic in a state where abortion is legal ... because they’re

at home by the time they start feeling the full effects.” 267 “People from anywhere can

be freaking out because everyone is taking these pills at home alone.” 268 And “[i]n

states with abortion bans, the emergency room is often the only option for women

who want in-person care during their medication abortions.” 269
          320.   Dr. Prine said that when someone calls her by phone for advice, she tells

women who call concerned about complications “that their experiences are nothing

out of the ordinary, and that they almost certainly don’t need to go to the emergency

room.” 270

          321.   Dr. Prine “said she’s felt the need to send someone to the emergency

room only once in nearly five years … ‘Your uterus knows what to do,’ Prine told a

woman who called that January morning with reports of unexpectedly heavy

bleeding. ‘It’s going to take care of itself.’” 271




266 Id.

267 Ex. 66, Caroline Kitchener, Alone in a Bathroom: The Fear and Uncertainty of a

Post-Roe         Medication         Abortion        (April        11,         2024),
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-
stories/?itid=ap_carolinekitchener.
268 Id.

269 Id.

270 Id.

271 Id.




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          322.   The Washington Post shared Dr. Prine’s comments with other doctors.

It reported, “A woman in that situation could have hemorrhaged or become septic,

according to five OB/GYNs interviewed for this article.” 272

          323.   Keri Garel, an OB/GYN at Boston Medical Center, said, “Whenever

there is something inside the uterus that is trying to come out and won’t come out,

the risk of bleeding and infection gets higher with every passing moment,” and so she

would advise someone in [this woman’s] situation to go to the hospital immediately.

“At that point, your life is the most important thing.”

          324.   Aid Access will provide abortion drugs to a woman or girl of any age. 273
          325.   Dr. Prine described how once a “quiet and scared” girl who was 15 years

old called her from “an area code in a state with an abortion ban” desperate for help

after she “had taken pills and passed a fetus larger than she’d expected.” The article

relates, “Unable to flush the fetus down the toilet, the girl asked about throwing it

away.” Dr. Prine’s main response: “There’s nothing in there that’s traceable back to

you … As long as you don’t tell anybody.” 274

          326.   Ms. Jacobson conceded to the Washington Post “that this system is far

from perfect.” And she admitted to “occasions her patients in restricted states require

in-person care” that she would not provide. 275

          327.   In February 2024, the New York Times profiled Ms. Jacobson and her

Boston-based mailing operations. The New York Times likewise reported that these


272 Id.

273 Ex. 67, Plan C, Texas, https://www.plancpills.org/abortion-pill/texas#telehealth.

274 Ex. 66, Caroline Kitchener, Alone in a Bathroom: The Fear and Uncertainty of a

Post-Roe         Medication         Abortion        (April        11,         2024),
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-
stories/?itid=ap_carolinekitchener.
275 Id.




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abortion drugs were “prescribed by licensed Massachusetts providers, packaged in

the little room and mailed from a nearby post office, arriving days later in Texas,

Missouri and other states where abortion is largely outlawed.” 276

          328.   At the time of publication in February 2024, Aid Access mailed 7,000

sets of abortion drugs a month, or 50 orders a day, “nearly 90 percent of them in states

with bans or severe restrictions.” 277

          329.   The New York Times confirmed that Aid Access provided no in-person

exams or in-person follow-up care. “Patients contact this service and others online

and fill out forms providing information about their pregnancy and medical history.…

Patients and providers can communicate by email or phone if needed.” 278
          330.   The New York Times article profiled two Texas women who received

FDA-approved abortion drugs through this service. 279 One of the Washington Post

articles likewise profiled a Houston, Texas woman who received abortion drugs from

Aid Access, took them, and ended her pregnancy. 280

          331.   The New York Times article quotes Rachel Rebouché, the dean of Temple

University Law School, who has worked with shield law advocates and legislators.

“This might be the most important event since Dobbs on so many levels … Thousands

and thousands of pills are being shipped everywhere across the United States from a


276 Ex. 68, Pam Belluck, Abortion Shield Laws: A New War Between the States, New

York Times (Feb. 22, 2024), https://www.nytimes.com/2024/02/22/health/abortion-
shield-laws-telemedicine.html.
277 Id.

278 Id.

279 Id.

280 Ex. 66, Caroline Kitchener, Alone in a Bathroom: The Fear and Uncertainty of a

Post-Roe         Medication         Abortion        (April        11,         2024),
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-
stories/?itid=ap_carolinekitchener.



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handful of providers. That alone speaks to the nature of what mailed medication

abortion can do.” 281

                 2.     Massachusetts Abortion Project (MAP)

          332.   A second new abortion provider operating under a similar model is the

Massachusetts Abortion Project (MAP).

          333.   NPR reported in August 2024 that MAP is “a Massachusetts telehealth

provider sending pills to people who live in states that ban or restrict abortion.” 282

          334.   MAP launched last fall as a project of Cambridge Reproductive Health

Consultants, a nonprofit. 283

          335.   MAP mails FDA-approved abortion drugs to women and girls who are

up to 10 weeks pregnant and who are 16 or older. 284

          336.   MAP is one of “four organizations in the U.S. operating under recently

enacted state shield laws, which circumvent traditional telemedicine laws requiring

out-of-state health providers to be licensed in the states where patients are

located.” 285

281 Ex. 68, Pam Belluck, Abortion Shield Laws: A New War Between the States, New

York Times (Feb. 22, 2024), https://www.nytimes.com/2024/02/22/health/abortion-
shield-laws-telemedicine.html.
282 Ex. 64, Elissa Nadworny, Inside a Medical Practice Sending    Abortion Pills to
States     Where      They’re      Banned,     NPR         (Aug.     7,     2024),
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-
mifepristone-misoprostol.
283 Ex. 1, Scott Calvert, The Parties Where Volunteers Pack Abortion Pills for Red-

State Women, Wall Street Journal (Aug. 12, 2024), https://www.wsj.com/us-
news/abortion-pill-parties-shipping-148e3c15.
284 Ex. 64, Elissa Nadworny, Inside a Medical Practice Sending    Abortion Pills to
States     Where      They’re      Banned,     NPR         (Aug.     7,     2024),
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-
mifepristone-misoprostol.
285 Id.




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          337.   MAP harnesses websites like plancpills.org to get the word out to women

nationwide.” 286 Patients use third-party payment services like Cash App or PayPal

to pay MAP $250 for mailing the two-drug regimen, although some low-income

patients pay as little as $5. 287

          338.   MAP does not conduct in-person exams on patients or provide in-person

follow-up care. Instead, women “can fill out an online form, connect with a doctor via

email or text and, if approved, receive the pills within a week, no matter which state

they live in.” 288 MAP’s review of a woman’s online submission can occur “within an

hour” and the whole process can take only three hours before MAP mails the abortion

drugs at the post office. 289 Occasionally some women “talk by phone with [Dr. Angel]
Foster or a prescriber.” 290

          339.   MAP’s abortion drugs “cannot be picked up in person.” 291

          340.   On its website, MAP states that if a woman needs follow up care, they

should turn to local providers in home states. In response to the question, “I am

worried that something went wrong with the abortion. What do I do?” MAP says,

“People only need some kind of help, like a suction procedure or more medication, in


286 Ex. 1, Scott Calvert, The Parties Where Volunteers Pack Abortion Pills for Red-

State Women, Wall Street Journal (Aug. 12, 2024), https://www.wsj.com/us-
news/abortion-pill-parties-shipping-148e3c15.
287 Ex. 64, Elissa Nadworny, Inside a Medical Practice Sending    Abortion Pills to
States     Where      They’re      Banned,     NPR         (Aug.     7,     2024),
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-
mifepristone-misoprostol.
288 Id.

289 Id.

290 Ex. 1, Scott Calvert, The Parties Where Volunteers Pack Abortion Pills for Red-

State Women, Wall Street Journal (Aug. 12, 2024), https://www.wsj.com/us-
news/abortion-pill-parties-shipping-148e3c15.
291 Ex. 67, Plan C, Texas, https://www.plancpills.org/abortion-pill/texas#telehealth.




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about 2 in 100 cases. However, if you are worried, you can get an ultrasound at an

emergency department or through a primary care doctor or gynecologist. If you do not

feel safe telling them you used abortion pills, tell them you are pregnant and had

some bleeding and want to know if everything is OK.” 292

          341.   On the day of NPR’s visit, MAP’s four OB-GYNs “signed off on

prescriptions for nearly two dozen women — in Texas, Florida, Tennessee, Georgia,

Alabama, Oklahoma and South Carolina.” 293

          342.   On average, “MAP currently sends out about 500 prescriptions a

month.” 294 NBC reports in its own story about MAP that this “rise of telehealth is
part of why the number of abortions in the U.S. has continued to go up since the

Supreme Court overturned Roe v. Wade in 2022 — even though 14 states have near-

total abortion bans…In those states, shield law providers represent the only legal

way people can access abortions within the established health care system.” 295

          343.   According to the Society of Family Planning's WeCount project, in 2024

shield law practices account “for about 10% of abortions nationwide,” including “9,200

abortions a month provided under shield laws from January to March” of 2024. 296 But

NPR noted that “some researchers estimate that this number has risen since then

and could be as high as 12,000 per month.” 297

292 Ex. 69, MAP, Frequently asked questions,

https://www.cambridgereproductivehealthconsultants.org/map
293 Ex. 64, Elissa Nadworny, Inside a Medical Practice Sending    Abortion Pills to
States     Where      They’re      Banned,     NPR         (Aug.     7,     2024),
https://www.npr.org/2024/08/06/nx-s1-5037750/abortion-pills-bans-telehealth-mail-
mifepristone-misoprostol.
294 Id.

295 Id.

296 Id.

297 Id.




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          344.   NPR provided images of MAP mailing abortion drugs to women in

Plaintiff States. These images show that MAP packing abortion drug mailers using

Danco’s well-known orange boxes of Mifeprex. 298

Mifepristone, a drug used in abortion care, at the MAP's office in Massachusetts.
Elissa Nadworny/NPR




298 Id.




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“Welcome to modern abortion care,” says Angel Foster, who leads operations at what’s
known as the MAP, a Massachusetts telehealth provider sending pills to people who
live in states that ban or restrict abortion. Elissa Nadworny/NPR




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A staff member of the MAP brings the boxes containing abortion medication to the
local post office. Elissa Nadworny/NPR




          345.   In August 2024, the Wall Street Journal reported that MAP now hosts

“pill-packing parties to help strangers in faraway states circumvent strict laws.” 299
          346.   At these pill-packing parties, volunteers help “mail abortion medication
to women in states with strict limits.” 300 For example, on “a recent Monday evening,

the group filled 350 boxes—in-home abortion kits ready for mailing to women in

states such as Texas and Florida with near-total or six-week abortion bans….Retirees

and professionals ate pizza, sipped Chardonnay in red plastic cups and chatted while



299 Ex. 1, Scott Calvert, The Parties Where Volunteers Pack Abortion Pills for Red-

State Women, Wall Street Journal (Aug. 12, 2024), https://www.wsj.com/us-
news/abortion-pill-parties-shipping-148e3c15.
300 Id.




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working purposefully….Nearby, a MAP staffer printed address labels for 45 boxes of

pills before packing them into tote bags for the trip to the post office. They were bound

for 19 states, including Texas, Georgia and Florida…The gatherings jumped from

monthly to twice-monthly in July, the MAP’s busiest month with 560 boxes shipped,

and are set to go weekly this fall.” 301

       347.   The Wall Street Journal photographed MAP’s mailing operations.

These images likewise show MAP’s pill-packing party attendees mailing Danco’s

brand-name version of Mifeprex straight from Danco’s orange boxes.

Women prepare in-home abortion kits at a ‘pill-packing party’ at the MAP’s offices.
Wall Street Journal.




301 Ex. 1, Scott Calvert, The Parties Where Volunteers Pack Abortion Pills for Red-

State Women, Wall Street Journal (Aug. 12, 2024), https://www.wsj.com/us-
news/abortion-pill-parties-shipping-148e3c15.


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Patient packages include two abortion medications, instructions, and additional
information. Wall Street Journal.




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Tote bags containing the MAP’s patient packages are carried to a post office for
mailing. Wall Street Journal.




          348.   The Wall Street Journal also reported on the high number of FDA-

approved abortion drugs mailed by these groups at that time to states that restrict

abortion drugs.

          349.   From July 2023 to March 2024, these “shield-law groups provided more

than 68,000 abortion kits by mail to residents in states with tight limits on the

procedure or telemedicine…. Shield-law providers accounted for about 9,500

medication abortions in March, up from 5,620 in July 2023.” 302 That month,
“Abortions reached nearly 100,000 nationwide in March [2024], up from 84,000 in

May 2022, according to WeCount, despite 18 states imposing near-total or six-week



302 Id.




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bans.…Nearly 20% of all abortions are via drugs sent by mail, including from bricks-

and-mortar clinics.” 303

                 3.    Abuzz

          350.   A third similar shield-law service is Abuzz, which serves some states

with abortion bans. 304

          351.   Abuzz provides abortion drugs to Missouri, Idaho, and Kansas

addresses, and it mails to every State except Texas, Mississippi, Alabama, and

Georgia. 305 It provides abortion drugs through 10 weeks of pregnancy and beyond. 306

          352.   Abuzz’s website states that it does not provide in-person care. Instead,

Abuzz says, “In most cases, providers do not require a phone call or video visit. After

you fill in the form, a clinician will arrange payment with you and review your

information. If you’re approved to receive abortion pills by mail, your pills will be

shipped out in 1-2 business days.” 307 “Your FDA-approved medications (mifepristone

and misoprostol) will be sent by mail.” 308

          353.   On its FAQs page, Abuzz advises patients that they need not tell

emergency room doctors that they have taken abortion drugs. In response to the

question, “If I have to go to the hospital, what should I say?” Abuzz says, “The

treatment for a miscarriage and abortion are the same, so you can just say something

like ‘I’m bleeding but it doesn’t feel like my usual period. I’m afraid something is

303 Id.

304 Ex. 68, Pam Belluck, Abortion Shield Laws: A New War Between the States, New

York Times (Feb. 22, 2024), https://www.nytimes.com/2024/02/22/health/abortion-
shield-laws-telemedicine.html.
305 Ex. 70, Abuzz, https://www.abuzzhealth.com/.

306 Ex. 71, Abuzz, FAQs, https://www.abuzzhealth.com/faqs/

307 Ex. 70, Abuzz, https://www.abuzzhealth.com/.

308 Ex. 71a, Abuzz, How it works, https://www.abuzzhealth.com/how-it-works/.




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wrong’ or ‘I’m pregnant and bleeding. I’m scared there’s something wrong’ and you

should get the care you need.” 309

                 4.    Armadillo Clinic

          354.   A fourth major shield-law provider is Armadillo Clinic. 310 Plan C

reports that Armadillo Clinic provides abortion drugs to women aged 18+. 311

          355.   On its website, Armadillo Clinic says it “specializes in abortion pills by

telemedicine” and, after a patient fills out a ten-minute form, the clinic will “send

abortion pills confidentially by mail, in 2-5 days.” 312

          356.   Armadillo Clinic does not provide in-person exams or follow-up care.

Instead, it provides patients with “information you need to manage the process,

start to finish,” and its providers will only answer questions “by live chat or

phone.” 313

                 5.    We Take Care of Us

          357.   A fifth provider of FDA-approved abortion drugs is We Take Care of Us.

          358.   Plan C reports that We Take Care of Us will provide abortion drugs to a

woman or girl of any age. 314




309 Ex. 71, Abuzz, FAQs, https://www.abuzzhealth.com/faqs/

310 Ex. 72, Shira Stein, Thousands of Out-of-State Abortion Seekers Rely on Two Dozen

Doctors from Telehealth Shield States, San Francisco Chronicle (June 12, 2024),
https:/www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-
19508548.php.
311 Ex. 67, Plan C, Texas, https://www.plancpills.org/abortion-pill/texas#telehealth.

312 Ex. 73, Armadillo Clinic, https://www.armadilloclinic.org/.

313 Id.

314 Ex. 67, Plan C, Texas, https://www.plancpills.org/abortion-pill/texas#telehealth.




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          359.   We Take Care of Us describes itself as “a cooperative run by Certified

Nurse Midwives (CNMs),” indicating that the FDA’s removal of any doctor

involvement has enabled this platform. 315

          360.   We Take Care of Us tells patients that a “video visit is not required” and

so it offers to communicate by “secure messaging app, text and email.” 316 We Take

Care of Us requires only a “10-15 minute online intake request.” 317

          361.   We Take Care of Us accepts payment by Venmo and “can arrange

shipment to any U.S. state, Guam, Puerto Rico and APO addresses.” 318

                 6.    The effect on Plaintiff States

          362.   These providers send abortion drugs to Plaintiff States by mail, common

carrier, and interactive computer service.

          363.   The website Plan C lists websites that will ship FDA-approved abortion

drugs to Plaintiff States. Plan C says, “Abortion access in Missouri is restricted, but

abortion pills are still available by mail from providers outside of Missouri. Options

below.” 319 Under a section entitled, “How people get abortion pills in Missouri,” Plan

C lists six abortion drug providers who provide “FDA-approved medications,”

describing each as “online clinics that mail pills.”

          364.   Plan C identifies as providers of FDA-approved abortion drugs Abuzz,

Aid Access, Armadillo Clinic, Cambridge Reproductive Health Consultants (MAP),

We Take Care of Us, and A Safe Choice. 320 In addition, Plan C specifically notes that


315 Ex. 74, We Take Care of Us, FAQs, https://www.wetakecareof.us/faqs.

316 Id.

317 Ex. 74a, We Take Care of Us, Care, https://www.wetakecareof.us/care.

318 Id.

319 Ex. 75, Plan C, Missouri, https://www.plancpills.org/abortion-pill/missouri.

320 Id.




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Aid Access’s abortion drugs “are prescribed by clinicians licensed in the US and the

FDA-approved abortion pills are mailed to all states.” 321

          365.   Of these six providers, Abuzz and MAP will mail FDA-approved abortion

drugs to Missouri residents aged 16+. 322

          366.   Plan C identifies Abuzz, Aid Access, MAP, We Take Care of Us, and A

Safe Choice as “online clinics that mail pills” to Idaho 323 and Kansas residents, and

it also identifies Abortion on Demand as a provider for Kansas residents. 324 Abuzz

and MAP will mail FDA-approved abortion drugs to Idaho and Kansas residents aged

16+. 325
          367.   The FDA has thus facilitated violations of many States’ laws—and has

left many women to face complications from abortion drugs with no required in-

person care.

          368.   The FDA has also created a method to violate many States’ laws

regarding age restrictions (like Kansas’s) and allowed rapists to hide their actions

and avoid criminal laws because many drug shippers (A Safe Choice, Aid Access,

MAP, and We Take Care of Us) do not have a verification mechanism, and those who

do (Armadillo Clinic and Abuzz) have only a minimal screening process that are

unlikely to stop a perpetrator from obtaining chemical abortion drugs.

          369.   Of course, other organizations mail or dispense FDA-approved abortion

drugs to Plaintiff States, too.


321 Id.

322 Id.

323 Ex. 76, Plan C, Idaho, https://www.plancpills.org/abortion-pill/idaho#telehealth.

324    Ex.    77,    Plan         C,   Kansas,     https://www.plancpills.org/abortion-
pill/kansas#telehealth.
325 Id.; Ex. 76, Plan C, Idaho, https://www.plancpills.org/abortion-

pill/idaho#telehealth.



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        370.   For example, Plan C identifies six abortion providers located in Kansas

that may provide FDA-approved abortion drugs: Planned Parenthood - Wichita

Health Center, Aria Medical, Center for Women’s Health, Planned Parenthood -

Kansas City Health Center, Planned Parenthood - Comprehensive Health Services,

and Trust Women Wichita. 326

        E.     The lack of in-person dispensing results in women receiving
               pills by mail in one state from brick-and-mortar abortion
               providers before returning to Plaintiff States for follow-up care.

        371.   The FDA’s lifting of the in-person dispensing protection also enabled

providers with brick-and-mortar in-person locations to remotely dispense abortion

drug.

        372.   Using the mail or common carrier, abortion providers at these brick-and-

mortar locations now could add virtual options to their offerings. The FDA’s actions

enabled them to mail abortion drugs to women up to 10 weeks pregnant from Plaintiff

States who traveled to the brick-and-mortar provider’s virtual service area—and then

send the women home to Plaintiff States without in-person follow-up care.

        373.   No brick-and-mortar abortion provider mails to all states. Most mail

only to states without abortion restrictions—and they allow any person temporarily
in those states to order abortion drugs by telehealth and mail before returning to

their home states.

        374.   For example, NBC reported, “After the FDA eased restrictions on

mifepristone prescriptions during pandemic, allowing women to get the abortion pill

through the mail, Hey Jane [a self-described “virtual reproductive and sexual health




326 Ex. 78, Plan C, Kansas Abortion Clinic Guide from Plan C Pills, https://abortion-

clinic.plancpills.org/kansas.



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care haven”] 327 took off. The company has shipped abortion pills to at least 50,000

patients” with mailing addresses in states without abortion restrictions. 328

       375.    The brick-and-mortar providers in Whole Woman’s Health v. FDA, No.

3:23-cv-00019 (W.D. Va. filed May 8, 2023) and Washington v. FDA, No. 1:23-cv-03026

(E.D. Wash. filed Feb. 23, 2023) likewise now provide abortion drugs by mail, common

carrier, and interactive computer service in many states to women from Plaintiff

States—expanding the number of women receiving abortion drugs with no in-person

care who seek emergency rooms in Plaintiff States. (This virtual option is in addition

to their in-person option for women who receive abortion drugs in person at their

brick-and-mortar locations.)

       376.    For example, WWH of Alexandria operates via telehealth, and Whole

Woman’s Health of the Twin Cities, LLC, has operated a virtual program since

August of 2021 that provides abortion drugs by telehealth in Virginia, Maryland,

Minnesota, New Mexico, and Illinois. 329 This virtual brick-and-mortar program
provides medication abortion to approximately 2,400 patients per year, and the

majority of those patients seek telehealth in Virginia. It estimates that “[a]round half

of our virtual patients live in the states where we provide telehealth, while the other

half travel to those states from other places.” 330 “Many patients require funding to




327 Ex. 79, Hey Jane, About Us, https://www.heyjane.com/about-us.

328 Ex. 63, Abigail Brooks and Dasha Burns, How a Network of Abortion Pill Providers

Works Together in the Wake of New Threats, NBC News (April 7, 2024),
https://www.nbcnews.com/health/health-news/network-abortion-pill-providers-
works-together-wake-new-threats-rcna146678.
329 Ex. 51, Miller Decl. ¶ 20.

330 Id.¶ 22.




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 pay for their telehealth abortion, both for the visit and any associated travel to the

 states where telehealth is available.” 331

           377.   Whole Woman’s Health is clear that FDA deregulation is essential to

 this mail-order brick-and-mortar business model: “The optimal use of telehealth in

 the provision of abortion care, however, depends on the ability to dispense

 mifepristone remotely. Because the REMS still prohibit clinicians from writing a

 prescription for mifepristone, the only remote option for distribution of mifepristone

 is by mail.” 332 “If clinicians are required to dispense mifepristone in person, their

 patients are forced to travel to the clinic to pick up the medication, even if doing so

 requires significant travel and other logistical challenges.” 333 So, when the FDA
 removed in-person dispensing protection, “[f]or WWH and our patients, this change

 in the REMS was huge. It allowed us to build out our telehealth practice and begin

 working with a mail order pharmacy to dispense mifepristone.” 334

           378.   The lack of an in-person dispensing protection allowed Whole Woman’s

 Health to dispense drugs to women from States that prohibit abortion. As Whole

 Woman’s Health explains, after the REMS change, “WWH’s Virtual Program has

 been critical in allowing WWH to meet the demand for abortions from patients

 traveling from states where abortion is now banned.” 335

           379.   The 2023 REMS change allows Whole Woman’s Health to dispense

 abortion drugs from New Mexico to Texas women. “[E]xpanding our virtual program

 to New Mexico allowed us to continue seeing patients traveling from Texas, even after


 331 Id.

 332 Id.¶ 38.

 333 Id. ¶ 39.

 334 Id. ¶¶ 40–41.

 335 Id. ¶ 42.




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 our Texas clinics were forced to close.” 336 “Even though we now have a clinic site in

 New Mexico, almost all of our patients seeking telehealth in New Mexico travel from

 out of state.” 337 “The virtual program allows patients to reduce their travel time and

 expense and helps ease clinic congestion.” 338 “This is particularly important because

 the New Mexico clinics, who have been inundated with patients traveling from out of

 state since Roe v. Wade was overturned, often have a 3-week wait for

 appointments.” 339 The 2023 REMS change thus “is critical to the care of our patients,

 the sustainability of our medical clinics, and the retention of our clinicians and

 staff.” 340 “Telehealth has been instrumental in allowing clinics to meet the demand
 for abortions.” 341

           380.   Blue Mountain Clinic similarly credits the FDA’s actions with its ability

 to dispense drugs from its brick-and-mortar location remotely and by mail so long as

 a person comes within Montana’s borders. It explains: “Accessing medication abortion

 via direct-to-patient telehealth can be the difference between accessing abortion care

 or not. Reinstating a ban on dispensing mifepristone by mail would take mifepristone

 off the table as an option for these patients, who otherwise may be unable to make

 the in-person visit for a procedural abortion.” 342




 336 Id. ¶ 43.

 337 Id.

 338 Id.

 339 Id.

 340 Id. ¶ 47.

 341 Id. ¶ 32.

 342 Ex. 49, Smith Decl. ¶ 30.




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           381.   All Families also dispenses abortion drugs remotely and by mail from

 its brick-and-mortar location to patients physically present in Montana. 343 More than

 half of its abortions are by abortion drugs and more than half of its abortion drugs

 are dispensed by mail. 344

           382.   Just like the other providers, All Families points to the FDA as

 responsible for this virtual “expansion,” which it said “opened up when a court order

 blocked the FDA from enforcing the in-person dispensing requirement in 2020” and

 when the “FDA then temporarily suspended the requirement in 2021 and solidified

 that by updating the REMS in 2023 to eliminate this requirement.” 345
           383.   In much the same way, PPGWNI dispenses abortion drugs via

 telehealth and by mail to patients in Washington, allowing it to expand its operations

 for Idaho residents and other non-Washington residents. 346 PPGWNI was thus

 “grateful for the removal of the in-person requirement with the FDA’s recent updates

 to REMS for mifepristone.” 347

           384.   The above abortion providers from Whole Woman’s Health v. FDA 348 and

 Washington v. FDA349 continue to provide abortion drugs by telehealth, mail, common

 carrier, or other remote means to this day from their brick-and-mortar locations—

 further increasing the harms caused by abortion drugs.




 343 Ex. 50, Weems Decl. ¶ 6.

 344Id. ¶ 31.

 345 Id.

 346 Ex. 53, Dillon Decl. ¶ 20.

 347 Id. ¶ 23.

 348 No. 3:23-cv-00019-NKM, ¶1 (W.D. Va. May 8, 2023).

 349 No. 1:23-cv-03026 (E.D. Wash. filed Feb. 23, 2023).




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           385.   Trust Women Wichita furthermore now intends to provide abortion

 drugs through the Internet and by mail or common carrier. 350 Until 2018, Trust

 Women Wichita offered a telemedicine clinic for medication abortion,” but it was

 “forced to stop that practice due to a Kansas state law.” 351 But “[t]hat law was very

 recently enjoined.” 352 So it is “particularly interested in pursuing the option to mail

 mifepristone, which would greatly expand our ability to help patients.” 353 “We would

 start as soon as we can if mifepristone remains available and possible to dispense by

 direct to patient telehealth.” 354

           386.   In sum, in the words of all the brick-and-mortar abortion providers in

 Whole Woman’s Health Alliance v. FDA, “Medication abortion, and specifically,

 provision of mifepristone by advanced practice clinicians (including nurse

 practitioners and physician assistants) and the availability of medication abortion by

 mail (‘direct to patient telehealth’) has been critical” to their ability to dispense

 abortion drugs without follow-up care. Complaint, ECF No. 1, Whole Woman’s Health

 All. v. FDA, No. 3:23-cv-00019-NKM, ¶ 2 (May 8, 2023) (hereinafter Whole Woman’s

 Health Compl.).

           F.     The FDA predictably enabled this 50-state abortion drug
                  economy.

           387.   These “third parties [have] react[ed] in predictable ways” to the FDA’s

 decisions, and therefore their actions are causally tied to the FDA’s decisions. Dep’t

 of Com. v. New York, 139 S. Ct. 2551, 2566 (2019).



 350 Ex. 48, Tong Decl. ¶ 9.

 351 Id.

 352 Id.

 353 Id.

 354 Id.




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        388.   The FDA enabled the remote dispensing of abortion drugs into all 50

 States. When the FDA unlawfully removed its prohibition against mailing abortion

 drugs, it was predictable that private parties would start mailing those drugs.

        389.   A decision from this Court would redress this effect. As several abortion

 providers explained in Whole Woman’s Health v. FDA, “reinstating the REMS

 requirement that mifepristone be dispensed only in a clinic, medical office, or

 hospital—and not via mail-order pharmacy—will eliminate abortion access for the

 large number of patients who have come to rely on direct to patient telehealth

 services.” Whole Woman’s Health Compl. ¶103. Likewise, as GenBioPro itself

 explained in this case, “under the pre-2016 conditions … telemedicine providers and

 mail-order pharmacies constituting a substantial proportion of GenBioPro’s customer

 base will no longer be able to prescribe or dispense GenBioPro’s product.” 355
        390.   At issue in this case are organizations mailing FDA-approved abortion

 drugs; they differ from so-called black-market organizations that mail non-FDA-

 approved drugs.

        391.   Plan C for instance identifies 14 websites that sell pills to Missouri,

 Idaho, and Kansas residents without a clinician as well as community networks that

 mail pills to Missouri, Idaho, and Kansas residents: Pill Pulse, Life Easy on Pills,

 Home AbortionRx, Private Emma, Medside 24, Home Abortion PillsRx, YBYCMeds,

 Privacy Pill RX, Safe Pharmacy, Abortion Pills Rx, Generic Abortion Pills, Abortion

 Rx, Online Abortion Pill Rx, and Abortion Privacy. 356 Others exist, too. These smaller-

 scale black-market groups each provide abortion pills that Plan C does not describe



 355 Amic. Br. GenBioPro, Inc., FDA v. All. for Hippocratic Medicine, No. 23-235 at *2

 (Jan. 30, 2024).
 356 Ex. 80, Plan C, Websites That Sell Pills, https://www.plancpills.org/websites-

 that-sell-pills.



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 as FDA-approved from manufacturers who “are not certified or inspected by the

 FDA.” 357

           392.   Just as Aid Access used to mail abortion drugs that were not FDA-

 approved, these providers still mail drugs from other countries like India or

 Kazakhstan from manufacturers based in China, Russia, Vietnam, Africa, or other

 unknown locations. 358

           393.   The mailing of drugs that are not FDA-approved is not at issue in this

 case as these drugs are not attributable to the challenged FDA actions.

    XIX. Plaintiff States’ residents are receiving abortion drugs in the
         absence of FDA’s past safeguards.

           394.   Defendants’ actions have resulted in abortion drugs being given to

 women in Plaintiffs’ States by abortion providers—just as the abortion providers

 report and as the FDA intended.

           A.     Harm to women in Plaintiff States from the FDA’s deregulation
                  of abortion drugs

           395.   Many women in Plaintiff States have been harmed by the FDA’s

 deregulation of abortion drugs.

                  1.    Harms caused by the FDA’s deregulation of abortion drugs

           396.   Dr. Ingrid Skop has “often treat[ed] patients who are admitted through

 the hospital’s emergency department with complications from chemical abortions.” 359



 357 Id.

 358 Ex. 81, Dominique Mosbergen and Vibhuti Agarwal, Websites Selling Unapproved

 Abortion Pills Are Booming, Wall Street Journal (Aug. 21, 2022),
 https://www.wsj.com/articles/websites-selling-unapproved-abortion-pills-are-
 booming-11661079601.
 359 Ex. 82, Skop Decl. ¶ 12.




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           397.    Dr. Skop is a board-certified OB/GYN with privileges in the Baptist

 Hospital System and a 25-year career in clinic and hospital care. 360

           398.    In her words, she has “cared for several dozen women in the emergency

 department who were totally unprepared for the pain and bleeding they experienced

 due to chemical abortion.” 361

           399.    She has “treated patients who have experienced trauma and emotional

 distress because of complications from chemical abortion.” 362 From what she

 observed,        “[t]hose   women   were   not anticipating    that   complications were

 possible[.]” 363 At least a dozen patients have expressed to her significant emotional
 distress “when they viewed the body of their unborn child in the toilet after the

 chemical abortion.” 364

           400.    In her experience, “the doctors who prescribed or administered chemical

 abortion drugs to these women often did not adequately prepare them for the drugs’

 effects, so these women could not have truly achieved informed consent.” 365

           401.    Dr. Skop has “cared for at least a dozen women who have required

 surgery to remove retained pregnancy tissue after a chemical abortion. Sometimes

 this includes the embryo or fetus, and sometimes it is placental tissue that has not

 been completely expelled.” 366




 360 Id. ¶¶ 2, 6.

 361 Id. ¶ 13.

 362 Id. ¶ 16.

 363 Id.

 364 Id. ¶ 15.

 365 Id. ¶ 14.

 366 Id. ¶ 17.




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        402.     Dr. Skop has “cared for approximately five women who, after a chemical

 abortion, have required admission for a blood transfusion or intravenous antibiotics

 or both.” 367

        403.     She reports that the “FDA's actions in 2016 and 2021 have increased the

 frequency of complications from chemical abortion. Given my experience, I expect to

 see and treat more patients presenting with complications from chemical abortion.”368

        404.     “For example, in one month while covering the emergency room, my

 group practice admitted three women to the hospital. Of the three women admitted

 in one month due to chemical abortion complications, one required admission to the

 intensive care unit for sepsis and intravenous antibiotics, one required a blood

 transfusion for hemorrhage, and one required surgical completion for the retained

 products of conception (i.e., the doctors had to surgically finish the abortion with a

 suction aspiration procedure).” 369
        405.     In another example, in her office, Dr. Skop “treated one young woman

 who had been bleeding for six weeks after she took the chemical abortions drugs given

 to her by a doctor at a Planned Parenthood clinic. After two follow-ups at Planned

 Parenthood, during which she was given additional misoprostol but not offered

 surgical completion, she presented to me for help. I performed a sonogram, identified

 a significant amount of pregnancy tissue remaining in her uterus, and performed a

 suction aspiration procedure to resolve her complication.” 370




 367 Id. ¶ 18.

 368 Id. ¶¶ 20–21.

 369 Id. ¶ 22.

 370 Id. ¶ 23.




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           406.   Dr. Skop has also cared for minor women below the age of 18 who have

 obtained abortion drugs. 371

           407.   In Dr. Skop’s experience, “[t]he FDA’s actions harm women, including

 [her] patients, because without proper oversight, chemical abortions can become even

 more dangerous than when they are supervised.” 372

           408.   The many “clinics and physicians prescribing or dispensing chemical

 abortion drugs, or websites that provide these drugs through mail order delivery

 without any physician involvement, often underprepare women for the severity and

 risks of chemical abortion, and they often provide insufficient or no follow-up care to

 those women.” 373
           409.   “Many women are inadequately prepared for the effects of the drugs, the

 severity of the pain and bleeding they will experience, the human tissue they will

 expel, and some are unaware that they have complicating factors such as ectopic

 implantation, more advanced gestation than estimated, and Rh-negative blood type.

 These patients are being abandoned because in many cases there is no doctor-patient

 relationship, so they often present to overwhelmed emergency rooms in their distress,

 where they are usually cared for by physicians other than the abortion prescriber.” 374

           410.   In particular, Dr. Skop notes that “approximately 2% of pregnancies are

 ectopic pregnancies, implanted outside of the uterine cavity. Chemical abortion drugs

 will not effectually end an ectopic pregnancy because they exert their effects on the




 371 Id. ¶ 24.

 372 Id. ¶ 26.

 373 Id. ¶ 27.

 374 Id.




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 uterus, which leaves women at risk of severe harm from hemorrhage due to tubal

 rupture, in need of emergent surgery or potentially at risk of death.” 375

                 2.    Care provided by Dr. Shaun Jester demonstrates harms
                       caused by the FDA’s deregulation of abortion drugs

        411.     Dr. Shaun Jester has likewise witnessed harm caused by the lack of

 follow-up care for women given abortion drugs. 376

        412.     Dr. Jester is a board-certified obstetrician and gynecologist and the

 Medical Director of Moore County Ob/Gyn. 377

        413.     He has seen firsthand the harm the FDA caused by removing the

 protection that an in-person follow-up visit provides.

        414.     The FDA hurt one of his patients by allowing for abortion drugs to be

 dispensed to her in another state without mandatory follow-up care. As he related, “I

 treated a woman who traveled from Texas to obtain chemical abortion drugs from

 Planned Parenthood New Mexico to complete an abortion at 10 weeks' gestation. The

 woman returned to Texas, suffered from two weeks of moderate to heavy bleeding,

 and then developed a uterine infection. At the hospital, I provided her with

 intravenous antibiotics and performed a dilation and curettage procedure. If she had

 waited a few more days before receiving care, she could have been septic and died. I

 reported this adverse event to the FDA.” 378

        415.     The FDA’s actions caused this patient to seek care from Dr. Jester in

 her home state of Texas, as there was no requirement for in-person follow-up care

 from the abortion provider in New Mexico. As he explains, “In the chemical abortion


 375 Id. ¶ 29.

 376 Ex. 83, Jester Decl. ¶¶ 2, 17.

 377 Id. ¶ 2.

 378 Id. ¶ 17.




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 case that I reported as an adverse event to the FDA, I had no existing patient

 relationship or prior knowledge of the patient's medical history.” 379 And “it disturbed

 me that she was not informed that it was not normal to bleed for multiple weeks and

 that if she had a routine follow-up visit, as required by past REMS, this situation

 could have been avoided before requiring overnight hospitalization and her being at

 risk for developing sepsis.” 380

        416.     In his experience, “the requirement for an in-person, postabortion office

 visit, which is when a physician determines whether any fetal parts or other products

 of conception remain [is] essential to ensure that women experience no complications

 after chemical abortion.” 381 “The elimination of mandatory follow-up visits after
 chemical abortion drugs have been administered is … dangerous … Without follow-

 up visits, physicians cannot identify potential complications like sepsis and

 hemorrhage, lingering products of conception, and others until the patient is at a

 critical time or it is too late to help the patient.” 382

        B.       State governmental data on women in Plaintiff States receiving
                 abortion drugs due to the FDA’s deregulation

        417.     Data show how many of Plaintiff States’ residents have been receiving

 abortion drugs in the absence of the FDA’s safeguards.

        418.     At oral argument before the Fifth Circuit, Defendants were asked about

 the Supreme Court’s ruling that state plaintiffs in Department of Commerce v. New

 York, 139 S. Ct. 2551 (2019), had standing. The Federal Government responded that,

 in Department of Commerce, “the plaintiffs were states,” meaning “the effects [of


 379 Id. ¶ 20.

 380 Id. ¶ 27.

 381 Id. ¶ 10.

 382 Id. ¶ 25.




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 challenged federal action] on them happened at the population level,” and the States

 could thus “rely on population-wide statistics and probabilities.” Oral Arg. Rec. at

 17:16–17:42 (May 17, 2023), All. for Hippocratic Med., No. 23-10362. 383

        419.      Just as in Department of Commerce, population-wide information shows

 the number of women affected by Defendants’ actions.

        420.      Under state abortion reporting laws, Plaintiff States’ agencies collect

 data on abortions performed on state residents. These estimates are likely an

 undercount due to reporting inadequacies and missing data, especially in light of the

 high rates of chemical abortions nationwide and the known refusal of out-of-state

 providers to submit information to Plaintiff States or comply with Plaintiffs’ abortion

 laws. In addition, non-governmental organizations have begun collecting abortion

 drug data for the years after Dobbs.

                  1.    Missouri’s state abortion data

        421.      The Missouri Department of Health and Senior Services collects data on

 abortions performed on Missouri residents in Missouri and Illinois and it estimates

 the total abortions per year on Missouri residents. 384

        422.      The Missouri Department of Health and Senior Services reports the

 number of chemical abortions per year on Missouri residents, broken down by age of

 gestation. 385




 383 https://www.ca5.uscourts.gov/OralArgRecordings/23/23-10362_5-17-2023.mp3

 384 Mo. Dep’t of Health & Senior Services, Missouri Vital Statistics Annual Reports,

 Graph D, Resident Abortion Ratios per 1,000 Live Births: Missouri,
 https://health.mo.gov/data/vitalstatistics/data.php. Data is not available beyond
 2022.
 385 Mo. Dep’t of Health & Senior Services, Missouri Vital Statistics Annual Reports,

 Table 12A, Resident Abortions by Race, Age, and Type of Procedure by Weeks of
 Gestation, https://health.mo.gov/data/vitalstatistics/data.php.


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       423.   The following table shows the number of chemical abortions from 2016

 to 2022 as the market for abortion drugs shifted out-of-state to evade increasing state

 abortion regulations enacted from 2016 onwards.

 Total Estimated Missouri Abortions by Year and Total Reported Chemical
 Abortions by Year and for FDA-Approved Gestational Age Ranges
  Year                2016   2017    2018   2019 2020     2021   2022
  Total estimated     8,946  9,029   9,271 9,254 10,018 11,185 10,255
  Missouri resident
  abortions
  Total estimated     2,931  2,893   2,529 2,189 2,298 2,503 1,792
  Missouri chemical
  abortions
   -under 9 weeks     2,434  2,423   2,191 1,910 1,940 2,086 1,334
   -9-10 weeks        485    453     313
                                               268    320    374    417


       424.   The large number of abortions on Missouri residents by abortion drugs

 in this table includes abortions for Missouri residents who obtained the drugs by from

 out-of-state providers, such as providers in Kansas or Illinois, who were enabled by

 the FDA’s removal of the requirement for three in-person doctor visits. Before 2022,

 Missouri was one of the only states to successfully defend laws requiring abortion

 providers to undertake safety measures that abortionists arrange for a physician to

 always be available to treat complications caused by abortion drugs, and (2) that
 abortionists obtain admitting privileges at a nearby hospital. Comprehensive Health

 of Planned Parenthood Great Plains v. Williams, No. 2:17-cv-04207 (W.D. Mo. 2017);

 Comprehensive Health of Planned Parenthood Great Plains v. Hawley, No. 2:16-cv-

 04313 (W.D. Mo. 2016)

       425.   By sometime in 2019, Missouri’s only abortion clinic (Planned

 Parenthood in St. Louis) performed no in-state abortions with chemical abortion

 drugs, and by the end of 2020, the number of surgical abortions that it performed




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 monthly was either in the single digits or zero. 386 As the press reported at the time,

 “Dr. Colleen McNicholas, a Planned Parenthood chief medical officer, said the

 number of abortions performed at the St. Louis clinic has dropped since a clinic

 opened 18 miles (28 kilometers) away in Fairview Heights, Illinois, in October 2019.

 Patients at that clinic can avoid Missouri’s 72-hour mandatory waiting period, which

 requires two appointments three days apart to receive an abortion.” 387 In addition,

 “More patients are also seeking medication abortions, which the St. Louis facility has

 not provided in more than two years because of Missouri’s requirement that patients

 wanting that procedure must undergo a pelvic exam.” 388
           426.   Consequently, although the baseline for Missouri residents’ abortions

 via abortion drugs should be zero from 2019 onwards, these figures show that

 Missouri residents received at least some abortions from out-of-state providers who

 dispensed abortion drugs in a single visit and then sent women home to Missouri

 with no in-person follow-up care—all enabled by the FDA’s lack of a requirement for

 three in-person doctor visits, including a follow-up visit.




 386 Ex. 84, Associated Press, Planned Parenthood in Missouri Disputes Report State

 No Longer Performs Abortions, But Number of Procedures Fell Due to New
 Regulations,         Chicago         Tribune        (Jan.        20,        2021),
 https://www.chicagotribune.com/2021/01/20/planned-parenthood-in-missouri-
 disputes-report-state-no-longer-performs-abortions-but-number-of-procedures-fell-
 due-to-new-regulations/ (“No surgical abortions were performed at the clinic in
 December, with only seven in November, Planned Parenthood said, compared with
 nine and five during those months in 2019”).
 387 Id.

 388 Id.




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              2.    Idaho’s state abortion data

       427.   The Idaho Department of Health & Welfare collects data on abortions

 performed on Idaho residents. 389

       428.   The following table summarizes this data.




 389 Idaho Dep’t of Health & Welfare, Induced Termination,

 https://publicdocuments.dhw.idaho.gov/WebLink/browse.aspx?id=5657&dbid=0&rep
 o=PUBLIC-DOCUMENTS (collecting annual reports from 2019 to 2022).


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 Total Reported Idaho Abortions and Chemical Abortions by Year 390
  Year                 2015 2016   2017 2018 2019 2020 2021                     2022
  Total Idaho resident 1,272 1,749 1,730 1,742 1,892 2,007 1,985                1,207
  abortions
  Total Idaho chemical 561   762    784 771    825   1,102 1,178                654
  abortions
   -under 9 weeks      497   645   678   677   721   946     997                540
   -9-10 weeks         63    113   101   89    99    145    163                 88

 390 This data is reported in the annual reports in charts labeled “Induced Abortions

 Occurring In Idaho Primary Termination Procedure by Length of Gestation.” See
 Idaho Dep’t of Health & Welfare, Division of Public Health, Bureau of Vital Records
 and Health Statistics, Idaho Vital Statistics-Induced Abortion 2022 at 12 (Dec. 2023),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=28264&dbid=0&
 repo=PUBLIC-DOCUMENTS; Idaho Dep’t of Health & Welfare, Division of Public
 Health, Bureau of Vital Records and Health Statistics, Idaho Vital Statistics -
 Induced         Abortion        2021           at      13         (Sept.        2022),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=23522&dbid=0&
 repo=PUBLIC-DOCUMENTS; Idaho Dep’t of Health & Welfare, Division of Public
 Health, Bureau of Vital Records and Health Statistics, Idaho Vital Statistics -
 Induced         Abortion         2020          at       12         (Jan.        2022),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=22665&dbid=0&
 repo=PUBLIC-DOCUMENTS; Idaho Dep’t of Health & Welfare, Division of Public
 Health, Bureau of Vital Records and Health Statistics, Idaho Vital Statistics -
 Induced          Abortion        2019          at       12         (Jan.        2021),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=22664&dbid=0&
 repo=PUBLIC-DOCUMENTS; Idaho Dep’t of Health & Welfare, Division of Public
 Health, Bureau of Vital Records and Health Statistics, Idaho Vital Statistics -
 Induced        Abortion       2018                at      12        (Jan.       2020),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=7260&dbid=0&r
 epo=PUBLIC-DOCUMENTS; Idaho Dep’t of Health & Welfare, Division of Public
 Health, Bureau of Vital Records and Health Statistics, Idaho Vital Statistics -
 Induced           Abortion               2017          at      12     (Nov.     2018),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=7259&dbid=0&r
 epo=PUBLIC-DOCUMENTS; Idaho Dep’t of Health & Welfare, Division of Public
 Health, Bureau of Vital Records and Health Statistics, Idaho Vital Statistics -
 Induced            Abortion                  2016     at      12      (Dec.     2017),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=7258&dbid=0&r
 epo=PUBLIC-DOCUMENTS; Idaho Dep’t of Health & Welfare, Division of Public
 Health, Bureau of Vital Records and Health Statistics, Idaho Vital Statistics -
 Induced           Abortion              2015          at     12     (March      2017),
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=7257&dbid=0&r
 epo=PUBLIC-DOCUMENTS. Data is not available for year 2023 or onwards.



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              3.     Kansas’s state abortion data

       429.   The Kansas Department of Health and Environment collects data on

 Kansas abortions. 391

       430.   The Kansas Department of Health and Environment’s annual reports

 list abortions performed on Kansas residents (in Kansas and out-of-state) and out-of-

 state residents in Kansas. 392




 391 Kansas Dep’t of Health & Environment, Public Health Statistics, Public Health

 Reports and Statistics, https://www.kdhe.ks.gov/1089/Public-Health-Reports-
 Statistics (collecting reports from 2016 to 2022); Kansas Dep’t of Health &
 Environment, Annual Summary Archives, https://www.kdhe.ks.gov/1399/Annual-
 Summary-Archives (collecting reports from 2016 and earlier). Data is not yet
 available for 2023.
 392 Kansas Dep’t of Health & Environment, Kansas Annual Summary of Vital
 Statistics,      2022,     Table     D4      &     D8      at     116,   122,
 https://www.kdhe.ks.gov/DocumentCenter/View/31759/2022-Annual-Summary-Full-
 Report-PDF; Kansas Dep’t of Health & Environment, Kansas Annual Summary of
 Vital     Statistics,    2021,   Table    D4     &     D8     at   116,  122,
 https://www.kdhe.ks.gov/DocumentCenter/View/25772/2021-Annual-Summary-Full-
 Report-?bidId=; Kansas Dep’t of Health & Environment, Kansas Annual Summary of
 Vital     Statistics,    2020,   Table    D4     &     D8     at   114,  120,
 https://www.kdhe.ks.gov/DocumentCenter/View/15354/2020-Annual-Summary-Full-
 Report-PDF; Kansas Dep’t of Health & Environment, Kansas Annual Summary of
 Vital     Statistics,    2019,   Table    D4     &     D8     at   106,  112,
 https://www.kdhe.ks.gov/DocumentCenter/View/12590/2019-Annual-Summary-Full-
 Report-PDF; Kansas Dep’t of Health & Environment, Kansas Annual Summary of
 Vital     Statistics,    2018,   Table    D4     &     D8     at   106,  112,
 https://www.kdhe.ks.gov/DocumentCenter/View/12588/2018-Annual-Summary-Full-
 Report-PDF; Kansas Dep’t of Health & Environment, Kansas Annual Summary of
 Vital     Statistics,    2017,   Table     D4    &     D8      at   96,  102,
 https://www.kdhe.ks.gov/DocumentCenter/View/12586/2017-Annual-Summary-Full-
 Report-PDF; Kansas Dep’t of Health & Environment, Kansas Annual Summary of
 Vital     Statistics,    2016,   Table     D4    &     D8      at   92,  100,
 https://www.kdhe.ks.gov/DocumentCenter/View/10042/Kansas-Annual-Summary-
 of-Vital-Statistics-2016-PDF; Kansas Dep’t of Health & Environment, Kansas
 Annual Summary of Vital Statistics, 2015, Table D4 & D8 at 94, 98,
 https://www.kdhe.ks.gov/DocumentCenter/View/12578/2015-Annual-Summary-Full-
 Report-PDF.


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       431.   The following chart summarizes this data.

 Total Reported Kansas Abortions and Chemical Abortions by Year,
 Residence, and Gestational Age
  Year               2015 2016   2017 2018 2019 2020 2021 2022
  Total Kansas       6,974 6,820 6,826 7,048 6,916 7,546 7,849 12,319
  abortions
  --Kansans in-state 3,536 3,409 3,371 3,474 3,521 3,625 3,933 3,842
  --Kansans out-of-  43     30   79    76    22    20    4     2
  state
  --non-residents in 3,395 3,381 3,376 3,498 3,373 3,901 3,912 8,475
  Kansas
  Total Kansas       3,092 3,623 3,962 4,321 4,446 5,056 5,321 7,340
  chemical abortions
    -under 9 weeks   2,673 3,154 3,521 3,828 3,922 4,310 4,439 5,533
    -9-12 weeks      419    468  440   487   521   740   877   1,801
       432.   This data shows that since each of Defendants’ actions the total number

 of chemical abortions, the total number of abortions in Kansas on non-Kansans, and

 the number of 9-12 week chemical abortions have all increased—and markedly so in

 2022 the year when Dobbs was announced.

       433.   In this chart, the totals for out-of-state residents receiving abortion

 drugs in Kansas includes women from Missouri who received abortion drugs in

 Kansas and who then were sent home to Missouri without in-person follow visits—

 leading them to seek follow-up care as needed in Missouri.

       434.   This governmental data reflects the known sales data of mifepristone.

 Between 2019 and October 2023, “GenBioPro has marketed and sold approximately

 850,000 units of generic mifepristone throughout the United States.” Am. Compl.,

 ECF No. 75, GenBioPro, Inc. v. Raynes, No. CV 3:23-0058, at ¶¶ 1 – 2 (S.D .W.Va.

 Oct. 19, 2023).

       435.   That being said, these reports and the medical literature underestimate

 abortion rates and abortion complication rates: abortion providers systemically

 violate their duty to report abortions or complications to state governments.



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          436.   For at least 15 years, abortion providers in Missouri violated a law

 requiring them to report complications to the state.

          437.   In sworn testimony, David Eisenberg, then an abortionist in Missouri,

 admitted that he and other abortionists at his St. Louis clinic refused to file these

 reports even though they knew about the state law requiring the reports. 393

          438.   Colleen McNicholas, another person who until recently performed

 abortions in Missouri, likewise admitted under oath that she violated this law for

 years. 394

          439.   There is no reason to think that this systemic failure to file lawfully

 required complication reports is limited to Missouri. Those who performed abortions

 in Missouri also perform them elsewhere.

          440.   Indeed, Eisenberg admitted he did not file these reports at “other

 healthcare facilities” where he worked. 395 And a news story describes McNicholas as
 an abortionist who “zig-zags across the Midwest,” performing abortions in many

 different states. 396

          441.   Since Dobbs, the lack of compliance with state abortion reporting

 requirements has increased, and the resulting undercounts in state abortion data

 have increased, as out-of-state suppliers have stepped into the market with the

 purpose of undermining state abortion laws.




 393 Ex. 85, ECF 48-3, Eisenberg Dep., Doc. 141-4, No. 2:16-cv-04313 (W.D. Mo. 2018).

 394 Ex. 86, ECF 48-3, Tr. Prelim. Inj. Hr’g., Doc. 115, No. 2:17-cv-04207 (W.D. Mo.

 2018).
 395 Ex. 85, ECF 48-3, Eisenberg Dep., Doc. 141-4, No. 2:16-cv-04313 (W.D. Mo. 2018).

 396 Ex. 87, On the Front Lines of the Abortion Wars, Marie Claire (Oct. 12, 2021),

 https://www.marieclaire.com/culture/a20565/mission-critical-abortion-rights-
 midwest/.


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       C.     Non-governmental data on women in Plaintiff States receiving
              abortion drugs due to the FDA’s deregulation

       442.   The abortion market shifted in 2022, 2023, and 2024 to out-of-state

 suppliers who do not file these reports—undermining state abortion-drug reporting

 laws and the completeness of government data.

       443.   Non-government parties provide the best current estimates of the

 number of abortion drugs dispensed since 2022 or 2023.

       444.   This nongovernmental data reflects the effect of Defendants’ actions

 from 2021 onwards, when Defendants first enabled abortion drugs to be dispensed

 without any in-person dispensing protection.

       445.   The lack of an in-person dispensing protection in 2021 enabled many

 existing abortion providers to provide abortion drugs by remote means within their

 current states or regions as an adjunct to their current business operations.

       446.   Most States had various in-state abortion providers. With Roe in effect,

 abortion providers did not identify the same need to ship abortion drugs remotely into

 states with abortion restrictions as when Roe was overturned.

       447.   At the time of Dobbs, and continuing today, abortion providers in states

 with no abortion restrictions have continued to dispense FDA-approved abortion
 drugs outside of Plaintiff States in-person (as with the 2016 changes) and by mail,
 common carrier, or interactive computer service.

       448.   But, in addition, after Dobbs, when in-state abortion providers exited

 states with abortion restrictions, the lack of an in-person dispensing protection

 caused other abortion providers to provide FDA-approved abortion drugs to women

 in Plaintiff States. They did so by telehealth (websites, video chat, email, phone, or

 text) and through the mail or by a common carrier.

       449.   Unlike prior abortion providers who used telehealth, mail, or common

 carrier in response to Defendants’ 2021 actions as an adjunct to current in-person



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 business operations, beginning in 2023 these new abortion providers’ business

 operations were exclusively by mail or common carrier.

           450.   These mail-only abortion providers began to avail themselves of the

 FDA’s 2021 and 2023 changes only in mid-2023. Part of the reason for this delay of

 one year from Dobbs was to create the infrastructure necessary and another part of

 the reason for this delay was to lobby states to enact shield laws.

           451.   By these abortion providers’ own telling, by mid-2023 they had begun

 their remote abortion drug shipments in earnest. The number of FDA-approved

 abortion drugs shipped across state lines has increased ever since.

           452.   The Society of Family Planning's WeCount project aims to measure

 monthly abortion utilization, nationally and by state, following Dobbs, based on data

 from many abortion providers—including data from shield law providers. 397
           453.   Telehealth is driving an increase in the national abortion totals, as the

 total abortions nationally was higher in 2024 than it was in 2023 or 2022. 398 For

 purposes of this data, a telehealth abortion is when FDA-approved abortion drugs are

 “offered by a clinician through a remote consultation with the patient (via video,

 phone, or messaging)” that results in the drugs being “dispensed via mail.” 399

           454.   Both in-person and telehealth abortions are increasing in Kansas.

 TheWeCount reports, “Comparing the first quarter of 2024 with the first quarter of

 2023, the states with the largest increases in the average number of abortions per




 397 Ex. 88, Society of Family Planning, #WeCount Report April 2022 to March 2024

 (August 7, 2024), https://societyfp.org/wp-content/uploads/2024/07/WeCount-Report-
 7-Mar-2024-data.pdf (hereinafter #WeCount Report).
 398 Id. at 2–3.

 399 Id.




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 month include New York (1,357), California (957), Virginia (597), Kansas (503), and

 Pennsylvania (430).

           455.   Among these five states, when comparing the first quarter of 2024 with

 the first quarter of 2023, the average number of in-person abortions per month

 increased by 29% in Kansas, 18% in New York, 13% in Virginia, and 4% in California,

 and decreased by 7% in Pennsylvania. The average number of virtual-only telehealth

 abortions was up by 59% in Kansas and 53% in Virginia.” 400

           456.   At the same time, the proportion of telehealth abortions rose “from 4%

 of all abortions in April 2022 to 20% in March 2024.” 401 “Telehealth represented 21%
 of all abortions in January 2024, 19% in February, and 20% in March.” 402

           457.   This increase reflected not only the proliferation of shield-law providers,

 but an increase in brick-and-mortar abortion clinics providing telehealth (like

 WWH). 403 “In January-March 2024, there was a national average of nearly 1,900

 brick-and-mortar telehealth abortions per month,” “a 33% increase from the October-

 December 2023 average of over 1,400.” 404 “In January-March 2024, there was an

 average of over 6,700 monthly telehealth abortions provided under shield laws to

 people in states with total abortion bans or 6-week bans, and nearly 2,500 monthly

 telehealth abortions provided under shield laws to people in states with restrictions

 on telehealth abortion.” 405 “In January-March 2024, there was an average of nearly




 400 Id. at 5.

 401 Id. at 6.

 402 Id.

 403 Id.

 404 Id.

 405 Id.




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 19,700 telehealth abortions (all types) per month, representing a 14% increase from

 October-December 2023. 406

         458.     This data is summarized in the following graph. 407

  Figure 6. Telehealth abortions in the US from April 2022 to March 2024 (includes
  abortions provided under shield laws, July 2023 to March 2024)

   25,000

   20,000

   15,000

   10,000

    5,000

        0




                    Abortions provided under shield laws in states with total bans and 6-week bans
                     Abortions provided under shield laws in states with telehealth restrictions
                    Brick and mortar telehealth
                    Virtual-only

  Note: Prior to July 2023, brick and mortar telehealth abortions were categorized as in-person.

         459.     This graph also shows that the “average monthly number of all

 telehealth abortions provided under shield laws in January-March 2024 of over 9,200

 represents a 16% increase from the October-December 2023 average.” 408
         460.     The following chart enumerates the 2023 increase of remote dispensing

 of abortion drugs into states that regulate abortion, as compared to the total abortions

 in America, by month beginning in January 2023. 409


 406 Id. at 7.

 407 Id. at 8.

 408 Id. at 7.

 409 Id. at 17.




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           461.      The following chart enumerates the 2024 increase of remote dispensing

 of abortion drugs into states that regulate abortion, as compared to the total abortions

 in America, by month beginning in January 2024. 410

  Table 1-2024. Estimated number of abortions by state and month, January 2024 to March 2024
                          Jan      Feb      Mar       Apr     May      Jun       Jul      Aug       Sep       Oct       Nov       Dec
                           ‘24      ‘24     ‘24       ‘24      ‘24     ‘24       ‘24      ‘24       ‘24       ‘24       ‘24       ‘24
   All US state totals    102,350    94,670  99,950        …        …        …        …         …         …         …         …         …
   Abortions provided
   under shield laws in
   states with telehealth
   restrictions              2,700    2,220    2,540       …        …        …        …         …         …         …         …         …
   Abortions provided
   under shield laws in
   states with total bans
   and 6-week bans           6,930    6,310    6,960       …        …        …        …         …         …         …         …         …




           462.      The following chart enumerates the 2023 increase of remote dispensing

 of abortion drugs into states that regulate abortion, as compared to the total amount

 of remote dispensing nationwide, by month beginning in January 2023. 411




 410 Id. at 19.

 411 Id. at 24.




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        463.      The following chart enumerates the 2023 increase of remote dispensing

 of abortion drugs into states that regulate abortion, as compared to the total amount

 of remote dispensing nationwide, by month beginning in January 2023. 412




        464.      State-by-state data for telehealth abortions for states like Kansas

 (where abortion is not restricted) is broken down by virtual and brick-and-mortar

 providers. 413
        465.      But WeCount aggregates data for telehealth abortions for states like

 Missouri and Idaho (where abortion is restricted or regulated), so no state-by-state

 data is available for these states.

        466.      The WeCount report does not include black-market, non-FDA-approved

 abortion drugs—a category of abortion drugs that are not at issue in this case.

        467.      WeCount concurs with the widespread reporting that remote dispensing

 of FDA-approved abortion drugs “under shield laws started in June 2023, which

 triggered their inclusion in #WeCount in July 2023.” 414

        468.      Some abortion providers were mailing black-market abortion drugs “to

 residents of states with abortion bans, states with 6-week bans, and states with


 412 Ex. 88, #WeCount Report, supra note 397, at 26.

 413 Ex. 89, Society of Family Planning, #WeCount, Tables

 https://societyfp.org/research/wecount/ (click download the latest data for excel
 chart).
 414 Ex. 88, #WeCount Report, supra note 397, at 11.




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 restrictions on telehealth prior to June 2023, but these occurred outside the formal

 healthcare system and were not measured by #WeCount.” 415

           469.   WeCount explained that the “[i]ncreased numbers of abortions in states

 that permit abortion likely represent a combination of two main factors: people

 traveling from states where they cannot access care, and increased abortions among

 residents of states where abortion remains legal.” 416 “Such volume increases are

 likely influenced by reductions of barriers to abortion care, including reduced burden

 of cost and travel by use of telehealth, increased financial support for low-income

 abortion seekers, and improved access via care navigation from practical support

 groups and public health departments.” 417
           470.   The Guttmacher Institute also estimates the current number of FDA-

 approved abortion drugs dispensed by abortion providers in states that do not restrict

 abortion (excluding shield-law providers who send abortion drugs to states where

 abortion is restricted).

           471.   It estimates that there were “approximately 642,700 medication

 abortions in the United States in 2023, accounting for 63% of all abortions in the

 formal health care system.” 418 “This is an increase from 2020, when medication

 abortions accounted for 53% of all abortions.” 419




 415 Id. at 11.

 416 Id. at 11.

 417 Id. at 11.

 418 Ex. 90, Rachel K. Jones & Amy Friedrich-Karnik, Medication Abortion Accounted

 for 63% of All US Abortions in 2023—An Increase from 53% in 2020, Guttmacher
 Institute (March 2024), https://www.guttmacher.org/2024/03/medication-abortion-
 accounted-63-all-us-abortions-2023-increase-53-2020.
 419 Id.




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           472.   This rate is shown in the following chart. 420




           473.   If the Guttmacher Institute included data from shield law providers,
 this rate would be even higher.

           474.   The Guttmacher Institute collects data showing where women travel to
 receive abortions, including women from Plaintiff States. Although this data may be

 an undercount due to reporting inadequacies, this data shows that women from

 Missouri traveled to Kansas and Illinois; women from Idaho traveled to Oregon,

 Utah, and Washington; and women from Kansas largely obtained abortions in




 420 Id.




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 Colorado and Kansas. 421 It estimates that the percentage of abortions provided in

 Kansas to out-of-state residents has increased from 52% in 2020 to 67% in 2023. 422

           475.   The Guttmacher Institute also estimates that the number of abortion

 providers offering abortion drugs by video, phone call, text or online platform—and

 mail “increased from 7% of all providers” in 2020 “to 31% in 2022.” 423 “Online-only

 clinics, after first appearing as a new type of abortion provider in 2021, accounted for

 8% of all abortions provided within the formal health care system in the first six

 months of 2023.” 424

       XX.    State laws prohibit and regulate abortion drugs.

           476.   Plaintiff States have the sovereign power to enact and enforce abortion

 laws.

           477.   State abortion laws serve the important state interests in “respect for

 and preservation of prenatal life at all stages of development, the protection of

 maternal health and safety; the elimination of particularly gruesome or barbaric

 medical procedures; the preservation of the integrity of the medical profession; the

 mitigation of fetal pain; and the prevention of discrimination on the basis of race, sex,

 or disability.” Dobbs v. Jackson Women's Health Org., 597 U.S. 215, 301, (2022).

           478.   “[F]rom time immemorial,” the States have maintained primary

 responsibility for regulating the medical field through their constitutionally reserved




 421 Ex. 91, Guttmacher Institute, State Abortion Travel 2023, https://osf.io/k4x7t/

 (providing excel charts).
 422  Ex. 92, Guttmacher Institute, Monthly Abortion Provision Study,
 https://www.guttmacher.org/monthly-abortion-provision-study#interstate-travel
 (search Kansas).
 423 Id.

 424 Id.




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 powers to protect their citizens’ health and welfare. Dent v. West Virginia, 129 U.S.

 114, 122 (1889).

       479.   Each State “has a significant role to play in regulating the medical

 profession,” Gonzales v. Carhart, 550 U.S. 124, 157 (2007), as well as “an interest in

 protecting the integrity and ethics of the medical profession,” Washington v.

 Glucksberg, 521 U.S. 702, 731 (1997). This includes “maintaining high standards of

 professional conduct” in the practice of medicine. Barsky v. Bd. of Regents of Univ. of

 N.Y., 347 U.S. 442, 451 (1954).

       480.   The State also “has an interest in protecting vulnerable groups … from

 abuse, neglect, and mistakes,” Glucksberg, 521 U.S. at 731, and in “the elimination

 of particularly gruesome or barbaric medical procedures,” Dobbs, 597 U.S. at 301. It

 is also “evident beyond the need for elaboration that a State’s interest in

 ‘safeguarding the physical and psychological well-being of a minor’ is ‘compelling.’”

 New York v. Ferber, 458 U.S. 747, 756–57 (1982) (quoting Globe Newspaper Co. v.

 Superior Court, 457 U.S. 596, 607 (1982)).

       481.   To serve these compelling sovereign interests, Plaintiff States have

 enacted statutes regulating and, in certain instances, prohibiting, abortion drugs.
       482.   These laws ensure the proper regulation of the practice of medicine and

 the medical profession but Defendants’ actions undermine all these laws—including

 state abortion restrictions and state abortion-drug reporting laws.

       483.   The laws that the FDA likely considers preempted include the following.

              1.     Missouri’s abortion laws

       484.   The FDA’s unlawful actions threaten several laws, including

 (1) Missouri’s prohibition on abortions “except in cases of medical emergency,” Mo.

 Rev. Stat. § 188.017.2; (2) Missouri’s prohibition on providers administering chemical

 abortion drugs without first submitting a sufficient plan to address complications



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 from chemical abortions, id. § 188.021.2; (3) Missouri’s regulations passed under

 § 188.021.2 requiring physicians who perform abortions to prearrange for backup

 physicians to address complications if needed, 19 C.S.R. 10-15.050; (4) Missouri’s

 requirement that chemical abortion drugs be dispensed in-person, not through the

 mail, Mo. Rev. Stat. § 188.021.1; (5) Missouri’s requirement that no person shall

 perform an abortion except a physician, Mo. Rev. Stat. § 188.020; and (6) Missouri’s

 requirement that no person shall perform or induce an abortion (except in a medical

 emergency) unless a physician or qualified professional has explained the general and

 specific risks to the woman receiving the abortion, Mo. Rev. State. § 188.039.

       485.   Missouri law prohibits any abortion “except in cases of medical

 emergency.” Mo. Rev. Stat. § 188.017.2.

       486.   Missouri law also states that no provider can administer a chemical

 abortion drug without first submitting a treatment plan to address complications and

 obtaining approval from the health department of that plan:

       When the Food and Drug Administration label of any drug or chemical
       used for the purpose of inducing an abortion includes any clinical study
       in which more than one percent of those administered the drug or
       chemical required surgical intervention after its administration, no
       physician may prescribe or administer such drug or chemical to any
       patient without first obtaining approval from the department of health
       and senior services of a complication plan from the physician for
       administration of the drug or chemical to any patient.

 Mo. Rev. Stat. § 188.021.2.


       487.   Regulations passed under this law require physicians who perform

 abortions to prearrange for backup physicians to address complications if needed. 19

 C.S.R. 10-15.050. Missouri statutes and regulations require physicians to plan for

 and provide care for abortion complications so that persons receiving abortions are




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 not forced to go to emergency rooms. See Mo. Rev. Stat. § 188.021.1–.2; 19 C.S.R. 10-

 15-050.

       488.     But the FDA’s challenged actions cause doctors who live and work in

 Plaintiff States to treat more women and girls who have suffered complications from

 chemical abortion drugs because physicians are not providing follow-up care when

 individuals experience complications. ECF 176, ¶¶ 363–68.

       489.     Missouri law includes an in-person dispensing protection for abortion

 drugs. “When RU-486 (mifepristone) or any drug or chemical is used for the purpose

 of inducing an abortion, the initial dose of the drug or chemical shall be administered

 in the same room and in the physical presence of the physician who prescribed,

 dispensed, or otherwise provided the drug or chemical to the patient.” Mo. Rev. Stat.

 § 188.021.1.

       490.     The in-person dispensing protection ensures that physicians “shall

 make all reasonable efforts” to ensure patient follow-up, decreasing the chance that

 a woman will find herself in an emergency room with a doctor who has no idea what

 happened. Mo. Rev. Stat. § 188.021.1.

       491.     Other states have similar protections. See Am. Coll. of Obstetricians &
 Gynecologists v. FDA, 467 F. Supp. 3d 282, 286–87 (D. Md. 2020) (collecting laws from

 nine states, including Missouri).

       492.     Missouri requires the physician to make all reasonable efforts to ensure

 the patient returns for a follow-up visit after the administration or use of mifepristone

 or any drug or chemical for the purpose of inducing an abortion. Mo. Rev. Stat. §

 188.021.

       493.     Missouri limits who may induce an abortion. State law restricts any

 person other than a physician with clinical privileges at a hospital from performing,

 inducing, or attempting to perform or induce an abortion on another, restricts any

 physician who does not have clinical privileges at a hospital which offers obstetrical


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 or gynecological care located within thirty miles of the location the abortion is to be

 performed to perform, induce, or attempt to perform or induce an abortion, and

 restricts any person, except a physician, from performing or inducing an abortion.

 Mo. Rev. Stat. § 188.080. No person shall perform or induce an abortion except a

 physician. Mo. Rev. Stat. § 188.020

        494.   Missouri requires informed consent and a 72-hour waiting period. Mo.

 Rev. Stat. § 188.027. Under this state law, a woman must give her voluntary and

 informed consent, freely and without coercion, at least 72 hours before an abortion is

 performed. For consent to be voluntary and informed, a physician must orally inform

 the woman of the following in person and writing:

 •   the name of the physician performing the abortion;

 •   medically accurate and relevant materials to the decision of whether to undergo

     the abortion;

 •   a description of the proposed abortion method;

 •   the immediate and long-term medical and psychological risks associated with the

     abortion and medication administered;

 •   the   unborn     child’s   gestational   age   and   anatomical   and   physiological

     characteristics of the unborn child;

 •   alternative options to abortion;

 •   the opportunity for the patient to ask questions of the provider regarding the

     procedure; and

 •   the location of the nearest hospital and where the woman can receive follow-up

     care by the physician if complications arise.




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       495.   Missouri’s 72-hour waiting period also provides that, except in the case

 of medical emergency, no person shall perform or induce an abortion unless at least

 seventy-two hours beforehand the physician who is to perform or induce the abortion,

 a qualified professional, or the referring physician has conferred with the patient and

 discussed with her the indicators and contraindicators, and risk factors including any

 physical, psychological, or situational factors for the proposed procedure and the use

 of medications, including but not limited to mifepristone, in light of her medical

 history and medical condition. For an abortion performed or an abortion induced by

 a drug or drugs, such conference shall take place at least seventy-two hours prior to

 the writing or communication of the first prescription for such drug or drugs in

 connection with inducing an abortion. Only one such conference shall be required for

 each abortion. Mo. Ann. Stat. § 188.039.

       496.   Missouri requires parental notification and consent for a minor’s

 abortion. Mo. Rev. Stat. § 188.028(1)(1) requires the attending physician to secure

 informed written consent of the minor and one parent or guardian, and the consenting

 parent or guardian of the minor has notified any other custodial parent in writing

 prior to securing the informed written consent of the minor and one parent or
 guardian.

       497.   Missouri also has an ultrasound requirement. Mo. Rev. Stat.

 § 188.027(4). Under this law, the performing physician must provide the woman with

 an opportunity to view an active and free ultrasound and hear the heartbeat of the

 unborn child at least 72 hours before the abortion.

       498.   Missouri requires abortion facilities to maintain written protocols for

 medical emergencies and transfer of patients, and grants the department of health to

 adopt rules, regulations, or standards that apply to ambulatory surgical centers and

 abortion facilities. Missouri requires all ambulatory and abortion facilities to obtain




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 a license to operate. Mo. Rev. Stat. § 188.015, Mo. Rev. Stat. § 188.215, Mo. Rev. Stat.

 § 197.225, Mo. Rev. Stat. § 197.205.

       499.   Missouri requires malpractice insurance: it restricts hospitals or

 abortion facilities from employing or engaging the services of a person that would

 perform an abortion using any drug or chemical or combination thereof, which may

 cause birth defects, disability, or other injury to a child who survives the abortion if

 the person does not have insurance. Mo. Rev. Stat. § 188.044

       500.   Missouri requires an individual abortion report for each abortion

 performed or induced upon a woman to be completed by the physician who performed

 or induced the abortion. This abortion report shall be made part of the medical record

 of the patient of the abortion facility or hospital where the abortion was performed.

 Mo. Rev. Stat. § 188.052.

              2.     Idaho’s abortion laws

       501.   Idaho abortion laws prohibit abortion except in certain circumstances,

 prohibit anyone other than a physician from performing an abortion, requires in-

 person exams before any abortion, requires plan for local follow-up care, and requires

 abortions to occur in regulated medical facilities, among other restrictions that the

 FDA likely considers preempted by the REMS.

       502.   Idaho law regulates abortion-inducing drugs like mifepristone. See

 Idaho Code §§ 18-602 (recognizing “[t]hat children have a special place in society that

 the law should reflect”), 18-604(1) (“Abortion” means the use of any means to

 intentionally terminate the clinically diagnosable pregnancy of a woman with

 knowledge that the termination by those means will, with reasonable likelihood,

 cause the death of the unborn child”), 18-617 (defining “Abortifacient” to mean

 “mifepristone, misoprostol and/or other chemical or drug dispensed with the intent of

 causing an abortion as defined in section 18-604(1)”), and 18-622 (“Every person who



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 performs or attempts to perform an abortion as defined in this chapter commits the

 crime of criminal abortion.”).

        503.   Idaho limits abortion unless necessary to prevent the death of the

 pregnant woman. Idaho Code § 18-622.

        504.   Idaho authorizes only a physician to perform an abortion. Idaho Code §

 18-608A. It is unlawful for any person other than a physician to cause or perform an

 abortion.

        505.   As to abortion drugs, Idaho requires a physician, before dispensing or

 prescribing abortion-inducing drugs, to: assess the duration of the pregnancy,

 determine that the unborn child is within the uterus, be qualified to provide surgical

 intervention or have an agreement with other local physicians to provide surgical

 intervention, provide informed consent, and make reasonable efforts to ensure that

 the patient returns for a follow-up visit. Idaho Code § 18-617.

        506.   Idaho requires informed consent and imposes a 24-hour waiting period

 before any abortion. Under Idaho Code § 18-609(2), (4), at least 24 hours before

 performing the abortion, the physician must provide materials to the woman

 describing:

 •   services available to assist a woman through pregnancy and childbirth;

 •   the physical characteristics of a normal fetus at two-week intervals, accompanied

     by photographs;

 •   the abortion procedures at various stages of the fetus and any reasonable

     foreseeable complications and risks to the mother;

 •   a list of health care providers, facilities, and clinics that offer to perform

     ultrasounds free of charge;




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 •   statement that the patient has a right to view an ultrasound image and observe

     the heartbeat monitoring;

 •   where to obtain further information about interventions for chemical abortion that

     may affect the effectiveness or reversal of a chemical abortion;

 •   resources on Down Syndrome.


        507.   Idaho requires printed materials to be provided with information

 directing the patient where to obtain assistance regarding chemical abortion,

 including the interventions, if any, that may affect the effectiveness or reversal of a

 chemical abortion. Idaho Code § 18-609(2)(f)

        508.   Idaho law provides that 24 hours before an abortion is to be performed,

 the physician must inform the woman that ultrasound imaging and heartbeat

 monitoring are available and that she has the right to view an ultrasound before an

 abortion is performed. Idaho Code § 18-609(5)–(6).

        509.   Idaho requires parental consent for a minor seeking abortion. Idaho

 Code § 18-609A(1). A physician must secure written consent from an unemancipated

 minor’s parent or guardian unless the minor waives consent through a judicial bypass

 procedure. Idaho Code § 18-609A(2).

        510.   Idaho requires that all first trimester abortions be performed in a

 hospital or properly staffed and equipped office or clinic and requires second trimester

 abortions to be performed in a hospital. Idaho Code § 18-608(1).

        511.   Idaho requires reports on abortions to be filed describing probable

 postfertilization age, whether or not there was a medical emergency, and the method

 used for abortion. Idaho Code § 18-506.

               3.    Kansas’s abortion laws

        512.   Kansas also regulates abortion and other medical services.



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           513.   With some exceptions, including to save the life of the mother, Kansas

 law prohibits abortions after twenty-two weeks. Kan. Stat. Ann. § 65-6703(b)(2),

 (c)(2).

           514.   Kansas requires abortion providers to keep records of abortions. Id.

 § 65-6703(d).
           515.   Kansas requires minor girls seeking abortion to obtain parental consent

 prior to performing the abortion unless a waiver is granted or there is a medical

 emergency. Kan. Stat. Ann. § 65-6705.

           516.   Kansas provides that no abortion shall be performed or induced without

 the voluntary and informed consent of the woman upon whom the abortion is to be

 performed or induced. Except in the case of a medical emergency, consent to an

 abortion is voluntary and informed only if at least 24 hours before the abortion the

 physician who is to perform the abortion or the referring physician has informed the

 woman in writing, which shall be provided on white paper in a printed format in black

 ink with 12-point Times New Roman font, of certain information. Kan. Stat. Ann.

 § 65-6709(a).

           517.   Kansas previously had a statute where “[n]o abortion shall be performed

 or induced by any person other than a physician.” Kan. Stat. Ann. § 65-4a10 (West).

 In addition, this statute required mifepristone specifically be “initially be

 administered by or in the same room and in the physical presence of the physician

 who prescribed, dispensed, or otherwise provided the drug to the patient.” Id. It also

 had an in-person follow-up protection. Id. All of these provisions would have a high

 risk for preemption. However, this statute was held unconstitutional very recently by

 the Kansas Supreme Court in Hodes & Nauser, MDs, P.A. v. Stanek, 551 P.3d 62

 (Kan. 2024).




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              4.     Other states’ abortion laws

       518.   Many other state laws likewise address the risks of chemical abortions.

 Such laws recognize, for example, that “abortion-inducing drugs”: “present[ ]

 significant medical risks to women,” such as “uterine hemorrhage, viral infections,

 pelvic inflammatory disease, severe bacterial infection and death,” Miss. Code Ann.

 § 41-41-103(1)(a); “are associated with an increased risk of complications relative to

 surgical abortion” that surge “with increasing gestational age,” id. § 41- 41-103(1)(b);

 and “are contraindicated in ectopic pregnancies,” id. § 41-41-107(2). So many states

 combat those risks by, among other things, requiring that only physicians may

 provide such drugs, that a physician may do so only after “physically examin[ing] the

 woman and document[ing] ... the gestational age and intrauterine location of the

 pregnancy,” and that these drugs “must be administered in the same room and in the

 physical presence of the physician.” Id. § 41-41-107(1)-(3).

       519.   Many other states require in-person exams or dispensing or have other

 abortion statutes that the FDA likely considers preempted. See, e.g., Ala. Code § 26-

 23E-7, 26-23A-4(a), 26-23A-4(b); Alaska Stat. Ann. §§ 08.64.364(c)(1), 08.64.364(c)(2);

 Ariz. Rev. Stat. Ann. §§ 36-2160(A), 36-2160(B), 36-2153(A)(1), 36-2153(A)(2); Ark.

 Code Ann. §§ 20-16-1504(a), 20-16-1504(b), 20-16-1504(c), 20-16-1504(f), 20-16-

 603(b)(1),   20-16-603(b)(2),   20-16-1505(a);   Fla.   Stat.   Ann.    §§ 390.0111(2),

 390.0111(3)(a); Ga. Code Ann. §§ 43-34-110, 16-12-141(e)(2), 31-9B-2(a); Ind. Code

 Ann. § 16-34-2-1; Iowa Code Ann. §§ 146B.2(1), 146E.2(1); Ky. Rev. Stat. Ann.

 §§ 311.7733(1), 311.7733(2), 311.7734(2), 311.7734(3), 311.728; La. Rev. Stat.

 §§ 40:1061.11(A), 40:1061.11(D), 40:1061.10(A)(1), 40:1061.10(C), 40:962.2(B); Miss.

 Code Ann. §§ 41-41-107(1), 41-41-107(2), 41-41-107(3), 41-41-107(6), 41-41-109(1);

 Mont. Code Ann. §§ 50-20-705(1), 50-20-705(2), 50-20-705(3), 50-20-704, 37-7-106(5);

 Neb. Rev. Stat. Ann. §§ 28-335(1), 28-335(2); Nev. Rev. Stat. Ann. § 442.250(1); N.D.

 Cent. Code Ann. §§ 14-02.1-03.5(2), 14-02.1-03.5(5); Ohio Rev. Code Ann.


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 §§ 2919.123(A), 2919.124(B), 2317.56(1), 2919.192(A); Okla. Stat. Ann. tit. 63, §§ 1-

 729.1, 756.4(A), 1-756.4(C), 1-756.8(D), 1-729.1; 18 Pa. Stat. and Cons. Stat. Ann.

 § 3204(a); S.C. Code Ann. §§ 40-47-37(7)(c), 44-41-330(1)(a); S.D. Codified Laws §§ 36-

 4-47, 34-23A-56; Tenn. Code Ann. §§ 63-1-155, 63-6-1103, 63-6-1104(a), 63-6-1104(c);

 Tex. Health & Safety Code § 171.063; Utah Code Ann. §§ 76-7-332(2), 76-7-302(1), 76-

 7-302(3), 76-7-305(2)-(3); Wis. Stat. Ann. §§ 253.105(2), 253.10(3)(c)(1)(hm),

 253.10(3)(c)(1), 253.10(3g); Wyo. Stat. Ann. §§ 35-6-139(a)-(b), 35-6-123.

       520.   And, like all elective abortions, elective chemical abortions are generally

 unlawful in several additional States. E.g., Ark. Code Ann. § 20-16-1304 et seq.; Miss.

 Code Ann. § 41-41-45(2) (abortion unlawful except “where necessary for the

 preservation of the mother’s life or where the pregnancy was caused by rape”).

       521.   When the FDA lifted the in-person dispensing protection in 2021, 19

 states prohibited or restricted dispensing abortion drugs remotely, as the following

 map shows.




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 States Protecting Against Remote Dispensing of Abortion Drugs 425




       522.   Today, at least 15 states have restrictions on remote dispensing of

 abortion drugs in effect, as the following map shows.




 425 Kaiser Family  Foundation, State Restrictions on Telehealth Abortion (Dec. 2,
 2021),          https://www.kff.org/womens-health-policy/slide/state-restrictions-on-
 telehealth-abortion/; see also Ex. 93, Guttmacher Institute, Medication Abortion,
 State Laws and Policies (Oct. 31, 2023), https://www.guttmacher.org/state-
 policy/explore/medication-abortion


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 Availability of Telehealth for Medication Abortion in a Post-Roe United States, as of
 June 13, 2024 426




 426 Kaiser Family Foundation, The Availability and Use of Medication Abortion (Mar.

 20, 2024), https://www.kff.org/womens-health-policy/fact-sheet/the-availability-and-
 use-of-medication-abortion/ (last updated June 13, 2024).


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       523.      Kansas provides that no abortion shall be performed or induced without

 the voluntary and informed consent of the woman upon whom the abortion is to be

 performed or induced. Except in the case of a medical emergency, consent to an

 abortion is voluntary and informed only if at least 24 hours before the abortion the

 physician who is to perform the abortion or the referring physician has informed the

 woman in writing, which shall be provided on white paper in a printed format in black

 ink with 12-point Times New Roman font, of certain information. Kan. Stat. Ann.

 § 65-6709(a).

       524.      Kansas previously had a statute where “[n]o abortion shall be performed

 or induced by any person other than a physician.” Kan. Stat. Ann. § 65-4a10 (West).

 In addition, this statute required mifepristone specifically be “initially be

 administered by or in the same room and in the physical presence of the physician

 who prescribed, dispensed, or otherwise provided the drug to the patient.” Id. It also

 had an in-person follow-up protection. Id. All of these provisions would have a high

 risk for preemption. However, this statute was held unconstitutional very recently by

 the Kansas Supreme Court in Hodes & Nauser, MDs, P.A. v. Stanek, 551 P.3d 62

 (Kan. 2024).

 XXI. Sovereign Injuries to Plaintiffs’ Interests in the Creation and
      Enforcement of State laws

       525.      The FDA’s actions interfere with Plaintiff States’ “sovereign interest in

 ‘the power to create and enforce a legal code.’” Texas Office of Public Utility Counsel

 v. F.C.C., 183 F.3d 393, 449 (5th Cir. 1999) (quoting Alfred L. Snapp & Son, Inc. v.

 Puerto Rico, 458 U.S. 592, 601 (1982)).

       526.      “Pursuant to that interest, states may have standing based on

 (1) federal assertions of authority to regulate matters they believe they control,

 (2) federal preemption of state law, and (3) federal interference with the enforcement

 of state law, at least where ‘the state statute at issue regulates behavior or provides


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 for the administration of a state program’ and does not ‘simply purport to immunize

 state citizens from federal law.’” Texas v. United States, 809 F.3d 134, 153 (5th Cir.

 2015), as revised (Nov. 25, 2015) (citation omitted) (collecting cases).

        527.   As a result of Defendants’ actions, Plaintiffs have suffered injury to their

 sovereign interests in enacting and enforcing their laws. Defendants (1) intentionally

 facilitated widespread violations by third parties of state abortion laws by enabling

 an out-of-state abortion drug distribution network out of the reach of the enforcement

 of State laws, (2) unlawfully removed the backstop of federal law and federal law

 enforcement, upon which the States were entitled to rely, (3) purport to preempt state

 abortion laws, and (4) seek to displace and nullify the States’ state-law parental

 rights of notice and consent for abortions for teen girls in foster care.

        528.   These harms are distinct (and in addition to) the harms suffered by the

 citizens of Plaintiffs as a result of Defendant’s challenged actions.

        529.   The harms to Plaintiffs’ sovereign interests in enacting and enforcing

 their laws are irreparable. See, e.g., Kansas v. United States, 249 F.3d 1213, 1227

 (10th Cir. 2001) (holding that Kansas suffered an irreparable harm where a federal

 agency’s decision “places [Kansas’] sovereign interests and public policies at
 stake[.]”).

        530.   “The threatened injury to a State’s enforcement of its safety laws is

 within the zone of interests of the Administrative Procedure Act[.]” State of Ohio ex

 rel. Celebrezze v. U.S. Dep’t of Transp., 766 F.2d 228, 233 (6th Cir. 1985).

        531.   Absent the relief sought in this lawsuit, Defendants’ actions will

 continue to encourage the violation or preemption of Plaintiffs’ laws and will harm

 Plaintiffs’ sovereign interests in the enforcement and enactment of their laws.




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       A.     Injury to Plaintiffs’ sovereign interests in the creation and
              enforcement of their abortion regulations through Defendants’
              facilitation of third parties’ state-law violations.

       532.   Plaintiff States are injured as sovereigns by Defendants’ intentional

 enablement of third parties to undermine state law enforcement and to violate state

 abortion-drug laws.

       533.   Plaintiff States have a sovereign interest in ensuring the enforcement of

 their duly passed laws. See Texas v. United States, 787 F.3d 733, 752 n.38 (5th Cir.

 2015); cf. Abbott v. Perez, 585 U.S. 579, 602 n. 17 (2018) (“[T]he inability to enforce

 its duly enacted plans clearly inflicts irreparable harm on the State[.]”).

       534.   The FDA’s decision has interfered with the enforcement of state laws

 that prohibit abortion in certain circumstances and that require in-person

 administration of any abortion drugs.

       535.   Defendants have intentionally undermined state laws by enabling

 widespread state-law criminal and civil violations by third parties, which constitutes

 an injury to Plaintiff States’ sovereign interest in creating and enforcing a legal code.

       536.   Defendants’ actions have created a practical impediment to on-the-

 ground compliance with and enforcement of state laws.

       537.   The FDA’s deregulatory actions have each increased Plaintiff States’

 sovereign harms.

       538.   By lowering the barriers to obtain mifepristone, including removing the

 safeguard that the drug be administered in-person by a licensed physician,

 Defendants have removed the restrictions that prevented or limited the ability of

 third parties to unlawfully provide mifepristone in Plaintiff States.

       539.   The 2016 Changes removed the safeguards ensuring follow-up care,

 enabling providers to supply women with these drugs without the ability to diagnose

 and treat life-threatening complications.




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       540.   This change enabled out-of-state abortion-drug suppliers to provide

 abortion drugs to women from Plaintiff States by allowing women to receive drugs

 out of state and then immediately return home to take the drugs.

       541.   In 2021, the FDA began declining to enforce the in-person dispensing

 protection of the REMS for mifepristone.

       542.   Under the FDA’s new regime, manufacturers may sell abortion drugs to

 suppliers, who then prescribe and mail the drugs to women in Plaintiff states without

 an in-person examination—which enables the providers to evade and violate State

 laws prohibiting or regulating the provision of abortion drugs.

       543.   This unlawful act had the direct and intended effect of enabling and

 encouraging third parties to provide, through the mail, mifepristone to citizens of

 Plaintiff States for the purpose of inducing high-risk abortions that are expressly

 contrary to the policies expressed in many state statutes.

       544.   Since 2021, abortion providers have been mailing FDA-regulated doses

 of mifepristone into Plaintiff States for the purpose of providing abortions to people

 in states that have laws prohibiting chemical abortions.

       545.   Out-of-state organizations have begun mailing abortion pills directly
 into Plaintiff States in reliance on the FDA’s decision to remove the in-person

 dispensing protection and the required in-person follow-up visit.

       546.   This out-of-state market then exploded when the FDA allowed abortion

 drugs to be dispensed by mail, common carrier, and interactive computer service.

       547.   This market continued and increased after the FDA formalized the

 removal of the in-person dispensing protection in January 2023.

       548.   All of this makes it difficult for state law enforcement to detect and deter

 state law violations and to give effect to state abortion laws.




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       549.   The FDA’s actions force States to divert resources to investigate and

 address the harms that this lawbreaking will inflict on women, children, and the

 public interest.

       550.   The FDA’s actions thus “intrude on state governmental functions[,]”

 Gregory v. Ashcroft, 501 U.S. 452, 470 (1991), and hobble States’ efforts to protect

 health and safety.

       551.   The FDA’s actions moreover depart from the central tenet of our

 Constitution: that power—particularly over important, hard, controversial issues—

 resides with and must be accountable to the people.

       552.   Few issues are as important, difficult, and controversial as abortion. The

 Constitution thus leaves the task of regulating and restricting abortion to “the people

 and their elected representatives.” Dobbs, 142 S. Ct. at 2284. Yet the FDA’s actions

 by design and in practice rob from the people in the Plaintiff States important

 decisions on this vital issue.

       553.   State abortion laws embody the considered judgments of “the people and

 their elected representatives.” Dobbs, 142 S. Ct. at 2284. Defendants’ actions

 eviscerating these laws injures the States.

       B.     Injury to Plaintiffs’ sovereign interests in enforcing state
              abortion regulations through Defendants’ non-enforcement or
              removal of the backstop of federal law.

       554.   Plaintiff States are injured as sovereigns by Defendants’ unlawful non-

 enforcement of federal statutes that result in restrictions on the dispensing of

 abortion drugs and by their unlawful removal of the backstop of federal law.

       555.   The FDA’s decisions have deprived Plaintiff States of their sovereign

 “benefits that are to flow from participation in the federal system.” Alfred L. Snapp,

 458 U.S. at 608.




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       556.   One such benefit is the uniform application of federal law and the ability

 of States to rely on the backdrop of federal law when enacting their own regulations.

 Crow Indian Tribe v. United States, 965 F.3d 662, 676-677 (9th Cir. 2020).

       557.   Plaintiff States have relied on the actual or potential backdrop of federal

 laws and federal law enforcement so the States can implement their own policies

 about in-person administration, protection of human life, and other policies.

       558.   Before Defendants’ changes to the REMS, the federal government

 ensured that abortion drugs were only dispensed in person, that abortion drugs were

 not dispensed by mail, common carrier, or interactive computer service, that abortion

 drugs were provided through three in-person doctor visits, and that abortion drugs

 were provided by doctors only.

       559.   Defendants actively enforced and administered this federal regulatory

 structure, which reflected the requirements of various federal laws. Plaintiff States

 relied on these various federal laws and Defendants’ actual or potential enforcement

 of these laws.

       560.   During this time, no relevant federal statute changed. Instead,

 Defendants changed their regulatory actions and their resulting enforcement—
 seeking to create a change in federal law through deregulatory action.

       561.   But because these deregulatory actions failed to comply with federal

 statutes like the FDCA, PREA, and APA, these regulatory actions did not result in a

 valid change to federal law. Instead, they amounted to an unlawful removal of a prior

 federal regulatory structure that provided a backdrop to state regulations providing

 similar or greater restrictions on abortion.

       562.   In particular, Defendants’ prior federal regulatory structure in practice

 reinforced federal and state statutes against dispensing abortion drugs remotely or

 by mail, common carrier, or interactive computer service.




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       563.      Each   of   Defendants’   challenged    actions   successively   removed

 Defendants’ assistance in enforcing federal and state restrictions on abortion drugs,

 such that abortion drugs now need not be dispensed in person, that abortion drugs

 may be dispensed by mail, common carrier, or interactive computer service, that

 abortion drugs may be provided without any in-person doctor visits, and that abortion

 drugs may be provided by non-doctors.

       564.      Plaintiff States are injured by each unlawful withdrawal of Defendants’

 past and future enforcement of these federal laws, including by their changes to the

 REMS that resulted in the REMS no longer reflecting the requirements of these

 federal laws.

       565.      Plaintiff States’ sovereign interest in the enforcement of federal law and

 state law has now been impaired. The challenged FDA actions “impaired that

 interest, because [federal] officials withdrew resources and manpower that further

 the enforcement of federal and state] law.” United States v. Missouri, No. 23-1457,

 2024 WL 3932470, at *2 (8th Cir. Aug. 26, 2024).

       566.      Defendants’ withdrawal of this federal assistance transfers the burden

 of law enforcement solely to the States and it at once makes it harder for the States
 to enforce these laws, by shifting abortion drugs into the widespread, anonymous

 stream of commerce taking place through the mail, common carriers, and interactive

 computer services.

       567.      Interference with the state government’s interest in enforcing federal

 and state law is sufficient to establish that Defendants’ action injured Plaintiff

 States. Missouri, No. 23-1457, 2024 WL 3932470, at *2.

       568.      “An increased regulatory burden typically satisfies the injury in fact

 requirement.” Contender Farms, L.L.P. v. U.S. Dep’t of Agric., 779 F.3d 258, 266 (5th

 Cir. 2015).




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        C.       Injury to Plaintiffs’ sovereign interests in enforcing state
                 abortion  regulations     through     Defendants’ purported
                 preemption of state abortion regulations.

        569.     Plaintiffs have a sovereign interest in their laws not being displaced,

 preempted, or nullified by the federal government. Texas Office of Public Utility

 Counsel v. F.C.C., 183 F.3d 393, 449 (5th Cir. 1999) (quoting Alfred L. Snapp, 458

 U.S. at 601).

        570.     Thus, “irreparable harm exists when a federal regulation prevents a

 state from enforcing its duly enacted laws.” Texas v. Becerra, 577 F. Supp. 3d 527,

 557 (N.D. Tex. 2021) (collecting cases); see also, e.g., Maryland v. King, 567 U.S. 1301,

 1303 (2012) (Roberts, C.J.: “[A]ny time a State is enjoined by a court from effectuating

 statutes enacted by representatives of its people, it suffers a form of irreparable

 injury[.]”).

        571.     Through announcements from HHS and DOJ, Defendants seek “to

 preempt” each States’ laws, and this attempt at preemption of state law is itself an

 injury. Deanda v. Becerra, 96 F.4th 750, 760 (5th Cir. 2024) (“Deanda has shown an

 Article III injury because the Secretary seeks to preempt his state-conferred right to

 consent to his children’s obtaining contraceptives”).

        572.     Defendants purport to preempt state laws regulating the dispensing of

 abortion drugs, including treatment plans, state approval, physician dispensing,

 requirements for back-up physicians, and in-person dispensing.

        573.     In addition, more than one federal court has determined that state

 abortion drug regulations are preempted by the FDA’s REMS.

        574.     In one case, a federal court held that the FDA’s “2023 REMS reflect[ ] a

 determination by the FDA that when mifepristone is prescribed, it may be prescribed

 via telemedicine.” GenBioPro, Inc. v. Sorsaia, No. CV 3:23-0058, 2023 WL 5490179,

 at *10 (S.D.W. Va. Aug. 24, 2023). On that basis, the court ruled that West Virginia’s




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 law—which, like Missouri’s, does not permit telemedicine abortion with chemical

 abortion drugs—was preempted. Id. Although the plaintiff later voluntarily

 dismissed its (successful) preemption claim, it appears the plaintiff did so because it

 needed to drop the one count that was not dismissed so that the district court’s ruling

 dismissing all other counts would become a final judgment that could be appealed.

 See GenBioPro, ECF 78 (filing a notice of appeal three days after dropping its

 successful preemption argument).

       575.   In another case, a federal court enjoined the enforcement of several

 North Carolina state abortion drug regulations on a similar theory. Bryant v. Stein,

 No. 1:23-CV-77, 2024 WL 3107568, at *1 (M.D.N.C. June 3, 2024). That court enjoined

 state laws that “prohibit any healthcare provider other than a licensed physician from

 providing mifepristone,” id. (citing N.C. Gen. Stat § 90-21.83A, § 90-21.83B, § 90-

 21.93), that “require that mifepristone be provided in person,” id. (citing N.C. Gen.

 Stat. § 14-44.1, § 90-21.83A, § 90-21.83B), state laws that “require scheduling an in-

 person follow-up visit after providing mifepristone or efforts to ensure such a follow-

 up appointment,” id. (citing N.C. Gen. Stat. § 90-21.83A, § 90-21.83B, § 90-21.93),

 and state laws that require the reporting of non-fatal adverse events related to
 mifepristone to the FDA,” id. (citing N.C. Gen. Stat. § 90-21.93).

       576.   The court held that these abortion drug regulations “stand as obstacles”

 to the FDA REMS. Bryant v. Stein, No. 1:23-CV-77, 2024 WL 1886907, at *15

 (M.D.N.C. Apr. 30, 2024), appeal filed, Nos. 24-1576, 1600, 1617 (4th Cir. 2024).

 “When a state imposes a restriction on the sale or distribution of an FDA-approved

 drug that is designed to reduce the risks associated with the drug even though the

 FDA explicitly considered and rejected that restriction as unnecessary for safe use

 under the statutory regime imposed and required by Congress, then that state law is

 preempted.” Id. “North Carolina cannot second-guess the FDA's explicit judgment on




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 how to manage risks from and safely prescribe, dispense, and administer REMS

 drugs, including mifepristone.” Id. at *17.

        577.   If sued, Plaintiff States will vigorously dispute that their laws are

 preempted by FDA’s REMS, but HHS and DOJ’s announcements and the GenBioPro

 decision each make clear that the FDA’s unlawful REMS creates a substantial risk

 of injury to Plaintiff States in the form of interference with Plaintiff States’ ability to

 create and enforce a legal code.

        D.     Injury to Plaintiffs’ sovereign interests in exercising state-law
               parental rights of notice and consent for abortions for teen girls
               in foster care.

        578.   Plaintiff States are also injured because Defendants have sought to

 interfere with and nullify the States’ exercise of state-law parental rights for children

 in state custody, such as teen girls in the foster care system.

        579.   By seeking to enable teen girls to obtain abortion drugs online by mail

 all on their own, Defendants seek “to undermine [the States’] state right to consent

 to [their custodial] children’s medical care[.]” Deanda, 96 F.4th at 755. “That invasion

 of [Plaintiff States’] state-created right alone creates Article III injury.” Id. at 753.

        580.   The FDA’s decisions to increase access to (and demand for) chemical

 abortions inflict substantial economic injury on Plaintiff States because it risks harm

 to girls in state custody, both girls in state foster care systems or other state facilities.

        581.   Each Plaintiff State is the legal parent or guardian of many minor girls

 of reproductive age.

        582.   Each Plaintiff State has well-established state foster care systems and

 other state facilities for minor girls. State foster care systems can include girls in

 state facilities or placed with licensed foster care families. Each State has detailed

 laws and procedures to protect these girls’ health and welfare while in state custody

 or control.



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        583.   Plaintiff States are the legal parent, guardian, or custodian of many

 minor girls in state foster care systems or other state facilities.

        584.    Plaintiff States actively enforce and administer their rights to decide

 whether these children obtain medical care.

        585.   Plaintiff States may assert parental rights that would otherwise belong

 to the parents of minor girls in the foster care system or other state facilities, so long

 as the minor’s prior parents’ rights have been terminated and the State has become

 the minor’s legal parent. This standing is similar to the rights of parents to seek relief

 on behalf of their children as next friend.

        586.   Minor girls in the foster care system or other state facilities are

 susceptible to pregnancy and to seeking abortions.

        587.   These girls are protected by state laws providing for State control of

 their medical care and by state laws restricting or prohibiting abortion.

        588.   Before the FDA’s deregulatory actions, the States (as legal parent or

 guardian) were entitled to know or consent to abortions for minor girls in the foster

 care system or other state facilities.

        589.   The FDA’s deregulatory actions impede and undermine the States’
 state-law rights to prior notice and consent to abortions for minor girls in state foster

 care systems and girls in state facilities.

        590.   The FDA’s deregulatory actions impede and undermine the States’

 state-law rights to restrict and prohibit abortions for minor girls in state foster care

 systems and girls in state facilities.

        591.   The interference with and attempted nullification of these state-law

 rights is itself an injury.

        592.   In addition, Defendants’ actions injure Plaintiff States in a further way:

 by increasing the risk that children under State custody or control will obtain

 abortion drugs by mail, common carrier, or interactive computer service.


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    XXII. Economic Injuries to Plaintiffs’ Medical Systems

        593.     In addition to the incalculable toll from the loss of human life, the FDA’s

 decisions to increase access to abortion drugs irrespective of state law inflicts

 substantial economic injury on Plaintiff States as the payers or insurers of residents’

 medical expenses. The FDA’s deregulatory actions have both caused an increase in

 the number of pregnant women seeking treatment for abortion drug complications

 paid for by the States and caused a resulting diversion of the States resources from

 their general budgets.

        594.     In addition to the immeasurable pain and suffering that their citizens

 suffer from the FDA’s actions, the States are injured by the FDA’s under-regulation

 of chemical abortion drugs because it causes the States to pay increased medical

 expenses for women seeking treatment for abortion complications.

        595.     For example, in 2022, Idaho Medicaid alone expended at least

 $12,658.05 in total funds ($3,797.42 state funds and $8,860.64 federal funds) for

 complications from abortion drugs. 427 This provided coverage for a woman presenting

 with bleeding following a failed medication abortion: Idaho Medicaid paid for her

 medically necessary dilation & curettage procedure. 428

        596.     The actual numbers are higher. Given that miscarriage symptoms can

 greatly resemble symptoms from complications created by abortion drugs, and given

 that some patients will not disclose the cause of their complications, many procedures

 paid for through state Medicaid programs are not logged as expenses related to

 abortion complications.




 427 Ex. 94, Charron Affidavit ¶ 12.

 428 Id. ¶ 14.




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        597.     Likewise, in 2019, Idaho Medicaid paid at least $10,086.47 in total funds

 ($3,025.94 state funds and $7,060.53 federal funds) for treatment and follow-up care

 for abortion medical complications. 429

        598.     Since mid-2022, Idaho prohibits abortions except to save the life of the

 mother, and so it is highly unlikely that any of these drugs were dispensed by

 prescribers in-person in Idaho.

        599.     This “effect on the states’ fiscs” is an economic injury for Plaintiff States.

 Texas v. United States, 809 F.3d 134, 152–53 (5th Cir. 2015), as revised (Nov. 25,

 2015); see also, e.g., Biden v. Nebraska, 143 S. Ct. at 2366 (“financial harm is an injury

 in fact”); TransUnion LLC v. Ramirez, 594 U.S. 413, 425 (2021) (“[C]ertain harms

 readily qualify as concrete injuries under Article III. The most obvious are

 traditional tangible harms, such as physical harms and monetary harms.”).

        600.     Indeed, “[f]or standing purposes, a loss of even a small amount of money

 is ordinarily an ‘injury,’” Czyzewski v. Jevic Holding Corp., 580 U.S. 451, 464 (2017),

 and here Defendants’ dangerous actions have resulted in the States paying far more

 than mere pennies in costs for medical care.

        601.     This satisfies Article III. See California v. Azar, 911 F.3d 558, 571–73

 (9th Cir. 2018) (finding state had standing based on an injury to its economic interests

 where the state was responsible for reimbursing women who seek contraception

 through state-run programs).

        602.     Indeed, suits like this where one entity “challenges the under-regulation

 of another” are well-established.” Corner Post, Inc. v. Bd. of Governors of Fed. Rsrv.

 Sys., 144 S. Ct. 2440, 2465 (2024) (Kavanaugh, J., concurring). “One example is the

 Court’s landmark decision in Motor Vehicle Manufacturers Association of United

 States, Inc. v. State Farm Mutual Automobile Insurance Co., 463 U.S. 29, (1983).” Id.


 429 Id. ¶ 11.




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 “That case arose when several insurance companies challenged a federal agency's

 rescission of safety standards for new motor vehicles.” Id.

       603.   Decisions like State Farm show that third-party insurers or payers like

 State Medicaid programs have standing to seek redress from deregulatory actions

 that injure them economically by resulting in more expenses to be paid through

 insurance claims. “At no point in that landmark opinion on the judicial review of

 agency actions did the Court state (or need to state) the obvious: Because the agency

 did not regulate the insurers themselves, the insurers could obtain relief from the

 downstream effects of the agency’s rescission of the safety standards only if the

 insurers could obtain vacatur of that rescission.” Id.

       A.     The FDA’s deregulatory actions predictably lead more and more
              patients in Plaintiff States to need medical care for
              complications from chemical abortion drugs.

       604.   Abortion suppliers are providing abortion drugs to women from Plaintiff

 States who travel out of state to obtain abortion drugs and then return home to

 complete the process.

       605.   Defendants’ removal of three in-person doctor visits results in Plaintiff

 States providing emergency and follow-up care for women who receive abortion drugs

 in other states.

       606.   For example, although abortion is illegal in Missouri (except for medical

 emergencies), some Missourians obtain abortion drugs by traveling out of State, only

 to return to Missouri where they experience the chemical abortion. These women

 would then seek follow-up care or emergency services in Missouri.




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        607.   In 2022, at least 2,883 Missourians obtained abortions in Kansas. A

 clear majority, 59.6%, of abortions performed in Kansas were chemical abortions. 430

        608.   Unlike with surgical abortions, complications from chemical abortions

 typically occur when a woman has returned home. The FDA has warned prescribers

 about this since its approval of abortion drugs in 2000. As the FDA made clear in its

 2000 Approval, “[i]t is important for patients to be fully informed about ... the need

 for follow up, especially on Day 14 to confirm expulsion.” 431

        609.   In fact, the FDA’s original label emphasized that the Day 14 visit “is

 necessary”    and   “very    important     to   confirm   by   clinical   examination    or

 ultrasonographic scan that a complete termination of pregnancy has occurred.” 432
        610.   The FDA’s Prescriber Agreement also advises that the Day 14 follow-up

 visit “is very important to confirm that a complete termination of pregnancy has

 occurred and that there have been no complications.” 433 This, “[p]atient adherence to

 directions for use and visits is critical to the drug’s effectiveness and safety.” 434

        611.   But Missouri citizens are thus told “to complete the chemical abortion

 regimen at home,” and the FDA has thus “directed the hundreds of thousands of

 women who have complications to seek ‘emergency care’ from” local hospitals at

 home. All. for Hippocratic Med. v. Food & Drug Admin., No. 23-10362, 2023 WL

 2913725, at *8 (5th Cir. Apr. 12, 2023).




 430 Abortion in Kansas, 2022 Preliminary Report, Kan. Dep’t of Health and Env’t

 (2023),   https://www.kdhe.ks.gov/DocumentCenter/View/29328/KS-Abortions-2022-
 PDF.
 431 Ex. 18, 2000 FDA Approval Memo at 4.

 432 Ex. 24, 2000 Mifeprex Label at 8, 15, https://perma.cc/3V7C-SU6Q.

 433 Ex. 43, Mifeprex Prescriber Agreement at 1.

 434 Ex. 18, 2000 FDA Approval Memo at 4.




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       612.     The vast majority of Missourians who obtain chemical abortions in

 Kansas or other States complete the chemical regimen in Missouri and, if they

 experience complications, seek emergency care at facilities in Missouri.

       613.     Because of the FDA’s actions removing all in-person dispensing

 protection, many women in Plaintiff States like Missouri have also obtained chemical

 abortion drugs through the mail, common carrier, or interactive computer service.

       614.     The abortion suppliers dispensing drugs to Plaintiff States through the

 mail, common carrier, or interactive computer service are described above, supra Sec.

 XVIII.D.

       615.     Women then take these drugs and suffer complications in Plaintiff

 States, with no need to travel out-of-state.

       B.       The FDA’s deregulatory actions lead to increased harm and
                increased medical care for complications from chemical
                abortion drugs.

       616.     Plaintiffs’ citizens include women and girls who have suffered and will

 suffer from complications from the FDA’s unlawful approval of chemical abortion

 drugs and subsequent elimination of the safeguards previously included with the use

 of chemical abortion drugs.

       617.     Chemical abortion drugs cause women and girls who are citizens of

 Plaintiffs to suffer many intense side effects, including cramping, heavy bleeding, and

 severe pain.

       618.     The FDA does “not dispute that a significant percentage of women who

 take mifepristone experience adverse effects.” All. for Hippocratic Med. v. Food &

 Drug Admin., 78 F.4th 210, 229 (5th Cir. 2023), rev’d, 602 U.S. 367 (2024). “FDA has

 acknowledged that a certain fraction of patients would require surgery due to

 miscellaneous complications.” Id. This fraction is about “5-8” percent, according to the

 FDA. Id.



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         619.   “Some women experience especially severe complications, such as

 sepsis ….” Id.

         620.   “[T]housands of women, and as many as hundreds of thousands, have

 experienced serious adverse effects as a result of taking the drug, and required

 surgery or emergency care to treat those effects.” Id. at 230.

         621.   Women also are told to “complete the chemical abortion regimen at

 home,” and the FDA has “directed the hundreds of thousands of women who have

 complications to seek ‘emergency care’ from” local hospitals near where they live. All.

 for Hippocratic Med., 2023 WL 2913725, at *8.

         622.   Because the FDA does not require it, many abortion providers do not

 remain physically near women and girls during the most painful and excruciating

 periods of the chemical abortion drug regimen, often sending the women and girls

 home with the drugs.

         623.   Given their lack of admitting privileges and treatment capabilities,

 abortion providers usually instruct women to go to the emergency department of the

 closest hospital for treatment of any severe adverse events.

         624.   This practice is consistent with the FDA’s current Medication Guide for
 mifepristone. The FDA directs women to “go to the nearest emergency room” if they

 cannot reach their provider. 435 And because remote providers hundreds of miles away

 cannot perform any follow-up care, women are left with one option: the emergency

 room.

         625.   The FDA’s current Patient Agreement also warns women that a range

 of listed “symptoms” could “require emergency care.” 436




 435 Ex. 5, 2023 Mifeprex Label at 16.

 436 Ex. 44, Mifepristone Patient Agreement.




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        626.     Of those women who end up in the emergency room after taking abortion

 drugs, many suffer particularly severe or critical injuries. Data for emergency

 department visits for Medicaid-eligible women following various pregnancy outcomes

 shows that “an [emergency department] visit following a chemical abortion was

 significantly more likely to have a severe or critical acuity rating than a visit following

 surgical abortion, live birth, or an ED visit at any time by a woman who was never

 pregnant.” 437

        627.     The study also found that ED visits coded severe or critical for women

 who underwent a chemical abortion increased by 4,041.1% between 2004 and 2015,

 compared to a 450.6% increase for surgical abortion subjects and 20.9% for live birth

 subjects. 438
        628.     Dispensing drugs remotely with no in-person care has higher risks than

 in-person care.

        629.     Dispensing drugs remotely increases these complication rates and

 number of complications.

        630.     These higher complication rates, ER rates, and hospitalization rates for

 chemical abortions cause direct economic harms on Plaintiff States in several ways.

        631.     Because of and since Defendants’ actions, the number of women and

 girls who are citizens of Plaintiff States, who have suffered complications from

 chemical abortion, and who have required critical medical treatment has increased

 and will continue to increase.


 437James Studnicki et al., Comparative Acuity of Emergency Department Visits
 Following Pregnancy Outcomes Among Medicaid Eligible Women, 2004-2015, Int’l J.
 Epidemiology         &        Pub.       Health       Rsch.       1       (2024),
 https://aditum.org/images/article/1724220097International_Journal_of_Epidemiolog
 y_and_Public_Health_Research_Galley_Proof.pdf.
 438 Id. at 2.




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        632.   The FDA’s decision to expand the gestational age for approved

 mifepristone use to 70 days (10 weeks) harms women and girls and increases the

 number of chemical abortions and resulting complications.

        633.   The FDA acknowledges that abortion “failure rate” and thus the need

 for surgical intervention steadily “increase[ ] with ... gestational age.” 439

        634.   The FDA, ACOG, and others have confirmed that the “failure rate”

 climbs from roughly 2 to 7 percent when moving from seven to ten weeks’ gestation. 440

 The FDA thus recognizes that up to 7 percent of “women taking Mifeprex will need a

 surgical procedure” to end the pregnancy, remove retained fetal parts or tissue, or

 “stop bleeding.” 441
        635.   This expansion of the permissible gestational age is especially

 dangerous for women and girls when combined with the FDA’s elimination of the in-

 person dispensing and follow-up visit protections.

        636.   For example, without an initial in-person visit, women may

 underestimate gestational age and take the drugs past the approved ten-week

 limit. 442 Women beyond ten weeks have higher “chances of complications due to the

 increased amount of tissue, leading to hemorrhage, infection[,] and/or the need for

 surgeries or other emergency care.” 443 The FDA recently acknowledged that “in-

 person dispensing avoids the possibility of delay” in taking mifepristone and the


 439 Ex. 34, 2021 FDA Response at 9; Ex. 25, Mifeprex 2023 Label at 13.

 440 Ex. 5, Mifeprex 2023 Label at 13; Ex. 27, ACOG Gestation Bulletin, supra note 54;

 Ex. 2, 2016 Summary Review at 29–31.
 441 Ex. 5, Mifeprex 2023 Label at 17; see also Maarit J. Mentula et al., Immediate

 adverse events after second trimester medical termination of pregnancy: results of a
 nationwide registry study, 26 Hum. Reprod. 927, 931–32 (2011).
 442 Ex. 82, Skop Decl. ¶ 28; Ex. 83, Jester Decl. ¶ 13 et seq.

 443 Ex. 82, Skop Decl. ¶ 28.




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 increased “risks of serious complications” caused by such delay. Appl. for Stay, Food

 & Drug Admin. v. Am. Coll. of Obstetricians and Gynecologists, No. 20A34 at 6 (U.S.

 Aug. 26, 2020) (2020 FDA Stay Appl.).

       637.   In addition, routine follow-up examination can uncover complications—

 such as retained pregnancy tissue—before they become more serious. 444 Removing

 the requirement for those visits naturally results in more women reporting to the

 emergency room or seeking state-provided care.

       638.   The FDA’s elimination of in-person drug administration, physician

 supervision, and patient follow-up, and its removal of the in-person dispensing

 protection exposes women and girls to increased risk of suffering complications from

 chemical abortion and requiring further medical attention following the drug

 regimen.

       639.   The FDA has eliminated all procedural safeguards that would rule out

 ectopic pregnancies, verify gestational age, identify any contraindications to

 prescribing mifepristone, or identify potential complications like sepsis and

 hemorrhage, remaining fetal parts, and others until the patient is at a critical time

 or it is too late to help the patient. As a result, women and girls often suffer

 unexpected episodes of heavy bleeding, life-threatening infections, or severe pain and

 must rush to the emergency department of the nearest hospital.

       640.   The FDA’s decision not to require abortion providers to report all

 adverse events for chemical abortion drugs harms women and girls who are citizens

 of Plaintiffs because it creates an inaccurate and false safety profile for the use of

 chemical abortion drugs.




 444 Ex. 83, Jester Decl. ¶ 25.




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           641.   Due to inadequate adverse event reporting, the true rates of risks

 associated with chemical abortion drugs remain undercounted and therefore are

 unknown.

           642.   Because abortion providers cannot know the accurate risk levels that

 their patients face when ingesting these drugs, these providers cannot properly

 inform their patients about the risks associated with chemical abortion.

           643.   This prevents women and girls who are citizens of Plaintiffs from giving

 informed consent to these providers. This results too in an increased use of abortion

 drugs and resulting complications.

           644.   Abortion providers who prescribe or dispense chemical abortion drugs

 to citizens of Plaintiffs are not providing women with an adequate, accurate

 assessment of the known risks and effects associated with chemical abortion.

           645.   Therefore, women and girls are unable to give informed consent for the

 drugs they are receiving, and thus they are not consenting at all to taking the

 chemical abortion drugs—resulting in physical and mental injuries.

           646.   Women and girls often suffer distress and regret after undergoing

 chemical abortion, sometimes seeking to reverse the effects of mifepristone. 445
           647.   A woman or girl can experience these emotions and feelings upon

 viewing the body of her lifeless baby after taking chemical abortion drugs. 446




 445 Ex. 13, Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case

 Study to Understand the Communicative Tensions in Women’s Medication Abortion
 Narratives, 36 Health Commc’n 1485 (2020), DOI: 10.1080/10410236.2020.1770507.
 446 Id.




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       648.   Between April 28, 2018, and August 23, 2023, Missouri’s Department of

 Health and Senior Services (DHSS) received 438 abortion complication reports, 186

 of which (about 42.4%) were submitted following chemical abortions. 447

       649.   For the years 2019 to 2022, the Idaho Department of Health & Welfare

 received at least 115 abortion complication reports, 75 of which (about 65.2%) were

 submitted following chemical abortions. 448 Thanks to a 2018 reporting law, data was

 collected as to the type of complication in detail.

       650.   For the years 2016 to 2018, the Idaho Department of Health & Welfare

 collected limited general data of complications from chemical abortions. 449
       651.   This combined data is summarized in the following chart.




 447 Ex. 95, Missouri Department of Health and Senior Services Affidavit, at 2.

 448    Induced    Termination,   Idaho    Dep’t   of   Health    &   Welfare,
 https://publicdocuments.dhw.idaho.gov/WebLink/browse.aspx?id=5657&dbid=0&rep
 o=PUBLIC-DOCUMENTS (collecting annual complication reports from 2019 to
 2022).
 449 Idaho Dep’t of Health & Welfare,

 https://publicdocuments.dhw.idaho.gov/WebLink/browse.aspx?id=5657&dbid=0&rep
 o=PUBLIC-DOCUMENTS (collecting annual complication reports from 2019 to
 2022); see, Idaho Dep’t of Health & Welfare, Div. of Pub. Health, Bureau of Vital
 Recs. and Health Stats., Idaho Vital Statistics - Induced Abortion 2018 (Jan.
 2020); Idaho Dep’t of Health & Welfare, Div. of Public Health, Bureau of Vital
 Recs. and Health Stats., Idaho Vital Statistics - Induced Abortion 2017 (Nov.
 2018); Idaho Dep’t of Health & Welfare, Div. of Public Health, Bureau of Vital
 Recs. and Health Stats., Idaho Vital Statistics - Induced Abortion 2016 (Dec.
 2017). Data is not available for 2023 onwards.


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 Total Reported Idaho Chemical Abortions Complications by Year
  Year                 2016 2017 2018 2019 2020 2021 2022                     Total

  Total Reported            9       9      14      21      39    39    16     115
  Abortion Complications
  Total Abortion            N/A     N/A    N/A     15      35    35    13     98
  Complications
  Requiring Follow-Up
  Care, Surgery, Or
  Aspiration Procedure
  Because Of Incomplete
  Abortion Or Retained
  Tissue
  Percentage Of Abortion    N/A     N/A    N/A     71%     90%   90%   81%    85%
  Complications
  Requiring Follow-Up
  Care, Surgery, Or
  Aspiration Procedure
  Because Of Incomplete
  Abortion Or Retained
  Tissue
  Total Reported            5       6      9       10      26    30    9      75
  Chemical Abortion
  Complications
  Percentage Of Total       55%     66%    64%     48%     67%   77%   56%    65%
  Abortion Complications
  From Chemical
  Abortions
  Total Chemical            N/A     N/A    N/A     1       3     14    6      24
  Abortions Resulting In
  Failure To Actually
  Terminate The
  Pregnancy
  Total Chemical            3       4      6       9       22    16    3      50
  Abortions Resulting In
  Incomplete Abortion Or
  Retained Tissue
  Total Chemical            0       0      0       0       2     1     0      3
  Abortions Resulting In
  Hemorrhage

 N/A indicates that the data is not available for these years.




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       652.   Women and girls who are citizens of Plaintiffs will continue to suffer

 complications from chemical abortion drugs.

       653.   Although abortion suppliers have responded to Dobbs by no longer

 submitting the required state abortion reports, other data from non-governmental

 sources shows that Defendants’ 2021 and 2023 actions removing any in-person

 dispensing protections have harmed Plaintiff States.

       654.   In Plaintiff States Missouri and Idaho, the baseline for abortions via

 abortion drugs should be low or near zero beginning in mid-2022, when each states’

 abortion laws were allowed to take effect.

       655.   As described above, these states allow for abortions only in certain

 circumstances, and these circumstances (such as the need to save the life of the

 mother) do not occur in high numbers.

       656.   The non-governmental data nevertheless shows that the number of

 abortions via abortion drugs for Missouri and Idaho residents with no in-person

 follow-up care is not low and is much higher than zero.

       657.   These abortions, and the resulting harmful complications, are traceable

 to Defendants’ 2021 and 2023 removal of in-person dispensing protections.
 Defendants’ removal of in-person dispensing protections allowed these drugs to be

 dispensed in other states without in-person follow-up visits and, significantly, by

 mail, common carrier, or interactive computer service.

       658.   This lack of in-person dispensing not only results in the use of abortion

 drugs by state residents, it resulted in an increase in the use of these drugs, and it

 resulted in increased harm to women that leads them to receive follow-up care and

 emergency services in Plaintiff States.

       659.   Plaintiff States operate Medicaid and other programs to pay medical

 expenses for reproductive-age women.




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       660.      Missouri, through its state-level agencies and political subdivisions,

 oversees and operates Missouri Medicaid programs.

       661.      As of May 2024, a total of 1,180,637 Missourians are enrolled in

 Medicaid. 450

       662.      Missouri Medicaid spending is historically 37.5% percent of the state’s

 total budget (for comparison, total state spending on elementary and secondary

 education is 21.3% of the total state budget and total state spending on higher

 education is 4.3% of the total state budget). 451

       663.      Missouri historically spends about $13.44 billion on Medicaid each year

 with the help of $10.563 billion in annual federal funding. 452
       664.      Idaho, through its state-level agencies and political subdivisions,

 oversees and operates Idaho Medicaid programs.

       665.      As of May 2024, a total of 307,199 Idahoans are enrolled in Medicaid. 453

       666.      Idaho Medicaid spending is historically 24.1% percent of the state’s total

 budget (for comparison, total state spending on elementary and secondary education

 450 May 2024 Medicaid   & CHIP Enrollment Data Highlights, Medicaid.gov (Aug.
 2024), https://www.medicaid.gov/medicaid/program-information/medicaid-and-chip-
 enrollment-data/report-highlights/index.html.
 451 Exhibit 5: Medicaid as a Share of States’ Total Budgets and State-Funded Budgets,

 SFY 2021, Medicaid and CHIP Payment and Access Commission (MACPAC) (2023),
 https://www.macpac.gov/wp-content/uploads/2023/12/EXHIBIT-5.-Medicaid-as-a-
 Share-of-States-Total-Budgets-and-State-Funded-Budgets-SFY-2021.pdf
 (hereinafter MACPAC Exhibit 5 Medicaid as a Share of States’ Total Budgets). The
 Medicaid and CHIP Payment and Access Commission (MACPAC) is a non-partisan
 federal legislative branch agency that provides data analysis on Medicaid to
 Congress, HHS, and the States. See 42 U.S.C. § 1396(b)(3).
 452 Spending by State, Category, and Source of Funds, FY 2022 (millions) (Dec. 2023),

 https://www.macpac.gov/wp-content/uploads/2023/12/EXHIBIT-16.-Medicaid-
 Spending-by-State-Category-and-Source-of-Funds-FY-2022.pdf (herein after
 MACPAC Exhibit 16 Medicaid Spending by State).
 453 CMS May 2024 Medicaid & CHIP Enrollment Data Highlights, supra note 450.




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 is 23.7% of the total state budget and total state spending on higher education is 8.7%

 of the total state budget). 454

        667.   Idaho historically spends about $3.33 billion on Medicaid each year with

 the help of $2.638 billion in annual federal funding. 455

        668.   Kansas, through its state-level agencies and political subdivisions,

 oversees and operates Kansas Medicaid programs.

        669.   As of May 2024, a total of 347,473 Kansans are enrolled in Medicaid. 456

        670.   Kansas Medicaid spending is historically 18.6% percent of the state’s

 total budget (for comparison, total state spending on elementary and secondary

 education is 26.1% of the total state budget and total state spending on higher

 education is 14.2% of the total state budget). 457
        671.   Kansas historically spends about $4.551 billion on Medicaid each year

 with the help of $3.122 billion in annual federal funding. 458

        672.   Various data sources show that large numbers of reproductive-age

 women are on state Medicaid.

        673.   For example, Missouri Medicaid (MO HealthNet) covers more than 1

 million individuals in the State of Missouri, and 398,945 women and girls between

 the ages of 14 and 45 are currently eligible for Missouri Medicaid. 459




 454 MACPAC Exhibit 5 Medicaid as a Share of States’ Total Budgets, supra note 451.

 455 MACPAC Exhibit 16 Medicaid Spending by State, supra note 452.

 456 CMS May 2024 Medicaid & CHIP Enrollment Data Highlights, supra note 450.

 457 MACPAC Exhibit 5 Medicaid as a Share of States’ Total Budgets, supra note 451.

 458 MACPAC Exhibit 16 Medicaid Spending by State, supra note 452.

 459 Ex. 96, Brown Affidavit ¶¶ 5–6.




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       674.   Idaho Medicaid similarly had an average monthly enrollment of 379,954

 participants, including 97,055 women and girls between the ages of 14 and 45, in

 2020 and 2021. 460

       675.   The American Community Survey is the Census Bureau’s source for

 information about America's changing population. It provides estimates on Medicaid

 coverage by State by year and by sex and age. 461

       676.   This data estimates the number of women covered by Medicaid in each

 state for the years 2022, 2021, 2019, 2018, and 2017 and for women age 18–44 for the

 year 2016 by state.

       677.   The following table shows in year 2022 the total population of women of

 reproductive age, the total number of women of reproductive age on Medicaid, and

 the fraction that the Medicaid population represents by state.

                 2022 State Population and Medicaid Estimates
                        for Reproductive-Age Women 462
                                 Idaho               Kansas           Missouri

           19 to 25 years:       90,623              140,806          277,361

           With                  16,272              18,354           42,864
           Medicaid/means-
           tested public
           coverage
           26 to 34 years:       110,489             162,871          362,638

           With                  24,883              19,839           58,023
           Medicaid/means-



 460 Ex. 94, Charron Affidavit ¶ 16–17.

 461 U.S. Census Bureau, Table ID B27007, Medicaid/Means-Tested Public Coverage

 by Sex by Age, https://data.census.gov/table/ACSDT1Y2022.B27007?q=B27007 (click
 the plus sign to “View all 12 products” for tables for each year). No data is available
 for 2020.
 462 All figures are rounded to the nearest one-hundredth.




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           tested public
           coverage
           35 to 44 years:      123,221          184,554          394,217

           With                 22,078           18,486           49,902
           Medicaid/means-
           tested public
           coverage
           Total percentage     19.5%            11.6%            14.6%
           on Medicaid
       678.   The following table shows in year 2021 the total population of women of

 reproductive age, the total number of women of reproductive age on Medicaid, and

 the fraction that the Medicaid population represents by state.

                 2021 State Population and Medicaid Estimates
                        for Reproductive-Age Women 463
                                Idaho            Kansas           Missouri

           19 to 25 years:      80,413           136,935          267,312

           With                 15,061           17,774           30,268
           Medicaid/means-
           tested public
           coverage
           26 to 34 years:      108,066          161,509          362,703

           With                 23,568           19,476           49,105
           Medicaid/means-
           tested public
           coverage
           35 to 44 years:      125,343          182,903          394,069

            With                23,803           17,682           44,586
            Medicaid/means-
            tested public
            coverage
           Total percentage     19.9%            11.4%            12.1%
           on Medicaid




 463 All figures are rounded to the nearest one-hundredth.




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       679.     This data shows in year 2019 the total population of women of

 reproductive age, the total number of women of reproductive age on Medicaid, and

 the fraction that the Medicaid population represents by state.

                   2019 State Population and Medicaid Estimates
                          for Reproductive-Age Women 464

                                  Idaho            Kansas           Missouri

              19 to 25 years:     76,691           135,444          271,087

              With                7,964            13,358           25,579
              Medicaid/means-
              tested public
              coverage
              26 to 34 years:     104,846          168,661          369,531

              With                12,006           16,511           45,174
              Medicaid/means-
              tested public
              coverage
              35 to 44 years:     110,404          177,461          376,496

               With               8,797            15,758           39,837
               Medicaid/means-
               tested public
               coverage
              Total percentage    9.9%             9.5%             10.9%
              on Medicaid
       680.     The following table shows in year 2018 the total population of women of

 reproductive age, the total number of women of reproductive age on Medicaid, and

 the fraction that the Medicaid population represents by state.




 464 All figures are rounded to the nearest one-hundredth.




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                 2018 State Population and Medicaid Estimates
                        for Reproductive-Age Women 465

                              Idaho             Kansas          Missouri

         19 to 25 years:      75,957            138,105         275,564

         With                 7,323             15,095          31,319
         Medicaid/means-
         tested public
         coverage
         26 to 34 years:      100,693           164,706         363,982

         With                 11,631            18,642          49,054
         Medicaid/means-
         tested public
         coverage
         35 to 44 years:      109,566           175,725         367,880

          With                10,865            15,704          38,837
          Medicaid/means-
          tested public
          coverage
         Total percentage     10.4%             10.3%           11.8%
         on Medicaid
       681.   The following table shows in year 2017 the total population of women

 of reproductive age, the total number of women of reproductive age on Medicaid,

 and the fraction that the Medicaid population represents by state.

                 2017 State Population and Medicaid Estimates
                        for Reproductive-Age Women 466
                             Idaho         Kansas        Missouri

         19 to 25 years:      73,770            137,577         270,317

         With                 10,647            14,955          33,496
         Medicaid/means-
         tested public
         coverage


 465 All figures are rounded to the nearest one-hundredth.

 466 All figures are rounded to the nearest one-hundredth.




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         26 to 34 years:      96,334            165,429           368,575

         With                 13,950            17,504            51,199
         Medicaid/means-
         tested public
         coverage
         35 to 44 years:      106,152           175,975           364,271

          With                10,492            14,721            39,780
          Medicaid/means-
          tested public
          coverage
         Total percentage     12.7%             9.9%              12.4%
         on Medicaid
       682.   The following table shows in year 2016 the total population of women of

 reproductive age, the total number of women of reproductive age on Medicaid, and

 the fraction that the Medicaid population represents by state.

                 2016 State Population and Medicaid Estimates
                        for Reproductive-Age Women 467

                               Idaho             Kansas           Missouri

          18 to 24 years:      76,622            140,415          277,813

          With                 10,807            16,749           36,273
          Medicaid/means-
          tested public
          coverage
          25 to 34 years:      107,986           185,928          397,612

          With                 15,736            18,248           47,745
          Medicaid/means-
          tested public
          coverage
          35 to 44 years:      102,560           172,249          370,413

          With                 10,255            15,103           34,213
          Medicaid/means-



 467 All figures are rounded to the nearest one-hundredth.




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             tested public
             coverage
             Total percentage      12.8%            10.0%           11.3%
             on Medicaid
           683.   The Guttmacher Institute has also published tables with their estimates

 of the number of women on Medicaid per state, reflecting slightly different age

 groups.

           684.   The Guttmacher Institute estimates that in 2019, 11.4% of reproductive-

 age women were on Medicaid in Idaho. 468

           685.   The Guttmacher Institute estimates that in 2019, 11.9% of reproductive-

 age women were on Medicaid in Kansas. 469
           686.   The Guttmacher Institute estimates that in 2019, 12.6% of reproductive-

 age women were on Medicaid in Missouri. 470

           687.   The Guttmacher Institute estimates that in 2016, 14% of reproductive-

 age women were on Medicaid in Idaho. 471

           688.   The Guttmacher Institute estimates that in 2016, 11% of reproductive-

 age women were on Medicaid in Kansas. 472




 468 Ex. 97, Adam Sonfield, Uninsured Rate for People of Reproductive Age Ticked Up

 Between     2016    and     2019,     Guttmacher     Institute    (April    2021),
 https://www.guttmacher.org/article/2021/04/uninsured-rate-people-reproductive-
 age-ticked-between-2016-and-2019 (see background tables, Table 2 Women).
 469 Id.

 470 Id.

 471 Ex. 98, Dramatic Gains in Insurance Coverage for Women of Reproductive Age Are

 Now in Jeopardy, Policy Analysis, Guttmacher Institute (January 2018),
 https://www.guttmacher.org/article/2018/01/dramatic-gains-insurance-coverage-
 women-reproductive-age-are-now-jeopardy.
 472 Id.




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           689.   The Guttmacher Institute estimates that in 2016, 13% of reproductive-

 age women were on Medicaid in Missouri. 473

           C.     The States operate Medicaid programs to pay medical expenses
                  for reproductive-age women.

           690.   Plaintiff States’ residents in Medicaid and other programs suffer

 chemical abortions in the absence of FDA safeguards.

           691.   Combining the above data from the Census Bureau about the

 percentage of women on Medicaid with state health department abortion totals, it is

 possible to estimate the total number of chemical abortions on state Medicaid

 enrollees.
           692.   It is further possible to approximate the number of Medicaid enrollees

 in each state who will seek emergency care after suffering complications from

 abortion drugs.

           693.   The FDA label for abortion drugs says that an estimated 2.9 to 4.6

 percent of women will visit the emergency room after taking mifepristone. 474

 Applying this rate to the estimated number of Medicaid enrollees taking abortion

 drugs yields the following estimates of the number of abortion complications paid for

 by each states’ Medicaid program.

           694.   The following table shows the estimated chemical abortions and

 complications from abortion drugs for Missouri Medicaid enrollees per year.




 473 Id.

 474 Ex. 5, 2023 Mifeprex Label at 8.




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            Estimated chemical abortions for and complications
       from abortion drugs for Missouri Medicaid enrollees by year 475

  Year                   2016     2017     2018    2019      2020     2021    2022
  Total estimated        2,931    2,893    2,529   2,189     2,298    2,503   1,792
  Missouri chemical
  abortions
  Percentage of          11.3%    12.4%    11.8% 10.9% 12.1%476 12.1% 14.6%
  reproductive-age
  women on Medicaid
  Estimated chemical     331      358      298     238       278      302     261
  abortions performed
  on Medicaid
  enrollees
  Low estimate of        9.60     10.38    8.64    6.90      8.06     8.76    7.57
  abortion-drug ER
  visits for Medicaid
  enrollees (2.9%
  complication rate)
  High estimate of       15.23    16.47    13.71   10.95     12.79    13.89   12.00
  abortion-drug ER
  visits for Medicaid
  enrollees (4.6%
  complication rate)
       695.   The following table shows the estimated chemical abortions and

 complications from abortion drugs for Idaho Medicaid enrollees per year.




 475 All figures are rounded to the nearest one-hundredth.

 476 Because there is no 2020 data from the U.S. Census Bureau, 2021 data is used.




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             Estimated chemical abortions for and complications
         from abortion drugs for Idaho Medicaid enrollees by Year 477

  Year                   2016     2017      2018   2019      2020     2021    2022
  Total Idaho chemical   762       784      771    825       1,102    1,178   654
  abortions
  Percentage of          12.8%    12.7%     10.4% 9.9%       19.9%478 19.9%   19.5%
  reproductive-age
  women on Medicaid
  Estimated chemical     97       99        80     82        219      234     127
  abortions performed
  on Medicaid
  enrollees
  Low estimate of        2.81     2.87      2.32   2.38      6.35     6.79    3.68
  abortion-drug ER
  visits for Medicaid
  enrollees (2.9%
  complication rate)
  High estimate of       4.46     4.55      3.68   3.77      10.07    10.76   5.84
  abortion-drug ER
  visits for Medicaid
  enrollees (4.6%
  complication rate)


       696.   It is also possible to identify another minimum estimate of the number

 of abortion complications paid for by Idaho Medicaid by applying Idaho’s Medicaid

 coverage rate for its population of reproductive-age women to Idaho’s data about

 known complications from abortion drugs. (Again, this data is also likely an

 undercount due to reporting inadequacies). It is also possible to estimate the number

 of Idaho women enrolled in Medicaid who needed a D&C in particular for an

 incomplete abortion or retained tissue.

       697.   The following table summarizes this data.




 477 All figures are rounded to the nearest one-hundredth.

 478 Because there is no 2020 data from the U.S. Census Bureau, 2021 data is used.




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      Total Reported Idaho Chemical Abortions Complications by Year

  Year                 2016    2017   2018        2019   2020      2021    2022   Total

  Total Reported       5       6      9           10     26        30      9      75
  Chemical
  Abortion
  Complications
  Percentage of        12.8% 12.7     10.4% 9.9%         19.9%     19.9% 19.5% N/A
  reproductive-age                                       479

  women on
  Medicaid

  Estimated            .6      .76    .93         .99    5.17      5.97    1.75   16.17
  Abortion Drug
  Complications
  Covered by
  Medicaid

  Total Chemical       3       4      6           9      22        16      3      50
  Abortions
  Resulting In
  Incomplete
  Abortion Or
  Retained Tissue
  Estimated D&C’s      .38     .51    .62         .89    4.38      3.18    .58    10.54
  Covered by
  Medicaid for
  Abortions
  Resulting In
  Incomplete
  Abortion Or
  Retained Tissue

         D.     The FDA’s actions result in Plaintiff States’ public insurance
                paying for medical expenses for the increasing number of
                patients suffering abortion-drug complications.

         698.   Abortion has many victims. That is why even though many States like

 Missouri and Idaho do not pay for abortions, they do pay for many medical expenses

 for women who need treatment after suffering chemical abortions.

 479 Because there is no 2020 data from the U.S. Census Bureau, 2021 data is used.




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       699.   Plaintiff States pay for medical bills related to abortion-drug

 complications when women on public insurance (such as Medicaid or insurance

 provided by the State to government workers) obtain chemical abortions and must go

 to the emergency room or hospital in Plaintiff States.

       700.   Sometimes these costs are individually identifiable. But often they are

 not because it is often not clear to a physician if a woman is presenting because of a

 natural miscarriage or a drug-induced abortion. But it is a statistical certainty that

 women harmed by these drugs obtain emergency services that are paid for by

 Medicaid.

       701.   Even in States that have greatly restricted abortions, women suffer

 severe complications after taking abortion drugs and must seek emergency medical

 services.

       702.   Plaintiff States pay for some of the emergency medical costs associated

 with chemical abortions for women who are on Medicaid or other public insurance,

 such as insurance programs provided to government employees.

       703.   “Medicaid … is designed to advance cooperative federalism.” Wisconsin

 Dep’t of Health and Fam. Services v. Blumer, 534 U.S. 473, 495 (2002). And yet the
 FDA’s actions increase the number of women who must seek emergency medical care,

 including care paid for by Medicaid. At the same time that the States have agreed to

 operate a cooperative-federalism program to cover emergency medical costs, the FDA

 has taken action to drain state resources that go into that program.

       704.   HHS estimates that the average cost of a Medicaid-covered ER visit in

 2017 was $420, a number only set to increase over time due to inflation and increasing




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 medical costs. 480 Of course, a Medicaid “covered charge” figure may be a fraction of

 total costs for that visit.

        705.   One common method of treating abortion drug complications is a D&C

 (dilation and curettage) to evacuate the contents of the uterus. The costs of a D&C to

 Medicaid may vary by State, by practice setting, and by level of care.

        706.   According to the state reimbursement schedule, Missouri Medicaid

 reimburses $2,544.80 for a D&C at an outpatient hospital. 481 Missouri Medicaid

 reimburses $227.86 for a D&C in general surgical settings. 482 Missouri Medicaid

 reimburses $316.25 to $1388.51 for a D&C at other service settings. 483 At an
 outpatient hospital, Missouri Medicaid reimburses $360.52 for an ER visit requiring

 a moderate amount of medical decision making and $522.83 for an ER visit requiring

 a high amount of medical decision making. 484

        707.   According to the state reimbursement schedule, Idaho Medicaid

 reimburses as a general allowed amount $248.12 for a D&C, and Idaho Medicaid




 480 Ex. 99, Brian J. Moore and Lan Liang, HHS, Agency for Healthcare Research and

 Quality, Costs of Emergency Department Visits in the United States, 2017,
 (Dec. 8, 2020), https://hcup-us.ahrq.gov/reports/statbriefs/sb268-ED-Costs-2017.jsp.
 481 Ex. 100, Mo. Dep’t of Social Servs., Outpatient Hospital Fee Schedule,
 https://apps.dss.mo.gov/fmsFeeSchedules/DLFiles.aspx (Diagnostic Code 58120).
 482 Ex. 101, Mo. Dep’t of Social Servs., Surgery and Epidurals Fee Schedule,
 https://apps.dss.mo.gov/fmsFeeSchedules/DLFiles.aspx (Diagnostic Code 58120).
 483 Ex. 102, Mo. Dep’t of Social Servs., Other Medical Fee Schedule,
 https://apps.dss.mo.gov/fmsFeeSchedules/DLFiles.aspx (Diagnostic Code 58120).
 484 Ex. 100, Mo. Dep’t of Social Servs., Outpatient Hospital Fee Schedule,
 https://apps.dss.mo.gov/fmsFeeSchedules/DLFiles.aspx (Diagnostic Code 99284 and
 99285).



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 reimburses at $1,250.54 for a D&C at an ambulatory surgical center. 485 Idaho

 Medicaid reimburses $102.71 for an ER visit requiring a moderate amount of medical

 decision making and $149.13 for an ER visit requiring a high amount of medical

 decision making . 486 Idaho Medicaid may reimburse $52.45 for an established patient

 office or other outpatient visit of 10–19 minutes. 487

       708.   According to the state reimbursement schedule, Kansas Medicaid

 reimburses $402 for a D&C. 488 reimburses $143.48 for an ER visit requiring a

 moderate amount of medical decision making and $208.08 for an ER visit requiring

 a high amount of medical decision making. 489
       709.   State reimbursement schedules also provide historical data for similar

 charges for a D&C in past years.



 485Ex. 103, Idaho Dep’t of Health & Welfare, April to June 2024 fee Schedule,
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=29550&dbid=0&
 repo=PUBLIC-DOCUMENTS (search diagnostic code 58120 for D&C).
 486Ex. 103, Idaho Dep’t of Health & Welfare, April to June 2024 fee Schedule,
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=29550&dbid=0&
 repo=PUBLIC-DOCUMENTS (search diagnostic code 99284 and 99285).
 487Ex. 103, Idaho Dep’t of Health & Welfare, April to June 2024 fee Schedule,
 https://publicdocuments.dhw.idaho.gov/WebLink/DocView.aspx?id=29550&dbid=0&
 repo=PUBLIC-DOCUMENTS (search diagnostic code 99212).
 488 Ex. 104, Kansas Medical Assistance Program (KMAP), Search By Procedure

 (HCPCS Codes), https://portal.kmap-state-
 ks.us/PublicPage/ProviderPricing/HCPCSSearch?searchBy=HCPCS (search
 Diagnostic Code/HCPCS 58120 for D&C, Date of Service Sept. 25, 2024, Benefit
 Plan TXIX- Title XIX (Medicaid), Provider Type 02 Ambulatory Surgical Center
 (ASC), Provider Specialty 020 Ambulatory Surgical Center).
 489 Ex. 105, Kansas Medical Assistance Program (KMAP), Search By Procedure

 (HCPCS Codes), https://portal.kmap-state-
 ks.us/PublicPage/ProviderPricing/HCPCSSearch?searchBy=HCPCS (search
 Diagnostic Codes/HCPCS 99284 and 99285, Date of Service Sept. 25, 2024, Benefit
 Plan TXIX- Title XIX (Medicaid), Provider Type 01 Hospital, Provider Specialty 010
 Acute Care).



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        710.     These figures do not include the standard per diem rate for hospital

 stays, if needed.

        711.     Much care for abortion-drug complications and other maternity care is

 billed for in bundled payments. “A bundled payment is a single, fixed payment for a

 group of services provided to treat a condition during a defined episode of care.” 490 As

 a result, some Medicaid data often may not break down the true costs of care with

 this level of specificity and may simply describe care as maternity services.

        712.     Each year Plaintiff States expend funds covering expenses associated

 with medical complications from abortions.

        713.     “For example, in Calendar Year 2022, Idaho Medicaid provided coverage

 for a woman presenting with bleeding following a failed medication abortion. The

 medical intervention that was required and that Idaho Medicaid covered was dilation

 & curettage.” 491
        714.     Beginning in 2022, Idaho prohibited abortions except to save the life of

 the mother, and so it is unlikely that any of these drugs were dispensed by in-person

 prescribers in Idaho.

        715.     “In Calendar Year 2022, Idaho Medicaid expended $12,658.05 in total

 funds ($3,797.42 state funds and $8,860.64 federal funds) covering treatment and

 follow-up care for abortion medical complications.” 492




 490 MACPAC, Medicaid Payment Initiatives to Improve Maternal and Birth Outcomes

 at 3 (April 2019), https://www.macpac.gov/wp-content/uploads/2019/04/Medicaid-
 Payment-Initiatives-to-Improve-Maternal-and-Birth-Outcomes.pdf.
 491 Ex. 94, Charron Affidavit ¶ 14.

 492 Id. ¶ 12.




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         716.     This was up from 2019, when Idaho Medicaid “expended at least

 $10,086.47 total funds ($3,025.94 state funds and $7,060.53 federal funds) covering

 treatment and follow-up care for abortion medical complications.” 493

         717.     These numbers likely understate the true cost because chemical

 abortions routinely are miscoded as miscarriages. Chemical abortions among

 Medicaid recipients have historically often been misclassified by ER staff as natural

 miscarriages.

         718.     Abortion activists and providers encourage women to mislead ER

 doctors by saying they are having a miscarriage. 494 It is also possible to estimate how
 much Idaho has paid for complications from abortion drugs by applying Idaho’s

 current reimbursement rates to the estimated number of abortion drug complications

 and estimated number of Medicaid-covered D&C’s for abortion drug complications

 (even though these abortion complication reports likely are an undercount).

                       Estimated Medicaid Costs Based on
         Total Reported Idaho Chemical Abortions Complications by Year

  Year                2016     2017     2018      2019     2020      2021      2022     Total

  Total Reported      5        6        9         10       26        30        9        75
  Chemical Abortion
  Complications
  Estimated           .6       .76      .93       .99      5.17      5.97      1.75     16.17
  Abortion Drug
  Complications
  Covered by
  Medicaid

  Estimated           0 to     0 to     0 to      0 to     $262.25   $209.80   $52.45   $839.20 to
  Minimum             $52.45   $52.45   $52.45    $52.45   to        to        to       $891.65
  Payments for                                             $314.70   $262.25   $104.9



 493 Id. ¶ 11.

 494 See, e.g., Ex. 11, Will a doctor be able to tell if you’ve taken abortion pills?, Women

 Help Women (Sept. 23, 2019), https://womenhelp.org/en/page/1093/will-a-doctor-be-
 able-to-tell-if-you-ve-taken-abortion-pills; Ex. 12, How do you know if you have
 complications         and      what        should      you    do?,      AidAccess,
 https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-
 what-should-you-do (last visited Aug. 28, 2024).


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  Abortion Drug
  Complications
  Covered by
  Medicaid (at
  current rate of
  $52.45 for a
  minimal
  outpatient visit)

  Estimated Higher      0 to        0 to        0 to         0 to        $1240.60   $1240.60   $248.12   $3,969.92 to
  Medicaid              $248.12     $248.12     $248.12      $248.12     to         to         to        $4,218.04
  Payments for                                                           $1488.72   $1488.72   $496.24
  Abortion Drug
  Complications for
  D&C’s (at current
  general setting
  rate of $248.12)

  Total Chemical        3           4           6            9           22         16         3         50
  Abortions
  Resulting In
  Incomplete
  Abortion Or
  Retained Tissue

  Estimated D&C’s       .38         .51         .62          .891        4.38       3.18       .58       10.54
  Covered by
  Medicaid for
  Abortions
  Resulting In
  Incomplete
  Abortion Or
  Retained Tissue
  High Estimate for     0 to        0 to        0 to         0 to        $992.48    $744.36    0 to      $2,481.20 to
  Medicaid              $248.12     $248.12     $248.12      $248.12     to         to         $248.12   $2,729.32
  Payments for                                                           $1240.60   $992.48
  D&C’s for
  Abortions
  Resulting In
  Incomplete
  Abortion Or
  Retained Tissue
  (at current general
  setting rate of
  $248.12)
  Low Estimate for      0 to        0 to        0 to         0 to        $5002.16   $3751.62   0 to      $12,505.40
  Medicaid              $1,250.54   $1,250.54   $1,250.54    $1,250.54   to         to         $1,250.   to
  Payments for                                                           $6252.70   $5002.16   54        $13,755.94
  D&C’s for
  Abortions
  Resulting In
  Incomplete
  Abortion Or
  Retained Tissue
  (at current ASC
  rate of $1,250.54)

          719.        Using the data above showing the estimated numbers of complications

 from abortion drugs requiring ER visits for Medicaid enrollees, it is possible to

 estimate the States’ payments for this treatment in Missouri and Idaho.




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         720.   The following table shows the estimated Medicaid payments for ER

 visits for Medicaid enrollees in Missouri at current reimbursement rates.

              Estimated payments for ER visits for complications
         from abortion drugs for Missouri Medicaid enrollees by year 495

  Year              2016       2017       2018          2019       2020       2021       2022
  Low estimate      9.60       10.38      8.64          6.90       8.06       8.76       7.60
  of abortion-
  drug ER visits
  for Medicaid
  enrollees (2.9%
  complication
  rate)
  Low estimate      $3244.68   $3605.20   $2884.16      $2163.12   $2884.16   $2884.16   $2523.64
  of Medicaid       to         to         to            to         to         to         to
  payments for      $3605.20   $3965.72   $3244.68      $2523.64   $3244.68   $3244.68   $2884.16
  abortion-drug
  ER visits
  (2.9%
  complication
  rate) at
  $360.52 per
  moderate ER
  visit
  Low estimate      $4705.47   $5228.30   $4182.64      $3136.98   $4182.64   $4182.64   $3659.81
  of Medicaid       to         to         to            to         to         to         to
  payments for      $5228.30   $5751.13   $4705.47      $3659.81   $4705.47   $4705.47   $4182.64
  abortion-drug
  ER visits
  (2.9%
  complication
  rate) at
  $522.83 for a
  high-severity
  ER visit
  High estimate     15.23      16.47      13.71         10.95      12.79      13.89      12.00
  of abortion-
  drug ER visits
  for Medicaid
  enrollees (4.6%
  complication
  rate)
  High estimate     $5407.80   $5768.32   $4686.76      $3605.2    $4326.24   $4686.76   $4326.24
  of Medicaid       to         to         to            to         to         to         to
  payments for      $5768.32   $6128.84   $5047.28      $3965.72   $4688.76   $5047.28   $4686.76
  abortion-drug


 495 All figures are rounded to the nearest one-hundredth.




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  ER visits
  (4.6%
  complication
  rate) at
  $360.52 per
  moderate ER
  visit
  High estimate        $7842.45       $8365.28      $6796.79      $5228.3     $6273.96     $6796.79        $6273.96
  of Medicaid          to             to            to            to          to           to
  payments for         $8365.28       $8888.11      $7319.62      $5751.13    $6796.79     $7319.62
  abortion-drug
  ER visits
  (4.6%
  complication
  rate) at
  $522.83 for a
  high-severity
  ER visit

          721.      The following table shows the estimated Medicaid payments for ER

 visits for Medicaid enrollees in Idaho at current reimbursement rates.

                 Estimated payments for ER visits for complications
             from abortion drugs for Idaho Medicaid enrollees by Year 496

  Year                               2016         2017       2018      2019        2020          2021         2022
  Low estimate of abortion-drug      2.81         2.87       2.32      2.38        6.35          6.79         3.68
  ER visits for Medicaid enrollees
  (2.9% complication rate)
  Low estimate of Medicaid           $205.42 to   $205.42    $205.42   $205.42     $616.26 to    $616.26      $308.13
  payments for abortion-drug ER      $308.13      to         to        to          $718.97       to           to
  visits (2.9% complication rate)                 $308.13    $308.13   $308.13                   $718.97      $410.84
  at $102.71 per moderate ER
  visit
  Low estimate of Medicaid           $298.26 to   $298.26    $298.26   $298.26     $894.78 to    $894.78      $447.39
  payments for abortion-drug ER      $447.39      to         to        to          $1043.91      to           to
  visits (2.9% complication rate)                 $447.39    $447.39   $447.39                   $1043.91     $596.52
  at $149.13 for a high-severity
  ER visit
  High estimate of abortion-drug     4.46         4.55       3.68      3.77        10.07         10.76        5.84
  ER visits for Medicaid enrollees
  (4.6% complication rate)
  High estimate of Medicaid          $410.84 to   $410.84    $308.13   $308.13     $1027.10 to   $1027.10     $513.55
  payments for abortion-drug ER      $513.55      to         to        to          $1129.81      to           to
  visits (4.6% complication rate)                 $513.55    $410.84   $410.84                   $1129.81     $616.26
  at $102.71 per moderate ER
  visit
  High estimate of Medicaid          $596.52 to   $596.52    $447.39   $447.39     $1491.30 to   $1491.30     $745.65
  payments for abortion-drug ER      $745.65      to         to        to          $1640.43      to           to
  visits (4.6% complication rate)                 $745.65    $596.52   $596.52                   $1640.43     $894.78
  at $149.13 for a high-severity
  ER visit




 496 All figures are rounded to the nearest one-hundredth.




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       722.   Of course, these estimates may be an undercount if actual charges are

 higher or there is a higher number of patients presenting for treatment.

       723.   Plaintiff States also pay for the cost of medical bills associated with

 chemical abortion complications when women obtain emergency care out of state. For

 example, Missouri Medicaid pays for emergency services rendered in other States. 497

       724.   Similarly,   government    employees   can   receive   payments     from

 government health insurance programs for government employees out of state.

       725.   Plaintiff States routinely spend money through public insurance

 treating medical complications related to abortion drugs, even in states where such

 abortions are unlawful in most circumstances.

       E.     States pay costs of public hospitals for medical expenses for the
              increasing number of patients in Plaintiff States suffering
              complications from chemical abortion drugs.

       726.   Another way that Plaintiff States subsidize healthcare for reproductive-

 age women is through public medical facilities.

       727.   Each Plaintiff State has public and private medical facilities that

 provide care for complications from chemical abortion drugs even if the facilities do

 not provide elective abortions.

       728.   Plaintiff States operate various public hospitals that serve women who

 obtain chemical abortions. The public hospitals act as an arm of the State.

       729.   In Missouri, public hospitals are ultimately controlled by the State of

 Missouri and receive state funds.

       730.   MO HealthNet (Missouri Medicaid) pays a determined rate to public

 hospitals, which in some circumstances may be lower than the hospital’s costs.




 497 https://mydss.mo.gov/media/pdf/out-state-non-bordering-services




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       731.   Per regulations, those public hospitals agree to accept the payment as

 payment in full, even if it is less than their actual cost. They may not seek further

 payment from the patient.

       732.   If MO HealthNet pays only a portion of a medical bill, the public hospital

 (an instrumentality of the State) will incur as an expense the difference between the

 full amount of the medical bill and what was paid.

       733.   If a public hospital provides medical services for complications

 stemming from chemical abortions, and the State’s Medicaid program does not cover

 the full portion of the bill, the outstanding balance is a loss to the public hospital,

 which is itself an instrumentality of the State.

       734.   Between January 2018 and August 16, 2023, 55 of the 438 chemical

 abortion complication reports (approximately 1 in 8 of all total chemical abortion

 complication reports) were reported by Missouri’s public hospitals. 498
       735.   Under the Emergency Medical Treatment and Active Labor Act

 (EMTALA), public hospitals are required to evaluate patients and provide stabilizing

 treatment in emergency situations, regardless of a patient’s ability to pay. See Moyle

 v. United States, 144 S. Ct. 2015, 2016 (2024) (Kavanaugh, J., concurring in

 dismissal). So, public hospitals cannot choose not to treat women who arrive needing

 emergency treatment after they experience complications from a chemical abortion.

       F.     The FDA’s actions result in the States paying the costs to public
              insurance for mental health care for the increasing number of
              women suffering negative effects from chemical abortion drugs

       736.   As with medical complications, Plaintiff States also provide public

 coverage of certain mental health expenses such as psychiatry, psychology, and




 498 Ex. 95, Missouri Department of Health and Senior Services Affidavit, at 2.




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 counseling, including through Medicaid and public insurance programs for

 government employees.

        737.    Post-abortion regret and mental health effects are common, as

 evidenced by the proliferation of counseling programs for suffering women in

 churches and pregnancy resource centers.

        738.    Some women retrospectively report that they underwent abortions

 without adequate time to consider their actions or without true informed consent. 499

 And a recent U.S. study on abortion and coercion found that “[o]ver 60 percent of

 women who had abortions report high levels of pressure to abort from one or more

 sources, and those same women report higher levels of subsequent mental health and

 quality of life issues.” 500
        739.    Chemical abortions in particular have devastating mental health effects

 for women who experience physical trauma at home and without a doctor or other

 support persons present, who often view the unborn child as he or she is aborted, or

 by directly participating in the procedure that ends their child’s life.

        740.    Seeing the unborn child as it is aborted is associated with more intrusive

 events such as nightmares, flashbacks, and unwanted thoughts related to the

 experience.

        741.    Because women are the direct actor when they take abortion pills,

 (unlike with surgical abortions, where the physician is the direct actor) women who




 499 Ex. 13, Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case

 Study to Understand the Communicative Tensions in Women’s Medication Abortion
 Narratives, 36 Health Commc’n 1485 (2020), DOI: 10.1080/10410236.2020.1770507.
 500 Ex. 106, David C. Reardon & Tessa Longbons, Whose Choice? Pressure to Abort

 Linked to Worsening of Subsequent Mental Health, Charlotte Lozier Inst. (Feb. 7,
 2023),          https://lozierinstitute.org/whose-choice-pressure-to-abort-linked-to-
 worsening-of-subsequent-mental-health/.


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 choose chemical abortion report feeling that they have actively participated in their

 child’s death.

         742.   Women who choose chemical abortion are more likely to continue

 associating their homes, or the bathroom, with abortion. The home may become a

 trigger for uncomfortable emotions rather than a refuge.

         743.   Women who choose chemical abortion over surgical exhibit significantly

 higher rates of mental health issues, such as obsessive-compulsive symptoms, guilt,

 interpersonal      sensitivity   issues,     paranoid     ideation,    and      general

 psychological/psychiatric symptoms.

         744.   And mifepristone itself releases inflammatory cytokines, which have

 been identified as contributing to depression. In one rat model, the group of pregnant

 rats given mifepristone had significantly decreased body weight, food intake,

 locomotor-related activity, and sucrose consumption, which are all animal proxies for

 depression and anxiety. 501
         745.   As a result of these and other factors, women who obtain chemical

 abortions are more likely to seek and need general mental health services, including

 women who obtain publicly funded mental health services.

       XXIII.   Sovereign Injuries to Plaintiffs’ Population Interests

         746.   Plaintiff States also suffer injuries from the loss of fetal life and

 potential births, leading to a resulting reduction in the actual or potential population

 of each state.




 501Ex. 107, Christina Camilleri et al., Biological, Behavioral and Physiological
 Consequences of Drug-Induced Pregnancy Termination at First-Trimester Human
 Equivalent in an Animal Model, 13 Frontiers in Neurosci. 544 (2019).


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           747.   Defendants’ actions are causing a loss in potential population or

 potential population increase. Each abortion represents at least one lost potential or

 actual birth.

           748.   The Supreme Court has recognized “the legitimacy of the States' interest

 in protecting fetal life.” Dobbs v. Jackson Women's Health Org., 597 U.S. 215, 262

 (2022). States’ “legitimate interests include respect for and preservation of prenatal

 life at all stages of development.” Id. at 301.

           749.   Defendants’ efforts enabling the remote dispensing of abortion drugs

 has caused abortions for women in Plaintiff States and decreased births in Plaintiff

 States. This is a sovereign injury to the State in itself.

           750.   One study highlighted that the removal of in-person follow-up visits has

 an effect on birth rates. In Missouri, state laws result “in an average increase in

 driving distance of 2.2 miles” for an in-person out-of-state dispensing of abortion

 drugs, “compared to a 453-mile increase in Texas, illustrating that states with the

 greatest increases in driving distance also tend to have the greatest estimated

 increases in births. 502 That is because it is relatively easy for a Missouri woman to
 drive to Illinois or Kansas than for a Texas woman to drive to New Mexico or

 Colorado. Reflecting the ease of driving to another state to receive abortion drugs, it

 is estimated that just 2.4 percent of abortion-minded women were prevented from

 getting abortions” in Missouri after Dobbs. 503 This data thus reflects the FDA’s

 removal of a requirement for three in-person doctor visits.

           751.   These estimates also show the effect of the FDA’s decision to remove all

 in-person dispensing protections. When data is examined in a way that reflects


 502 Daniel Dench et al., The Effects of the Dobbs Decision on Fertility, Inst. of Labor

 Economics, IZA DP No. 16608 at 12 (Nov. 2023), https://docs.iza.org/dp16608.pdf.
 503 Id.




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 sensitivity to expected birth rates, these estimates strikingly “do not show evidence

 of an increase in births to teenagers aged 15-19,” even in states with long driving

 distances despite the fact that “women aged 15-19 … are more responsive to driving

 distances to abortion facilities than older women.” 504 The study thus concludes that

 “one explanation may be that younger women are more likely to navigate online

 abortion finders or websites ordering mail-order medication to self-manage

 abortions. 505 This study thus suggests that remote dispensing of abortion drugs by

 mail, common carrier, and interactive computer service is depressing expected birth

 rates for teenaged mothers in Plaintiff States, even if other overall birth rates may

 have been lower than otherwise was projected.

           752.   A loss of potential population causes further injuries as well: the States

 subsequent “diminishment of political representation” and “loss of federal funds,”

 such as potentially “losing a seat in Congress or qualifying for less federal funding if

 their populations are” reduced or their increase diminished. Dep’t of Com. v. New

 York, 588 U.S. 752, 766–67, (2019).

    XXIV. Injury from 2019 approval of generic mifepristone

           753.   The same is true of the 2019 Generic Approval. By approving a generic

 version of the drug, the FDA increased supply and availability, lowering cost and thus

 increasing use of chemical abortions. 506

           754.   As a direct result of the FDA’s decision to approve the 2019 generic

 version of mifepristone, “third parties [have] react[ed] in predictable ways,”




 504 Id.

 505 Id.

 506 Ex. 108, Solanky Affidavit.




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 increasing the use of chemical abortion compared to surgical abortion. Dep’t of Com.

 v. New York, 139 S. Ct. 2551, 2566 (2019).

           755.   The number of women obtaining chemical abortions has increased as a

 result of the 2019 generic approval, 507 and thus the “the number of women

 experiencing medical complications after taking mifepristone has risen as a result of

 the generic” approval, All. for Hippocratic Med. v. U.S. Food & Drug Admin., 78 F.4th

 210, 241 (5th Cir. 2023).

           756.   Because Plaintiff States experience harm, as explained below, from the

 use of chemical abortions, the 2019 generic approval aggravates and worsens Plaintiff

 States’ harms.

                                      FIRST CLAIM

                          The Challenged 2016 Major Changes

              Ultra Vires; Administrative Procedure Act (5 U.S.C. § 706)

  In Excess of Statutory Jurisdiction, Authority, or Limitations, or Short of
      Statutory Right; Arbitrary, Capricious, An Abuse of Discretion, or
                   Otherwise Not in Accordance with Law

           757.   Plaintiffs re-allege and incorporate, as though fully set forth,

 paragraphs 1 to 756 of this complaint.

           758.   The FDA lacked legal authority when issuing the challenged 2016 Major

 Changes.

           759.   The FDA’s illegal and unreasonable rationales for the challenged 2016

 Major Changes—in light of the political context of the agency’s actions—indicate that

 the stated reasons are pretext. Therefore, they are arbitrary, capricious, an abuse of

 discretion, and otherwise not in accordance with law in violation of the APA. 5 U.S.C.

 § 706(2)(A).

 507 Id.




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       760.   The challenged 2016 Major Changes were unlawful because the FDA

 acknowledged that they were “interrelated,” but failed to explain why the agency did

 not consider the cumulative impact of removing them all at once or why the agency

 could extrapolate safety conclusions for its omnibus changes from studies that did not

 evaluate those changes as a whole.

       761.   The FDA’s actions seek to enable the violation of state laws restricting

 abortion, as described above. But a federal agency cannot disregard applicable state

 law or seek to enable and encourage what state law expressly prohibits, so the FDA

 lacked legal authority and acted arbitrarily and capriciously when issuing the

 challenged 2016 Major Changes.

       762.   Therefore, the challenged 2016 Major Changes, and, by necessity, the

 2019 Mifepristone REMS Program and the 2021/2023 Removal of the In-Person

 Dispensing Protection must be held unlawful, stayed, set aside, vacated, and

 preliminarily and permanently enjoined under the APA and the Court’s inherent

 equitable power to enjoin ultra vires actions, Larson, 337 U.S. at 689–91.

                                  SECOND CLAIM

    2019 MIFEPRISTONE REMS PROGRAM AND 2019 ANDA APPROVAL

    ULTRA VIRES; ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)

      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
     LIMITATIONS, OR SHORT OF STATUTORY RIGHT; ARBITRARY,
    CAPRICIOUS, AN ABUSE OF DISCRETION, OR OTHERWISE NOT IN
                     ACCORDANCE WITH LAW

       763.   Plaintiffs re-allege and incorporate, as though fully set forth,

 paragraphs 1 to 762 of this complaint.

       764.   The FDA lacked legal authority when issuing the 2019 Mifepristone

 Shared REMS Program and 2019 ANDA Approval.



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       765.   The FDA’s illegal and unreasonable rationales for the 2019 Mifepristone

 Shared REMS Program and 2019 ANDA Approval—in light of the political context of

 the agency’s actions—indicate that the stated reasons are pretext. Therefore, they

 are arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with

 law in violation of the APA. 5 U.S.C. § 706(2)(A).

       766.   The FDA’s actions seek to enable the violation of state laws restricting

 abortion, as described above. But a federal agency cannot disregard applicable state

 law or seek to enable and encourage what state law expressly prohibits, so the FDA

 lacked legal authority and acted arbitrarily and capriciously when issuing the 2019

 Mifepristone Shared REMS Program and 2019 ANDA Approval.

       767.   Therefore, the 2019 Mifepristone Shared REMS Program and 2019

 ANDA Approval must be held unlawful, stayed, set aside, vacated, and preliminarily

 and permanently enjoined under the APA and the Court’s inherent equitable power

 to enjoin ultra vires actions, Larson, 337 U.S. at 689–91.

                                   THIRD CLAIM

   2021/2023 REMOVAL OF THE IN-PERSON DISPENSING PROTECTION,
              INCLUDING THE PHARMACY AUTHORIZATION

    ULTRA VIRES; ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)

      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
     LIMITATIONS, OR SHORT OF STATUTORY RIGHT; ARBITRARY,
    CAPRICIOUS, AN ABUSE OF DISCRETION, OR OTHERWISE NOT IN
                     ACCORDANCE WITH LAW

       768.   Plaintiffs re-allege and incorporate, as though fully set forth,

 paragraphs 1 to 767 of this complaint.

       769.   The FDA lacked legal authority when issuing the 2021/2023 Removal of

 the In-Person Dispensing Protection (consisting of the 2021 Non-Enforcement




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 Decision, the 2023 Removal of In-Person Dispensing Requirement, and the Pharmacy

 Authorization).

       770.   The FDA’s 2021/2023 Removal of the In-Person Dispensing Protection

 violates the federal laws that expressly prohibit the mailing or delivery by any letter

 carrier, express company, or other common carrier, or by interactive computer

 service, of any substance or drug intended for producing abortion. 18 U.S.C. §§ 1461–

 62.

       771.   The FDA’s 2021/2023 Removal of the In-Person Dispensing Protection

 violated these federal laws because they impermissibly removed the in-person

 dispensing requirement for abortion drugs and, accordingly, authorized the

 downstream distribution of abortion drugs by mail, express company, other common

 carriers, and interactive computer service.

       772.   Because a federal agency cannot permit what federal law expressly

 prohibits, the FDA lacked legal authority when issuing the 2021/2023 Removal of the

 In-Person Dispensing Protection.

       773.   The FDA’s illegal and unreasonable rationales for the 2021/2023

 Removal of the In-Person Dispensing Protection —in light of the political context of
 the agency’s actions—indicate that the stated reasons are pretext. Therefore, they

 are arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with

 law in violation of the APA. 5 U.S.C. § 706(2)(A).

       774.   The 2021/2023 Removal of the In-Person Dispensing Protection are also

 unlawful because they were based on adverse event data that the FDA elsewhere

 recognizes as unreliable and studies that it considered “not adequate” on their own

 to establish the safety of dispensing mifepristone by mail.

       775.   The FDA’s actions seek to enable the violation of state laws restricting

 abortion, as described above. But a federal agency cannot disregard applicable state

 law or seek to enable and encourage what state law expressly prohibits, so the FDA


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 lacked legal authority and acted arbitrarily and capriciously when issuing the

 2021/2023 Removal of the In-Person Dispensing Protection.

       776.   Therefore, the 2021/2023 Removal of the In-Person Dispensing

 Protection must be held unlawful, stayed, set aside, vacated, and preliminarily and

 permanently enjoined under the APA and the Court’s inherent equitable power to

 enjoin ultra vires actions, Larson, 337 U.S. at 689–91.

                                   FOURTH CLAIM

                       The Challenged 2016 Major Changes

                  Administrative Procedure Act (5 U.S.C. § 706)

  In Excess of Statutory Jurisdiction, Authority, or Limitations, or Short of
      Statutory Right; Arbitrary, Capricious, An Abuse of Discretion, of
                   Otherwise Not in Accordance with Law

       777.   Plaintiffs re-allege and incorporate, as though fully set forth, all

 paragraphs 1 to 776 of this complaint.

       778.   Defendants lacked legal authority to make the 2016 Major Changes.

       779.   The FDA lacked legal authority under PREA to make the challenged

 2016 Major Changes, and the challenged 2016 Major Changes were in excess of
 statutory jurisdiction, authority, or limitations, or short of statutory right, and were
 arbitrary, capricious, an abuse of discretion, and not in accordance with law, because

 PREA allows the FDA to extrapolate from studies of adult populations only if the

 course of a “disease” is substantially similar in adults and the pediatric population.

 Because pregnancy is not a disease, PREA did not permit the FDA to make such an

 extrapolation.

       780.   Defendants lacked legal authority under PREA to make the challenged

 2016 Major Changes and the challenged 2016 Major Changes were in excess of

 statutory jurisdiction, authority, or limitations, or short of statutory right, and were



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 arbitrary, capricious, an abuse of discretion, and not in accordance with law, because

 the FDA did not require an assessment that evaluated the safety and effectiveness of

 mifepristone for girls under 18 years of age.

       781.   For the reasons stated above, the challenged 2016 Major Changes must

 be held unlawful, stayed, set aside, vacated, and preliminarily and permanently

 enjoined.

       782.   Because the challenged 2016 Major Changes were unlawful, the FDA’s

 2019 action to create a single, shared REMS—the Mifepristone REMS Program—for

 both Mifeprex and generic mifepristone must also be held unlawful, stayed, set aside,

 vacated, and preliminarily and permanently enjoined.

                                    FIFTH CLAIM

                      2019 Abbreviated New Drug Approval

                  Administrative Procedure Act (5 U.S.C. § 706)

  In Excess of Statutory Jurisdiction, Authority, or Limitations, or Short of
      Statutory Right; Arbitrary, Capricious, An Abuse Of Discretion, or
                   Otherwise Not in Accordance with Law

       783.   Plaintiffs re-allege and incorporate, as though fully set forth, all

 paragraphs 1 to 782 of this complaint.

       784.   Defendants lacked legal authority to issue the 2019 ANDA Approval.

       785.   Because the FDA relied on the unlawful 2016 Major Changes labeling

 as a means to approve GenBioPro’s generic drug, Mifepristone Tablets, 200 mg, the

 2019 ANDA Approval was unlawfully approved.

       786.   Unable to rely on an unlawful approval, the FDA’s 2019 ANDA Approval

 violated the FDCA because it lacked the clinical investigations, adequate testing,

 sufficient information, and substantial evidence to show the safety and effectiveness




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 of mifepristone under the conditions of use prescribed, recommended, or suggested in

 the proposed labeling thereof as required by 21 U.S.C. § 355(d).

       787.   Therefore, the 2019 ANDA Approval must be held unlawful, set aside,

 vacated, and preliminarily and permanently enjoined.

       788.   GenBioPro may submit an application with proposed labeling consistent

 with the pre-2016 Major Changes labeling, but, unlike Danco, GenBioPro cannot

 simply revert to a previously approved label.

                               PRAYER FOR RELIEF

       For these reasons, Plaintiff States respectfully request that the Court enter an

 order and judgment against Defendants, including their employees, agents,

 successors, and all persons in active concert or participation with them, in which it:

       A.     Issues a preliminary injunction or a stay of the effective dates that

              1.     reinstates the REMS that were in place before 2016 insofar as

                     they restore the Day 3 and Day 14 follow-up visits, restore the

                     gestational age to 7 weeks from 10 weeks, restore the requirement

                     that prescribers be physicians, and restore the requirement that

                     prescribers must report all serious non-fatal adverse events to the

                     agency;

              2.     rescinds the 2019 generic approval; and

              3.     restores the in-person dispensing requirement.

       B.     Issues a permanent injunction ordering Defendants to withdraw

              Defendants’ actions to deregulate these abortion drugs.

       C.     Holds unlawful, sets aside, and vacates the challenged 2016 Major

              Changes.



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       D.    Holds unlawful, sets aside, and vacates the 2019 ANDA Approval.

       E.    Holds unlawful, sets aside, and vacates the 2021/2023 Removal of the

             In-Person      Dispensing   Protection,   including    the      Pharmacy

             Authorization.

       F.    Holds unlawful the provision of drugs to adolescent populations because

             the FDA lacked authority under § 355c(a)(2)(B)(i) to extrapolate

             pediatric effectiveness.

       G.    Declares that the Federal Food, Drug, and Cosmetic Act prohibits the

             FDA from relying exclusively on studies that fail to evaluate the safety

             of interrelated changes in the proposed labeling thereof when reviewing

             and approving a supplemental new drug application without explaining

             why it was permissible to do so.

       H.    Declares that 18 U.S.C. § 1461 and 18 U.S.C. § 1462 prohibit the FDA

             from approving a supplemental new drug application that fails to limit

             distribution of abortion drugs in accordance with these laws.

       I.    Retains jurisdiction of this matter for the purpose of enforcing this
             Court’s order.

       J.    Awards Plaintiffs’ costs, attorneys’ fees, and other disbursements for

             this action.

       K.    Grants any other relief this Court deems equitable, just, and

             appropriate.




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  Respectfully submitted this 11th day of October, 2024.

  ANDREW BAILEY                                     RAÚL R. LABRADOR
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